Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2547 Page 1 of 74




                   Exhibit DD




                                   1 of 74
9/15/2020                                  Case 1:20-cv-03127-SAB           ECF No. 80-1Alertsfiled
                                                                                 Service            09/16/20
                                                                                               - Newsroom           PageID.2548 Page 2 of 74
                                                                                                          - About.usps.com


        Powerful hurricane approaches Gulf Coast. For impacts to our operations, see Service Alerts.                                                                      

                                                                                                                                                                    Newsroom




   Service Alerts
   Last update: Sept. 15, 2020, 3:30 p.m. ET




        Hurricane Sally approaches Gulf Coast
        Hurricane Sally is expected to strike Louisiana, Alabama and Mississippi today. There are multiple Post Office closures and postal facility disruptions as a
        result. As we monitor conditions in the region our top priority is the safety of customers and employees.

        See Current delivery issues under Residential customers below.




        West Coast wildfires
        The Postal Service has temporarily closed several Post Offices in California, Washington and Oregon due to wildfires and high winds. For impacts to our
        service, see Current delivery issues under Residential customers below.




        The United States Postal Service is closely monitoring the Coronavirus Disease 2019 (COVID-19) situation and continues to follow strategies and measures
        recommended by the Centers for Disease Control and Prevention (CDC) and public health departments. The CDC has information available on its website
        at https://www.coronavirus.gov that provides the latest information about COVID-19. We are sharing the CDC’s guidance to our employees via stand-up
        talks, employee news articles, messages on bulletin boards, videos and an intranet site directly to employees and within USPS workplaces.

        The CDC (https://www.cdc.gov/coronavirus/2019-ncov/faq.html), the World Health Organization (https://www.who.int/news-room/q-a-detail/q-a-
        coronaviruses), and the Surgeon General have indicated that there is currently no evidence that COVID-19 is being spread through the mail.

        The Postal Service has so far experienced only minor operational impacts in the United States as a result of the COVID-19 pandemic. We do continue to
        have a temporary suspension of the guarantee on Priority Mail Express International destined for China and Hong Kong, which has been effective since
        Monday, Feb. 10, 2020, due to widespread airline cancellations and restrictions into this area. In addition, customers may see delays in mail and packages
        destined to China as well as from China, as well as to and from European countries subject to restricted passenger airline travel. The Postal Service is
        undertaking all reasonable measures to minimize the impact to our customers.

        In addition, the Postal Service is an essential service for purposes of its compliance with state or municipality shelter-in-place orders or other social
        distancing restrictions. The Postal Service delivers medications, social security checks, and is the leading delivery service for on-line purchases. The statute
        that created the Postal Service begins with the following sentence. “The United States Postal Service shall be operated as a basic and fundamental service
        provided to the people by the Government of the United States, authorized by the Constitution, created by an Act of Congress, and supported by the
        people.” 39 U.S.C. §101(a).

        For more information, see the USPS Coronavirus Statement.

        USPS Continuity of Operations Updates:

            Effects on Requalification Efforts for Periodicals Publications (July 1, 2020)
            International Service Impact — Alternate Transport: Sixth Air to Sea Diversion — Destined for Netherlands (June 4, 2020)
            International Service Impact — Alternate Transport: Fifth Air to Sea Diversion: Destined for Brazil (June 3, 2020)
            International Service Impact — Alternate Transport: Fourth Air to Sea Diversion in Effect (June 1, 2020)
            Military and Diplomatic Mail (APO/FPO/DPO) Service Disruptions (May 20, 2020)
            International Service Impact – Alternate Transport: Third Air to Sea Diversion in Effect (May 15, 2020)
            Handling mail for temporarily closed businesses – Hold Mail extended through May 30, 2020 (April 30, 2020)
            International Service Impact – Alternate Transport: Second Air to Sea Diversion in Effect (April 29, 2020)
            International Service Impact – Alternate Transportation: Air to Sea Diversion in Effect (April 23, 2020)
            Links for the Most Current Information and Answers to Your Questions (April 21, 2020)
            Expected Delivery Changes for Priority Mail and First-Class Package Services (April 17, 2020)
            Refunds for Items to International Countries where Service Has Been Suspended (April 16, 2020)
            Mail Delivery Return to Sender Timeframe Extension (April 14, 2020)
            Mailability of Hand Sanitizer Update (April 14, 2020)
            Help Desk Contingencies (April 9, 2020)
            Diplomatic Mail (April 9, 2020)
            Mailability of Hand Sanitizer Update (April 7, 2020)
            Help Us Serve You (Retail and Carrier Safety) – Videos Available for Your Use (April 6, 2020)
            Media Statement COVID-19 (April 3, 2020)
            CASS Cycle O – Delayed Due to COVID-19 (April 3, 2020)
            Effects on Requalification Efforts for Periodicals (April 2, 2020)
            Detached Mail Unit (DMU) Health Screening – Requests for Bulk Mail Techs/Clerks (April 1, 2020)
            Policy for Customers Requiring Visitor Medical Screenings for Letter Carriers (March 31, 2020)
https://about.usps.com/newsroom/service-alerts/
                                                                                            2 of 74                                                                            1/2
9/15/2020                                  Case 1:20-cv-03127-SAB    ECF No. 80-1Alertsfiled
                                                                          Service            09/16/20
                                                                                        - Newsroom           PageID.2549 Page 3 of 74
                                                                                                   - About.usps.com

            Business Closed – Hold Mail (March 28, 2020)
            Safety of the Mail (March 23, 2020)
            USPS and Mail Supply Chain Essential Government Services (March 23, 2020)
            Customer Signature Service COVID-19 Response and Prevention (March 20, 2020)
            USPS Continuity of Operations Update (March 19, 2020)
            Monitoring the Coronavirus Disease 2019 (COVID-19) (March 18, 2020)



   USPS Service Alerts have information for consumers, small businesses and business mailers about postal facility service disruptions caused by weather-related
   and other natural disasters or events.

   Visit www.ready.gov or www.listo.gov to prepare for hurricanes and severe weather.




   Service disruptions
   Residential customers and small businesses can find out if mail is being delivered, or if their Post Offices are open. Business mailers get more detailed information
   about USPS mail processing facilities, and the operating status of delivery units, as well as any impacts on mail delivery overseas.




                    Residential customers                                     Business mailers                                           International
            Current delivery issues                                 Current processing/delivery issues                      Delivery issues around the world
            Coronavirus FAQs for residential                        Coronavirus FAQs for business                           International Posts Action Log
            customers                                               customers                                               EDELCON Country Update
            Change delivery address                                 Not accepting drop shipments                            Japan money orders
            Put mail delivery on hold                               Mail Service Disruption Report                          Shipping lithium batteries
                                                                    Service alert mapping




   Contact us
   Residential customers                                                                  Business mailers
   Residential customers should check this Mail Service Disruptions website first         Contact the Business Service Network headquarters communications
   for current, frequently-updated information about whether mail is being                manager for additional information or to report a disruption. Email us at
   delivered to your neighborhood or if your local Post Office is open. Or you can        mailserviceupdate@usps.gov.
   call our customer service center at 1-800-ASK-USPS (800-275-8777).
                                                                                          Need more support? Have questions? Contact your local Business Service
                                                                                          Network or visit PostalPro.




                                                                                              Informed Delivery®
                                                                                              See what mail is coming before it arrives. Sign up now




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https://about.usps.com/newsroom/service-alerts/
                                                                                   3 of 74                                                                                 2/2
Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2550 Page 4 of 74




                    Exhibit EE




                                   4 of 74
Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2551 Page 5 of 74




                                   5 of 74
Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2552 Page 6 of 74




                                   6 of 74
Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2553 Page 7 of 74




                     Exhibit FF




                                   7 of 74
Case 1:20-cv-03127-SAB          ECF No. 80-1       filed 09/16/20     PageID.2554 Page 8 of 74


    Testimony of S. David Fineman before the House Committee on
                        Oversight and Reform
                                        September 11, 2020

My name is David Fineman.

I am a practicing attorney from Philadelphia, Pennsylvania. From 1995 to 2005, I served on the
Board of Governors of the United States Postal Service and was its Chairman from 2003 to 2005.
I served on the Board during the administrations of both President Bill Clinton and President
George W. Bush. I also serve as the Board Chair of the Fair Elections Center, a non-partisan
voting rights and election reform organization.

In looking at the questions raised by recent actions affecting the postal service, I think it’s
valuable to review some USPS history.

In 1970 the cabinet-level Post Office Department was replaced with a new federal agency, the
United States Postal Service, an independent establishment of the Executive Branch, and the
result of the Postal Reorganization Act signed by President Nixon in August, 1970. Prior to 1970
the Post Office was run by political appointees, traditionally headed by principal political
associates of the President. Most of the high-level positions were political appointees of the
Postmaster General in consultation with the President, including Postmasters of various
municipalities. The letter carriers, as well as the clerks working in the distribution centers, and in
the Post Office were not represented by any recognized union.

In 1970, a wildcat strike, starting in New York, and then spreading to other large cities, took
place as workers demanded higher wages, better working conditions, and recognition of the
Unions. This resulted in President Nixon calling up the National Guard to deliver the mail.

Seeing the turmoil Lawrence O’ Brien, a former Postmaster General under President Kennedy
and Winton Blount the Postmaster General under President Nixon, came to understand that the
Post Office could not be operated in the Executive Branch of government but needed to be
independent of politics.

This resulted in the formation of the Board of Governors of the USPS, whose nine-member
Board, [five of one Party and four of another] was nominated by the President and confirmed by
the United States Senate. The Board would select the Postmaster General and in consultation
with the Postmaster General, would select the Deputy Postmaster General. These 11 members
would constitute the Board of Governors who were charged with setting policy for the USPS.

I was nominated to serve on the Board of Governors by President Clinton in 1995, and then
confirmed by the Senate in the same year. I served on the Board until 2005, and was Chairman
from 2003 to 2005, during the administration of President Bush. Never was there any
interference in the business of the USPS by the President or the Executive Branch of the
government. Further, never did the President or any person from the Executive Branch
make a recommendation to hire a particular person to serve as Postmaster General.




{01711348;v1}
                                               8 of 74
Case 1:20-cv-03127-SAB         ECF No. 80-1       filed 09/16/20    PageID.2555 Page 9 of 74

Beginning sometime around 1997, the USPS began to lobby Congress to change the 1971 law to
allow it to act more like a business and to change the rate-making process. This resulted in
legislation in 2006 under which the USPS currently operates. The USPS attempted to convince
Congress that it had the expertise to create its own operating schedules, etc. Congress then
pushed back and enacted section 3661, which stated that “When the Postal Service determines
that there should be a change in the nature of postal services which will generally affect service
on a nationwide or substantially nationwide basis, it shall submit a proposal, within a reasonable
time prior to the effective date of such proposal, to the Postal Regulatory Commission requesting
an advisory opinion on the change. (emphasis added)

Therefore, the changes enacted by the current Postmaster General as reported in the press
“generally affect service” either “on a nationwide or “substantially” nationwide basis. If so,
USPS must obtain the advisory opinion.

It should be emphasized that the opinion is merely “advisory.” Therefore, USPS can totally
disregard the opinion. However, it allows the public an opportunity to view the changes and
provide comment. It also allows the PRC to lend its expertise to the changes, in the hope that that
if there is going to be change, the PRC’s expertise will be helpful in making the changes
originally proposed.

The Post Office is enshrined in the Constitution because the Founders recognized it as essential
to facilitate communication between the people and to connect the communities of our young
democracy. In those two hundred plus years since, it has become one of our nation’s most
effective services, a crucial lifeline that touches nearly all Americans. The government delivers
pension and unemployment checks, as well as tax refunds. And millions of Americans rely on it
to deliver essential items such as prescription drugs. A growing number of states use it to safely
and reliably deliver ballots during their elections. USPS has done a very good job helping to
facilitate one of the most important activities in our democracy. Given the concerns over the
Covid 19 pandemic, many more states are offering this option of mail-in ballots. These necessary
expanded efforts have the same safeguard that have always protected the integrity of absentee
and mail ballots, including the more than 20 million cast in the last Presidential election. I might
add that all existing evidence indicates that the prevalence of voter fraud via vote-by-mail is
somewhere between negligible and nonexistent.

Personally, I'm committed to ensure every American citizen who wants to vote has ample ways
to do so, especially this year with the pandemic. Concern over voting rights led me to join the
Board of the Fair Elections Center, a nonpartisan, national voting rights and election reform
organization that works to make elections safe and fair for all voters. I am extremely concerned
by the actions in the past few weeks by the Postmaster General to remove sorting machines and
drop boxes as the nation prepares for an unprecedented election during a health crisis. These
recent cutbacks in sorting capability and the forced reduction of extra delivery trips seriously
threatens voters’ ability to have their votes counted.

A properly run postal service, as the Founders recognized, is a key to our democracy. We must
keep it that way.

Thank you.




{01711348;v1}
                                             9 of 74
Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2556 Page 10 of 74




                    Exhibit GG




                                   10 of 74
Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2557 Page 11 of 74




                                   11 of 74
  Case 1:20-cv-03127-SAB       ECF No. 80-1    filed 09/16/20   PageID.2558 Page 12 of 74


  Week    First‐Class Mail USPS Marketing Mail Periodicals
 1/4/2020           91.76%              91.21%     85.70%
1/11/2020           91.36%              88.61%     85.87%
1/18/2020           93.01%              89.86%     87.71%
1/25/2020           91.15%              91.45%     87.49%
 2/1/2020           90.71%              90.57%     87.54%
 2/8/2020           91.98%              91.80%     88.57%
2/15/2020           93.88%              92.24%     89.40%
2/22/2020           92.84%              93.29%     87.38%
2/29/2020           93.16%              92.41%     86.54%
 3/7/2020           92.40%              92.21%     86.77%
3/14/2020           92.11%              91.32%     86.08%
3/21/2020           92.84%              92.48%     85.57%
3/28/2020           92.54%              93.69%     85.09%
 4/1/2020           92.82%              90.08%     85.68%
 4/4/2020           91.55%              90.54%     83.16%
4/11/2020           89.62%              89.39%     77.21%
4/18/2020           91.24%              89.10%     78.86%
4/25/2020           90.28%              87.83%     74.97%
 5/2/2020           89.99%              86.81%     73.76%
 5/9/2020           89.52%              87.39%     68.94%
5/16/2020           91.19%              89.52%     71.72%
5/23/2020           92.30%              89.52%     76.49%
5/30/2020           90.39%              91.07%     78.77%
 6/6/2020           90.69%              89.70%     76.53%
6/13/2020           91.74%              90.84%     78.71%
6/20/2020           90.86%              90.69%     79.10%
6/27/2020           90.70%              92.34%     81.00%
 7/1/2020           91.82%              89.87%     81.04%
 7/4/2020           90.56%              87.55%     77.13%
7/11/2020           85.26%              82.94%     73.16%
7/18/2020           82.22%              79.76%     71.62%
7/25/2020           83.64%              82.19%     69.47%
 8/1/2020           82.82%              81.58%     68.95%
 8/8/2020           81.47%              82.27%     69.04%
8/15/2020           85.19%              86.28%     73.15%
8/22/2020           87.76%              89.54%     75.57%




                                           12 of 74                  USPS00002260_Nation
   Case 1:20-cv-03127-SAB        ECF No. 80-1    filed 09/16/20   PageID.2559 Page 13 of 74


     Area         Week    First‐Class Mail USPS Marketing Mail Periodicals
Capital Metro    1/4/2020           90.91%              87.74%     84.43%
Capital Metro   1/11/2020           90.38%              82.03%     83.34%
Capital Metro   1/18/2020           92.12%              85.94%     87.35%
Capital Metro   1/25/2020           90.55%              88.62%     86.04%
Capital Metro    2/1/2020           90.22%              88.11%     85.11%
Capital Metro    2/8/2020           91.78%              89.28%     87.92%
Capital Metro   2/15/2020           93.58%              89.84%     89.34%
Capital Metro   2/22/2020           92.29%              90.98%     85.68%
Capital Metro   2/29/2020           92.88%              84.70%     84.43%
Capital Metro    3/7/2020           92.15%              89.99%     85.58%
Capital Metro   3/14/2020           92.86%              89.83%     85.48%
Capital Metro   3/21/2020           93.44%              91.39%     86.61%
Capital Metro   3/28/2020           93.23%              93.33%     86.46%
Capital Metro    4/1/2020           94.20%              90.41%     86.53%
Capital Metro    4/4/2020           92.99%              92.27%     87.31%
Capital Metro   4/11/2020           91.65%              91.72%     81.63%
Capital Metro   4/18/2020           92.87%              92.67%     84.91%
Capital Metro   4/25/2020           92.04%              90.92%     78.95%
Capital Metro    5/2/2020           91.08%              88.45%     77.63%
Capital Metro    5/9/2020           89.71%              86.44%     68.43%
Capital Metro   5/16/2020           91.38%              85.77%     71.09%
Capital Metro   5/23/2020           92.45%              88.50%     78.75%
Capital Metro   5/30/2020           89.55%              88.82%     77.07%
Capital Metro    6/6/2020           90.07%              85.87%     77.74%
Capital Metro   6/13/2020           90.86%              88.67%     78.93%
Capital Metro   6/20/2020           90.76%              89.32%     81.19%
Capital Metro   6/27/2020           91.15%              92.77%     81.11%
Capital Metro    7/1/2020           92.00%              88.45%     80.37%
Capital Metro    7/4/2020           90.81%              86.74%     72.63%
Capital Metro   7/11/2020           87.12%              81.71%     68.58%
Capital Metro   7/18/2020           83.65%              78.91%     66.25%
Capital Metro   7/25/2020           84.31%              79.65%     65.58%
Capital Metro    8/1/2020           83.36%              80.50%     70.06%
Capital Metro    8/8/2020           80.63%              77.33%     68.21%
Capital Metro   8/15/2020           83.11%              80.46%     68.56%
Capital Metro   8/22/2020           86.60%              86.67%     72.47%
Eastern          1/4/2020           91.55%              92.72%     87.05%
Eastern         1/11/2020           92.64%              90.84%     89.31%
Eastern         1/18/2020           93.93%              92.72%     91.71%
Eastern         1/25/2020           92.21%              94.23%     87.53%
Eastern          2/1/2020           92.30%              93.80%     91.07%
Eastern          2/8/2020           93.13%              94.04%     89.85%
Eastern         2/15/2020           94.59%              94.32%     91.21%
Eastern         2/22/2020           93.18%              95.21%     90.93%
Eastern         2/29/2020           93.38%              94.95%     90.31%
Eastern          3/7/2020           92.88%              94.59%     90.24%


                                             13 of 74                        USPS00002260_Area
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2560 Page 14 of 74


Eastern       3/14/2020      92.91%              94.37%      88.19%
Eastern       3/21/2020      93.69%              94.15%      88.22%
Eastern       3/28/2020      93.37%              95.10%      88.79%
Eastern        4/1/2020      93.95%              93.45%      88.85%
Eastern        4/4/2020      92.93%              93.34%      87.38%
Eastern       4/11/2020      91.43%              91.62%      80.24%
Eastern       4/18/2020      92.12%              92.55%      81.49%
Eastern       4/25/2020      91.18%              90.27%      77.48%
Eastern        5/2/2020      91.23%              90.78%      79.48%
Eastern        5/9/2020      91.38%              91.40%      72.02%
Eastern       5/16/2020      91.88%              92.85%      77.68%
Eastern       5/23/2020      93.24%              90.27%      80.40%
Eastern       5/30/2020      91.66%              92.04%      80.77%
Eastern        6/6/2020      92.14%              91.98%      81.58%
Eastern       6/13/2020      92.73%              92.57%      82.71%
Eastern       6/20/2020      92.34%              91.98%      82.02%
Eastern       6/27/2020      92.27%              93.63%      83.13%
Eastern        7/1/2020      93.02%              92.33%      80.62%
Eastern        7/4/2020      91.09%              89.09%      78.91%
Eastern       7/11/2020      85.29%              82.02%      74.92%
Eastern       7/18/2020      79.00%              74.45%      73.60%
Eastern       7/25/2020      78.04%              79.19%      72.43%
Eastern        8/1/2020      79.75%              81.17%      68.68%
Eastern        8/8/2020      78.98%              80.10%      71.14%
Eastern       8/15/2020      83.65%              85.46%      75.94%
Eastern       8/22/2020      88.25%              90.73%      78.16%
Great Lakes    1/4/2020      91.09%              91.75%      85.58%
Great Lakes   1/11/2020      90.97%              89.42%      87.13%
Great Lakes   1/18/2020      92.29%              89.60%      86.96%
Great Lakes   1/25/2020      90.07%              90.56%      86.47%
Great Lakes    2/1/2020      88.41%              89.81%      86.19%
Great Lakes    2/8/2020      91.63%              90.76%      87.53%
Great Lakes   2/15/2020      93.02%              91.19%      87.26%
Great Lakes   2/22/2020      92.07%              92.50%      84.37%
Great Lakes   2/29/2020      92.35%              89.88%      84.11%
Great Lakes    3/7/2020      92.02%              91.07%      86.81%
Great Lakes   3/14/2020      91.48%              90.71%      84.42%
Great Lakes   3/21/2020      91.76%              89.84%      82.94%
Great Lakes   3/28/2020      90.41%              88.33%      82.87%
Great Lakes    4/1/2020      90.01%              77.95%      77.26%
Great Lakes    4/4/2020      88.16%              82.15%      76.87%
Great Lakes   4/11/2020      84.87%              79.25%      73.14%
Great Lakes   4/18/2020      88.59%              75.22%      67.57%
Great Lakes   4/25/2020      88.23%              76.82%      69.61%
Great Lakes    5/2/2020      87.51%              76.09%      57.75%
Great Lakes    5/9/2020      87.46%              77.87%      69.07%
Great Lakes   5/16/2020      89.26%              86.85%      61.82%


                                      14 of 74                        USPS00002260_Area
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2561 Page 15 of 74


Great Lakes   5/23/2020      91.17%              87.53%      74.02%
Great Lakes   5/30/2020      89.76%              89.69%      77.53%
Great Lakes    6/6/2020      90.21%              87.33%      74.99%
Great Lakes   6/13/2020      90.97%              89.14%      74.19%
Great Lakes   6/20/2020      89.81%              89.73%      75.24%
Great Lakes   6/27/2020      89.77%              91.01%      76.46%
Great Lakes    7/1/2020      90.23%              85.87%      71.64%
Great Lakes    7/4/2020      88.34%              84.28%      71.03%
Great Lakes   7/11/2020      82.40%              79.74%      70.99%
Great Lakes   7/18/2020      81.14%              77.52%      63.56%
Great Lakes   7/25/2020      80.71%              73.47%      56.85%
Great Lakes    8/1/2020      79.49%              71.24%      58.93%
Great Lakes    8/8/2020      79.25%              71.67%      64.06%
Great Lakes   8/15/2020      83.71%              80.19%      69.20%
Great Lakes   8/22/2020      86.38%              83.87%      71.19%
Northeast      1/4/2020      91.24%              89.76%      84.39%
Northeast     1/11/2020      91.20%              87.80%      80.59%
Northeast     1/18/2020      92.10%              88.72%      82.77%
Northeast     1/25/2020      90.46%              91.32%      83.49%
Northeast      2/1/2020      91.45%              90.47%      85.06%
Northeast      2/8/2020      91.74%              91.17%      85.51%
Northeast     2/15/2020      93.41%              92.07%      86.55%
Northeast     2/22/2020      92.49%              91.98%      81.32%
Northeast     2/29/2020      92.77%              92.03%      82.54%
Northeast      3/7/2020      91.80%              90.96%      82.34%
Northeast     3/14/2020      90.56%              87.27%      80.50%
Northeast     3/21/2020      91.17%              89.73%      78.18%
Northeast     3/28/2020      91.02%              89.99%      73.87%
Northeast      4/1/2020      90.88%              86.98%      76.26%
Northeast      4/4/2020      88.48%              77.40%      63.52%
Northeast     4/11/2020      84.09%              74.19%      50.42%
Northeast     4/18/2020      85.91%              76.41%      51.08%
Northeast     4/25/2020      85.57%              72.43%      39.24%
Northeast      5/2/2020      84.12%              70.03%      41.35%
Northeast      5/9/2020      85.26%              77.96%      42.51%
Northeast     5/16/2020      88.56%              82.29%      50.58%
Northeast     5/23/2020      89.48%              84.53%      53.41%
Northeast     5/30/2020      87.84%              87.90%      63.01%
Northeast      6/6/2020      88.25%              87.13%      56.93%
Northeast     6/13/2020      90.14%              88.42%      64.55%
Northeast     6/20/2020      89.56%              88.73%      65.60%
Northeast     6/27/2020      89.51%              88.39%      72.75%
Northeast      7/1/2020      90.83%              91.06%      72.12%
Northeast      7/4/2020      89.87%              87.65%      71.70%
Northeast     7/11/2020      84.25%              84.79%      65.70%
Northeast     7/18/2020      82.64%              84.28%      66.32%
Northeast     7/25/2020      85.58%              86.14%      65.67%


                                      15 of 74                        USPS00002260_Area
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2562 Page 16 of 74


Northeast    8/1/2020        84.29%              81.54%      65.51%
Northeast    8/8/2020        81.26%              82.96%      64.34%
Northeast   8/15/2020        85.91%              88.91%      68.93%
Northeast   8/22/2020        88.33%              89.24%      71.73%
Pacific      1/4/2020        93.61%              93.21%      84.80%
Pacific     1/11/2020        92.62%              91.93%      85.16%
Pacific     1/18/2020        93.84%              92.32%      89.86%
Pacific     1/25/2020        92.35%              91.46%      89.13%
Pacific      2/1/2020        90.72%              88.77%      87.07%
Pacific      2/8/2020        91.51%              91.83%      87.96%
Pacific     2/15/2020        94.29%              93.61%      91.85%
Pacific     2/22/2020        93.78%              95.10%      89.31%
Pacific     2/29/2020        93.69%              92.77%      84.15%
Pacific      3/7/2020        93.49%              93.46%      87.32%
Pacific     3/14/2020        92.64%              93.28%      87.73%
Pacific     3/21/2020        93.54%              94.51%      87.73%
Pacific     3/28/2020        93.57%              95.26%      86.96%
Pacific      4/1/2020        93.81%              90.31%      89.12%
Pacific      4/4/2020        92.72%              94.14%      88.47%
Pacific     4/11/2020        91.65%              93.72%      83.55%
Pacific     4/18/2020        92.50%              91.95%      86.33%
Pacific     4/25/2020        90.30%              92.08%      81.57%
Pacific      5/2/2020        91.48%              92.89%      82.21%
Pacific      5/9/2020        89.83%              92.48%      76.42%
Pacific     5/16/2020        91.10%              92.80%      79.79%
Pacific     5/23/2020        92.14%              91.87%      79.56%
Pacific     5/30/2020        90.43%              91.48%      77.38%
Pacific      6/6/2020        90.74%              91.61%      77.79%
Pacific     6/13/2020        91.85%              91.48%      81.97%
Pacific     6/20/2020        89.79%              90.86%      81.10%
Pacific     6/27/2020        90.64%              91.67%      81.63%
Pacific      7/1/2020        91.54%              87.77%      83.93%
Pacific      7/4/2020        91.17%              88.17%      75.26%
Pacific     7/11/2020        86.26%              85.84%      71.24%
Pacific     7/18/2020        82.52%              82.14%      74.54%
Pacific     7/25/2020        84.12%              85.11%      69.36%
Pacific      8/1/2020        80.80%              83.60%      64.08%
Pacific      8/8/2020        81.29%              85.75%      67.68%
Pacific     8/15/2020        86.37%              89.32%      72.57%
Pacific     8/22/2020        88.84%              91.04%      76.21%
Southern     1/4/2020        91.96%              91.10%      84.77%
Southern    1/11/2020        91.03%              87.45%      85.13%
Southern    1/18/2020        93.47%              88.19%      86.46%
Southern    1/25/2020        91.52%              90.04%      88.85%
Southern     2/1/2020        91.36%              90.05%      86.98%
Southern     2/8/2020        92.07%              91.64%      87.48%
Southern    2/15/2020        93.87%              91.60%      88.06%


                                      16 of 74                        USPS00002260_Area
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2563 Page 17 of 74


Southern   2/22/2020        92.56%              92.30%      86.83%
Southern   2/29/2020        93.23%              91.98%      87.74%
Southern    3/7/2020        92.38%              91.56%      85.73%
Southern   3/14/2020        91.83%              90.23%      85.16%
Southern   3/21/2020        93.39%              92.77%      86.53%
Southern   3/28/2020        93.12%              94.98%      86.48%
Southern    4/1/2020        93.38%              91.72%      88.84%
Southern    4/4/2020        92.33%              94.01%      86.97%
Southern   4/11/2020        91.03%              93.61%      80.96%
Southern   4/18/2020        92.56%              93.59%      86.73%
Southern   4/25/2020        91.99%              91.68%      83.97%
Southern    5/2/2020        91.40%              91.60%      80.60%
Southern    5/9/2020        90.61%              90.07%      71.47%
Southern   5/16/2020        92.05%              91.16%      79.32%
Southern   5/23/2020        93.01%              89.87%      80.48%
Southern   5/30/2020        91.22%              91.55%      81.97%
Southern    6/6/2020        90.94%              90.28%      79.37%
Southern   6/13/2020        92.00%              90.90%      80.87%
Southern   6/20/2020        90.63%              90.60%      81.47%
Southern   6/27/2020        90.45%              91.90%      79.90%
Southern    7/1/2020        92.37%              90.16%      82.94%
Southern    7/4/2020        90.68%              87.43%      77.49%
Southern   7/11/2020        84.76%              79.47%      74.99%
Southern   7/18/2020        81.60%              76.82%      69.06%
Southern   7/25/2020        84.82%              80.34%      71.90%
Southern    8/1/2020        84.42%              81.51%      70.25%
Southern    8/8/2020        82.51%              84.94%      67.60%
Southern   8/15/2020        86.42%              86.98%      71.62%
Southern   8/22/2020        88.25%              89.95%      75.23%
Western     1/4/2020        91.85%              91.52%      87.68%
Western    1/11/2020        90.75%              90.60%      88.44%
Western    1/18/2020        92.92%              91.35%      87.56%
Western    1/25/2020        90.67%              93.22%      89.11%
Western     2/1/2020        90.42%              91.63%      89.21%
Western     2/8/2020        91.82%              93.23%      91.20%
Western    2/15/2020        94.19%              92.59%      91.04%
Western    2/22/2020        93.32%              94.21%      90.29%
Western    2/29/2020        93.54%              94.12%      88.10%
Western     3/7/2020        92.14%              93.33%      88.26%
Western    3/14/2020        92.37%              93.23%      88.94%
Western    3/21/2020        92.56%              94.25%      88.05%
Western    3/28/2020        92.66%              94.77%      87.13%
Western     4/1/2020        93.11%              93.38%      87.83%
Western     4/4/2020        92.16%              94.18%      85.19%
Western    4/11/2020        90.85%              93.38%      85.44%
Western    4/18/2020        92.59%              94.15%      85.72%
Western    4/25/2020        91.33%              93.95%      81.55%


                                     17 of 74                        USPS00002260_Area
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2564 Page 18 of 74


Western     5/2/2020        91.29%              93.19%      83.64%
Western     5/9/2020        90.69%              92.87%      81.15%
Western    5/16/2020        92.65%              94.29%      83.71%
Western    5/23/2020        93.25%              92.86%      84.07%
Western    5/30/2020        90.87%              93.97%      83.69%
Western     6/6/2020        91.43%              92.32%      83.19%
Western    6/13/2020        92.54%              93.64%      85.51%
Western    6/20/2020        92.13%              92.75%      83.29%
Western    6/27/2020        90.95%              93.64%      87.16%
Western     7/1/2020        91.94%              91.87%      85.42%
Western     7/4/2020        91.37%              89.49%      82.28%
Western    7/11/2020        86.80%              88.39%      81.39%
Western    7/18/2020        84.66%              86.94%      82.10%
Western    7/25/2020        87.04%              90.19%      79.07%
Western     8/1/2020        86.05%              88.72%      79.39%
Western     8/8/2020        84.67%              89.79%      76.24%
Western    8/15/2020        86.23%              91.11%      80.10%
Western    8/22/2020        87.48%              93.13%      81.52%




                                     18 of 74                        USPS00002260_Area
   Case 1:20-cv-03127-SAB          ECF No. 80-1   filed 09/16/20   PageID.2565 Page 19 of 74


     Area               District        Week    First‐Class Mail USPS Marketing Mail Periodicals
Capital Metro   Atlanta                1/4/2020           92.83%              84.53%     81.66%
Capital Metro   Atlanta               1/11/2020           91.52%              82.35%     81.44%
Capital Metro   Atlanta               1/18/2020           93.84%              79.42%     87.63%
Capital Metro   Atlanta               1/25/2020           91.34%              85.59%     85.13%
Capital Metro   Atlanta                2/1/2020           91.16%              77.71%     80.65%
Capital Metro   Atlanta                2/8/2020           92.55%              86.78%     87.46%
Capital Metro   Atlanta               2/15/2020           94.07%              84.00%     90.70%
Capital Metro   Atlanta               2/22/2020           92.05%              87.86%     87.92%
Capital Metro   Atlanta               2/29/2020           93.18%              83.15%     78.75%
Capital Metro   Atlanta                3/7/2020           92.32%              88.33%     79.72%
Capital Metro   Atlanta               3/14/2020           93.07%              89.46%     80.15%
Capital Metro   Atlanta               3/21/2020           93.61%              89.59%     84.71%
Capital Metro   Atlanta               3/28/2020           93.10%              92.59%     83.72%
Capital Metro   Atlanta                4/1/2020           94.40%              82.00%     85.27%
Capital Metro   Atlanta                4/4/2020           93.18%              83.56%     83.21%
Capital Metro   Atlanta               4/11/2020           92.63%              90.21%     84.09%
Capital Metro   Atlanta               4/18/2020           92.78%              91.55%     80.77%
Capital Metro   Atlanta               4/25/2020           91.58%              87.90%     78.32%
Capital Metro   Atlanta                5/2/2020           92.12%              79.79%     69.62%
Capital Metro   Atlanta                5/9/2020           90.84%              80.79%     55.69%
Capital Metro   Atlanta               5/16/2020           92.63%              82.94%     59.76%
Capital Metro   Atlanta               5/23/2020           92.94%              86.30%     77.07%
Capital Metro   Atlanta               5/30/2020           91.40%              86.04%     72.59%
Capital Metro   Atlanta                6/6/2020           91.02%              76.43%     72.63%
Capital Metro   Atlanta               6/13/2020           91.69%              81.79%     76.83%
Capital Metro   Atlanta               6/20/2020           91.61%              83.74%     85.04%
Capital Metro   Atlanta               6/27/2020           91.49%              88.79%     83.37%
Capital Metro   Atlanta                7/1/2020           91.77%              77.58%     65.41%
Capital Metro   Atlanta                7/4/2020           90.71%              80.35%     70.00%
Capital Metro   Atlanta               7/11/2020           87.14%              76.45%     65.86%
Capital Metro   Atlanta               7/18/2020           85.51%              72.51%     55.21%
Capital Metro   Atlanta               7/25/2020           87.14%              79.36%     73.20%
Capital Metro   Atlanta                8/1/2020           86.59%              72.52%     71.29%
Capital Metro   Atlanta                8/8/2020           83.99%              77.99%     68.78%
Capital Metro   Atlanta               8/15/2020           84.97%              72.34%     66.85%
Capital Metro   Atlanta               8/22/2020           89.79%              80.90%     79.80%
Capital Metro   Baltimore              1/4/2020           86.86%              83.71%     82.29%
Capital Metro   Baltimore             1/11/2020           86.82%              76.29%     89.55%
Capital Metro   Baltimore             1/18/2020           86.79%              82.91%     87.64%
Capital Metro   Baltimore             1/25/2020           87.34%              88.07%     83.09%
Capital Metro   Baltimore              2/1/2020           89.92%              89.30%     80.31%
Capital Metro   Baltimore              2/8/2020           91.36%              89.82%     87.77%
Capital Metro   Baltimore             2/15/2020           91.56%              88.99%     86.43%
Capital Metro   Baltimore             2/22/2020           91.43%              91.17%     87.84%
Capital Metro   Baltimore             2/29/2020           91.48%              84.23%     80.89%
Capital Metro   Baltimore              3/7/2020           89.48%              90.54%     88.67%


                                              19 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2566 Page 20 of 74


Capital Metro   Baltimore      3/14/2020         91.31%              90.94%    88.24%
Capital Metro   Baltimore      3/21/2020         91.29%              89.01%    82.65%
Capital Metro   Baltimore      3/28/2020         91.85%              93.12%    87.14%
Capital Metro   Baltimore       4/1/2020         91.83%              90.54%    82.92%
Capital Metro   Baltimore       4/4/2020         88.77%              87.17%    84.37%
Capital Metro   Baltimore      4/11/2020         86.75%              85.31%    76.68%
Capital Metro   Baltimore      4/18/2020         90.02%              89.80%    80.94%
Capital Metro   Baltimore      4/25/2020         89.10%              85.93%    70.37%
Capital Metro   Baltimore       5/2/2020         85.36%              77.15%    53.59%
Capital Metro   Baltimore       5/9/2020         78.86%              67.20%    36.73%
Capital Metro   Baltimore      5/16/2020         80.89%              66.21%    27.03%
Capital Metro   Baltimore      5/23/2020         88.91%              83.67%    61.07%
Capital Metro   Baltimore      5/30/2020         80.20%              76.24%    67.31%
Capital Metro   Baltimore       6/6/2020         80.99%              73.22%    67.37%
Capital Metro   Baltimore      6/13/2020         86.03%              86.68%    71.02%
Capital Metro   Baltimore      6/20/2020         85.04%              86.87%    76.76%
Capital Metro   Baltimore      6/27/2020         88.46%              93.82%    79.25%
Capital Metro   Baltimore       7/1/2020         89.70%              89.77%    79.17%
Capital Metro   Baltimore       7/4/2020         87.97%              88.03%    75.78%
Capital Metro   Baltimore      7/11/2020         81.36%              84.02%    67.07%
Capital Metro   Baltimore      7/18/2020         77.06%              80.03%    71.79%
Capital Metro   Baltimore      7/25/2020         75.14%              76.00%    47.70%
Capital Metro   Baltimore       8/1/2020         64.05%              65.44%    53.58%
Capital Metro   Baltimore       8/8/2020         59.63%              58.54%    41.84%
Capital Metro   Baltimore      8/15/2020         64.75%              59.57%    34.88%
Capital Metro   Baltimore      8/22/2020         72.59%              73.85%    34.55%
Capital Metro   Capital         1/4/2020         85.55%              90.55%    75.82%
Capital Metro   Capital        1/11/2020         87.08%              84.24%    78.84%
Capital Metro   Capital        1/18/2020         89.89%              87.11%    85.30%
Capital Metro   Capital        1/25/2020         88.29%              91.06%    79.31%
Capital Metro   Capital         2/1/2020         87.82%              90.08%    85.54%
Capital Metro   Capital         2/8/2020         88.71%              91.03%    85.00%
Capital Metro   Capital        2/15/2020         91.57%              90.28%    85.44%
Capital Metro   Capital        2/22/2020         90.82%              92.49%    85.60%
Capital Metro   Capital        2/29/2020         90.38%              85.57%    84.59%
Capital Metro   Capital         3/7/2020         90.39%              90.03%    84.79%
Capital Metro   Capital        3/14/2020         90.45%              92.77%    87.14%
Capital Metro   Capital        3/21/2020         91.93%              93.43%    87.92%
Capital Metro   Capital        3/28/2020         91.09%              94.16%    85.12%
Capital Metro   Capital         4/1/2020         91.46%              91.93%    86.95%
Capital Metro   Capital         4/4/2020         90.34%              93.96%    83.32%
Capital Metro   Capital        4/11/2020         88.73%              93.43%    77.77%
Capital Metro   Capital        4/18/2020         89.55%              93.38%    85.53%
Capital Metro   Capital        4/25/2020         89.45%              92.36%    84.13%
Capital Metro   Capital         5/2/2020         85.84%              92.01%    79.30%
Capital Metro   Capital         5/9/2020         87.81%              91.47%    74.73%
Capital Metro   Capital        5/16/2020         88.09%              92.30%    82.03%


                                      20 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB            ECF No. 80-1   filed 09/16/20   PageID.2567 Page 21 of 74


Capital Metro   Capital                 5/23/2020         90.05%              90.62%    85.17%
Capital Metro   Capital                 5/30/2020         85.94%              92.11%    78.82%
Capital Metro   Capital                  6/6/2020         87.53%              91.45%    73.32%
Capital Metro   Capital                 6/13/2020         86.78%              92.44%    79.71%
Capital Metro   Capital                 6/20/2020         87.91%              93.63%    84.40%
Capital Metro   Capital                 6/27/2020         87.88%              94.34%    83.01%
Capital Metro   Capital                  7/1/2020         89.73%              90.81%    76.96%
Capital Metro   Capital                  7/4/2020         86.45%              89.80%    77.58%
Capital Metro   Capital                 7/11/2020         85.59%              89.31%    66.78%
Capital Metro   Capital                 7/18/2020         82.48%              86.07%    74.13%
Capital Metro   Capital                 7/25/2020         78.11%              82.38%    70.60%
Capital Metro   Capital                  8/1/2020         77.27%              82.63%    63.12%
Capital Metro   Capital                  8/8/2020         76.75%              84.26%    69.75%
Capital Metro   Capital                 8/15/2020         78.24%              84.85%    66.65%
Capital Metro   Capital                 8/22/2020         82.07%              88.32%    60.86%
Capital Metro   Greater S Carolina       1/4/2020         93.36%              86.18%    93.05%
Capital Metro   Greater S Carolina      1/11/2020         93.03%              90.56%    91.15%
Capital Metro   Greater S Carolina      1/18/2020         93.06%              85.45%    90.20%
Capital Metro   Greater S Carolina      1/25/2020         93.00%              91.53%    94.22%
Capital Metro   Greater S Carolina       2/1/2020         92.25%              86.52%    94.86%
Capital Metro   Greater S Carolina       2/8/2020         93.48%              93.26%    93.50%
Capital Metro   Greater S Carolina      2/15/2020         94.83%              88.36%    91.00%
Capital Metro   Greater S Carolina      2/22/2020         93.89%              94.29%    92.48%
Capital Metro   Greater S Carolina      2/29/2020         93.88%              86.51%    94.68%
Capital Metro   Greater S Carolina       3/7/2020         92.90%              93.02%    94.09%
Capital Metro   Greater S Carolina      3/14/2020         93.97%              86.79%    94.75%
Capital Metro   Greater S Carolina      3/21/2020         93.70%              94.01%    94.36%
Capital Metro   Greater S Carolina      3/28/2020         95.17%              94.65%    88.72%
Capital Metro   Greater S Carolina       4/1/2020         95.16%              92.85%    92.29%
Capital Metro   Greater S Carolina       4/4/2020         94.24%              95.56%    94.94%
Capital Metro   Greater S Carolina      4/11/2020         93.68%              95.21%    92.25%
Capital Metro   Greater S Carolina      4/18/2020         94.90%              96.28%    93.93%
Capital Metro   Greater S Carolina      4/25/2020         93.76%              93.90%    82.81%
Capital Metro   Greater S Carolina       5/2/2020         93.09%              85.33%    92.13%
Capital Metro   Greater S Carolina       5/9/2020         91.43%              90.39%    88.82%
Capital Metro   Greater S Carolina      5/16/2020         93.83%              91.47%    87.22%
Capital Metro   Greater S Carolina      5/23/2020         93.91%              90.98%    85.76%
Capital Metro   Greater S Carolina      5/30/2020         92.31%              93.87%    85.87%
Capital Metro   Greater S Carolina       6/6/2020         92.09%              90.79%    90.27%
Capital Metro   Greater S Carolina      6/13/2020         92.58%              92.58%    85.42%
Capital Metro   Greater S Carolina      6/20/2020         92.76%              91.95%    84.24%
Capital Metro   Greater S Carolina      6/27/2020         93.24%              94.46%    88.81%
Capital Metro   Greater S Carolina       7/1/2020         93.94%              92.72%    87.19%
Capital Metro   Greater S Carolina       7/4/2020         93.31%              90.64%    74.70%
Capital Metro   Greater S Carolina      7/11/2020         90.37%              75.69%    75.37%
Capital Metro   Greater S Carolina      7/18/2020         86.99%              78.71%    63.96%
Capital Metro   Greater S Carolina      7/25/2020         85.29%              76.82%    76.12%


                                               21 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB            ECF No. 80-1   filed 09/16/20   PageID.2568 Page 22 of 74


Capital Metro   Greater S Carolina       8/1/2020         85.08%              75.02%    72.63%
Capital Metro   Greater S Carolina       8/8/2020         78.41%              73.38%    76.82%
Capital Metro   Greater S Carolina      8/15/2020         85.93%              86.42%    77.36%
Capital Metro   Greater S Carolina      8/22/2020         89.70%              85.23%    82.46%
Capital Metro   Greensboro               1/4/2020         90.72%              84.28%    85.86%
Capital Metro   Greensboro              1/11/2020         90.85%              87.38%    84.62%
Capital Metro   Greensboro              1/18/2020         93.16%              90.81%    84.58%
Capital Metro   Greensboro              1/25/2020         91.29%              89.88%    90.79%
Capital Metro   Greensboro               2/1/2020         91.50%              86.19%    86.97%
Capital Metro   Greensboro               2/8/2020         92.51%              91.24%    90.05%
Capital Metro   Greensboro              2/15/2020         94.48%              87.11%    90.22%
Capital Metro   Greensboro              2/22/2020         93.31%              93.03%    80.02%
Capital Metro   Greensboro              2/29/2020         93.21%              86.67%    86.39%
Capital Metro   Greensboro               3/7/2020         93.15%              92.61%    84.90%
Capital Metro   Greensboro              3/14/2020         93.51%              86.68%    87.56%
Capital Metro   Greensboro              3/21/2020         94.42%              94.12%    88.10%
Capital Metro   Greensboro              3/28/2020         94.84%              94.19%    86.98%
Capital Metro   Greensboro               4/1/2020         94.30%              93.60%    87.15%
Capital Metro   Greensboro               4/4/2020         94.45%              95.39%    85.63%
Capital Metro   Greensboro              4/11/2020         93.31%              88.97%    82.58%
Capital Metro   Greensboro              4/18/2020         94.16%              94.40%    85.19%
Capital Metro   Greensboro              4/25/2020         93.45%              92.60%    80.68%
Capital Metro   Greensboro               5/2/2020         92.78%              84.61%    76.57%
Capital Metro   Greensboro               5/9/2020         91.76%              92.17%    66.91%
Capital Metro   Greensboro              5/16/2020         92.97%              89.93%    78.76%
Capital Metro   Greensboro              5/23/2020         93.53%              90.57%    83.77%
Capital Metro   Greensboro              5/30/2020         90.60%              84.87%    73.63%
Capital Metro   Greensboro               6/6/2020         92.05%              92.87%    73.93%
Capital Metro   Greensboro              6/13/2020         90.47%              92.83%    86.87%
Capital Metro   Greensboro              6/20/2020         92.25%              87.07%    80.89%
Capital Metro   Greensboro              6/27/2020         92.34%              94.42%    80.18%
Capital Metro   Greensboro               7/1/2020         93.50%              91.92%    75.40%
Capital Metro   Greensboro               7/4/2020         92.49%              89.41%    76.51%
Capital Metro   Greensboro              7/11/2020         90.23%              83.44%    70.95%
Capital Metro   Greensboro              7/18/2020         86.67%              89.08%    72.40%
Capital Metro   Greensboro              7/25/2020         87.78%              84.40%    58.31%
Capital Metro   Greensboro               8/1/2020         86.42%              78.34%    67.77%
Capital Metro   Greensboro               8/8/2020         83.97%              76.59%    74.90%
Capital Metro   Greensboro              8/15/2020         86.52%              79.80%    74.81%
Capital Metro   Greensboro              8/22/2020         87.31%              91.94%    72.59%
Capital Metro   Mid‐Carolinas            1/4/2020         91.62%              89.59%    79.38%
Capital Metro   Mid‐Carolinas           1/11/2020         90.67%              72.16%    72.51%
Capital Metro   Mid‐Carolinas           1/18/2020         92.16%              85.40%    84.42%
Capital Metro   Mid‐Carolinas           1/25/2020         90.43%              86.19%    87.40%
Capital Metro   Mid‐Carolinas            2/1/2020         89.41%              84.70%    86.68%
Capital Metro   Mid‐Carolinas            2/8/2020         91.59%              87.19%    84.92%
Capital Metro   Mid‐Carolinas           2/15/2020         93.98%              90.37%    84.96%


                                               22 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB           ECF No. 80-1   filed 09/16/20   PageID.2569 Page 23 of 74


Capital Metro   Mid‐Carolinas          2/22/2020          92.83%             92.25%    84.46%
Capital Metro   Mid‐Carolinas          2/29/2020          94.44%             85.10%    84.12%
Capital Metro   Mid‐Carolinas           3/7/2020          93.40%             89.88%    84.43%
Capital Metro   Mid‐Carolinas          3/14/2020          94.08%             88.88%    85.89%
Capital Metro   Mid‐Carolinas          3/21/2020          94.75%             93.46%    87.55%
Capital Metro   Mid‐Carolinas          3/28/2020          92.91%             95.08%    87.16%
Capital Metro   Mid‐Carolinas           4/1/2020          94.89%             93.95%    86.36%
Capital Metro   Mid‐Carolinas           4/4/2020          94.67%             95.23%    90.35%
Capital Metro   Mid‐Carolinas          4/11/2020          92.86%             95.41%    83.59%
Capital Metro   Mid‐Carolinas          4/18/2020          94.09%             94.51%    84.84%
Capital Metro   Mid‐Carolinas          4/25/2020          92.65%             93.86%    80.90%
Capital Metro   Mid‐Carolinas           5/2/2020          91.54%             89.35%    77.25%
Capital Metro   Mid‐Carolinas           5/9/2020          91.60%             89.85%    63.52%
Capital Metro   Mid‐Carolinas          5/16/2020          93.61%             91.29%    71.18%
Capital Metro   Mid‐Carolinas          5/23/2020          93.01%             89.90%    79.69%
Capital Metro   Mid‐Carolinas          5/30/2020          91.03%             90.35%    74.81%
Capital Metro   Mid‐Carolinas           6/6/2020          92.44%             86.55%    80.73%
Capital Metro   Mid‐Carolinas          6/13/2020          92.65%             91.59%    78.59%
Capital Metro   Mid‐Carolinas          6/20/2020          92.22%             90.89%    80.35%
Capital Metro   Mid‐Carolinas          6/27/2020          92.78%             95.72%    80.90%
Capital Metro   Mid‐Carolinas           7/1/2020          92.83%             93.24%    84.26%
Capital Metro   Mid‐Carolinas           7/4/2020          92.56%             92.91%    73.52%
Capital Metro   Mid‐Carolinas          7/11/2020          88.38%             82.29%    72.88%
Capital Metro   Mid‐Carolinas          7/18/2020          84.26%             71.86%    64.26%
Capital Metro   Mid‐Carolinas          7/25/2020          86.63%             78.98%    63.00%
Capital Metro   Mid‐Carolinas           8/1/2020          87.62%             83.98%    67.65%
Capital Metro   Mid‐Carolinas           8/8/2020          85.35%             81.20%    68.92%
Capital Metro   Mid‐Carolinas          8/15/2020          84.98%             84.22%    70.66%
Capital Metro   Mid‐Carolinas          8/22/2020          88.77%             90.59%    75.02%
Capital Metro   Northern Virginia       1/4/2020          89.00%             89.21%    89.35%
Capital Metro   Northern Virginia      1/11/2020          89.88%             88.63%    90.69%
Capital Metro   Northern Virginia      1/18/2020          92.92%             89.56%    88.25%
Capital Metro   Northern Virginia      1/25/2020          92.26%             92.43%    84.07%
Capital Metro   Northern Virginia       2/1/2020          90.63%             92.65%    86.63%
Capital Metro   Northern Virginia       2/8/2020          92.61%             91.33%    86.93%
Capital Metro   Northern Virginia      2/15/2020          93.04%             91.20%    87.16%
Capital Metro   Northern Virginia      2/22/2020          92.19%             93.29%    88.98%
Capital Metro   Northern Virginia      2/29/2020          92.72%             85.83%    78.08%
Capital Metro   Northern Virginia       3/7/2020          91.34%             93.15%    87.75%
Capital Metro   Northern Virginia      3/14/2020          92.65%             93.37%    89.63%
Capital Metro   Northern Virginia      3/21/2020          91.19%             92.39%    87.76%
Capital Metro   Northern Virginia      3/28/2020          93.38%             92.90%    91.70%
Capital Metro   Northern Virginia       4/1/2020          93.67%             90.96%    89.51%
Capital Metro   Northern Virginia       4/4/2020          91.45%             93.31%    88.61%
Capital Metro   Northern Virginia      4/11/2020          90.99%             93.43%    79.45%
Capital Metro   Northern Virginia      4/18/2020          91.84%             94.21%    87.89%
Capital Metro   Northern Virginia      4/25/2020          92.05%             93.77%    86.79%


                                               23 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB           ECF No. 80-1   filed 09/16/20   PageID.2570 Page 24 of 74


Capital Metro   Northern Virginia       5/2/2020         90.81%              92.62%    86.13%
Capital Metro   Northern Virginia       5/9/2020         89.04%              92.34%    81.23%
Capital Metro   Northern Virginia      5/16/2020         90.63%              93.43%    85.67%
Capital Metro   Northern Virginia      5/23/2020         92.45%              90.83%    83.93%
Capital Metro   Northern Virginia      5/30/2020         88.14%              92.72%    86.95%
Capital Metro   Northern Virginia       6/6/2020         88.86%              91.10%    79.65%
Capital Metro   Northern Virginia      6/13/2020         90.88%              91.85%    88.12%
Capital Metro   Northern Virginia      6/20/2020         89.85%              92.18%    85.76%
Capital Metro   Northern Virginia      6/27/2020         90.21%              92.82%    91.37%
Capital Metro   Northern Virginia       7/1/2020         90.34%              91.73%    90.94%
Capital Metro   Northern Virginia       7/4/2020         88.03%              90.36%    86.28%
Capital Metro   Northern Virginia      7/11/2020         87.15%              91.38%    84.32%
Capital Metro   Northern Virginia      7/18/2020         83.07%              90.13%    86.50%
Capital Metro   Northern Virginia      7/25/2020         80.98%              87.79%    88.85%
Capital Metro   Northern Virginia       8/1/2020         83.51%              82.41%    87.18%
Capital Metro   Northern Virginia       8/8/2020         80.60%              91.01%    84.93%
Capital Metro   Northern Virginia      8/15/2020         85.44%              90.39%    84.83%
Capital Metro   Northern Virginia      8/22/2020         85.73%              91.96%    86.94%
Capital Metro   Richmond                1/4/2020         90.17%              83.72%    79.95%
Capital Metro   Richmond               1/11/2020         88.80%              77.33%    77.12%
Capital Metro   Richmond               1/18/2020         90.70%              82.46%    83.01%
Capital Metro   Richmond               1/25/2020         88.51%              85.74%    83.94%
Capital Metro   Richmond                2/1/2020         86.32%              84.89%    80.23%
Capital Metro   Richmond                2/8/2020         89.01%              85.68%    83.19%
Capital Metro   Richmond               2/15/2020         92.44%              85.85%    83.65%
Capital Metro   Richmond               2/22/2020         90.21%              84.22%    81.78%
Capital Metro   Richmond               2/29/2020         89.67%              81.38%    82.02%
Capital Metro   Richmond                3/7/2020         90.56%              85.06%    78.02%
Capital Metro   Richmond               3/14/2020         90.69%              81.83%    70.54%
Capital Metro   Richmond               3/21/2020         92.77%              88.55%    78.77%
Capital Metro   Richmond               3/28/2020         92.55%              90.56%    83.19%
Capital Metro   Richmond                4/1/2020         92.86%              90.44%    81.83%
Capital Metro   Richmond                4/4/2020         92.03%              89.81%    81.91%
Capital Metro   Richmond               4/11/2020         88.73%              86.94%    70.90%
Capital Metro   Richmond               4/18/2020         91.55%              90.87%    78.43%
Capital Metro   Richmond               4/25/2020         91.91%              89.86%    71.17%
Capital Metro   Richmond                5/2/2020         90.85%              88.42%    77.14%
Capital Metro   Richmond                5/9/2020         89.62%              86.95%    63.37%
Capital Metro   Richmond               5/16/2020         89.87%              89.42%    80.30%
Capital Metro   Richmond               5/23/2020         91.03%              86.95%    73.66%
Capital Metro   Richmond               5/30/2020         88.37%              87.77%    63.80%
Capital Metro   Richmond                6/6/2020         89.36%              84.41%    70.26%
Capital Metro   Richmond               6/13/2020         90.13%              84.86%    63.99%
Capital Metro   Richmond               6/20/2020         88.14%              86.64%    64.28%
Capital Metro   Richmond               6/27/2020         87.28%              88.29%    66.41%
Capital Metro   Richmond                7/1/2020         90.73%              83.21%    77.07%
Capital Metro   Richmond                7/4/2020         88.05%              80.24%    58.94%


                                              24 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB          ECF No. 80-1    filed 09/16/20   PageID.2571 Page 25 of 74


Capital Metro   Richmond               7/11/2020         83.23%              75.45%    54.80%
Capital Metro   Richmond               7/18/2020         75.87%              64.94%    50.32%
Capital Metro   Richmond               7/25/2020         78.84%              73.92%    47.91%
Capital Metro   Richmond                8/1/2020         81.64%              81.39%    53.04%
Capital Metro   Richmond                8/8/2020         81.17%              78.19%    46.69%
Capital Metro   Richmond               8/15/2020         85.27%              84.11%    63.19%
Capital Metro   Richmond               8/22/2020         86.18%              87.42%    69.15%
Eastern         Appalachian             1/4/2020         93.09%              94.10%    87.17%
Eastern         Appalachian            1/11/2020         94.48%              92.04%    85.39%
Eastern         Appalachian            1/18/2020         94.90%              90.18%    93.26%
Eastern         Appalachian            1/25/2020         93.14%              94.56%    85.48%
Eastern         Appalachian             2/1/2020         93.08%              88.65%    92.36%
Eastern         Appalachian             2/8/2020         92.62%              93.19%    88.58%
Eastern         Appalachian            2/15/2020         95.12%              95.46%    90.88%
Eastern         Appalachian            2/22/2020         94.22%              95.26%    92.02%
Eastern         Appalachian            2/29/2020         93.70%              89.24%    91.57%
Eastern         Appalachian             3/7/2020         93.94%              90.69%    92.06%
Eastern         Appalachian            3/14/2020         93.20%              94.13%    81.04%
Eastern         Appalachian            3/21/2020         94.60%              95.30%    90.53%
Eastern         Appalachian            3/28/2020         93.61%              96.79%    92.04%
Eastern         Appalachian             4/1/2020         94.86%              95.09%    92.56%
Eastern         Appalachian             4/4/2020         94.73%              93.47%    87.76%
Eastern         Appalachian            4/11/2020         94.28%              95.46%    85.36%
Eastern         Appalachian            4/18/2020         94.06%              95.63%    90.22%
Eastern         Appalachian            4/25/2020         94.34%              93.72%    86.43%
Eastern         Appalachian             5/2/2020         94.38%              86.91%    82.54%
Eastern         Appalachian             5/9/2020         92.59%              92.40%    83.56%
Eastern         Appalachian            5/16/2020         93.37%              89.03%    83.03%
Eastern         Appalachian            5/23/2020         94.47%              92.47%    86.52%
Eastern         Appalachian            5/30/2020         92.89%              95.96%    86.01%
Eastern         Appalachian             6/6/2020         93.23%              88.44%    86.65%
Eastern         Appalachian            6/13/2020         93.75%              94.57%    83.39%
Eastern         Appalachian            6/20/2020         93.04%              94.78%    82.92%
Eastern         Appalachian            6/27/2020         93.09%              95.32%    87.66%
Eastern         Appalachian             7/1/2020         94.35%              94.70%    89.91%
Eastern         Appalachian             7/4/2020         93.34%              92.88%    82.54%
Eastern         Appalachian            7/11/2020         89.80%              92.18%    79.81%
Eastern         Appalachian            7/18/2020         86.32%              91.39%    83.84%
Eastern         Appalachian            7/25/2020         84.59%              91.52%    69.04%
Eastern         Appalachian             8/1/2020         88.41%              86.38%    81.92%
Eastern         Appalachian             8/8/2020         85.65%              88.53%    78.98%
Eastern         Appalachian            8/15/2020         88.23%              93.03%    75.47%
Eastern         Appalachian            8/22/2020         90.28%              92.85%    78.80%
Eastern         Central Pennsylvania    1/4/2020         92.66%              90.72%    82.45%
Eastern         Central Pennsylvania   1/11/2020         92.32%              88.10%    87.96%
Eastern         Central Pennsylvania   1/18/2020         93.43%              91.57%    90.51%
Eastern         Central Pennsylvania   1/25/2020         92.88%              93.32%    86.26%


                                              25 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB      ECF No. 80-1    filed 09/16/20   PageID.2572 Page 26 of 74


Eastern     Central Pennsylvania    2/1/2020         92.83%              93.23%    91.05%
Eastern     Central Pennsylvania    2/8/2020         93.78%              93.03%    86.80%
Eastern     Central Pennsylvania   2/15/2020         94.98%              94.31%    91.70%
Eastern     Central Pennsylvania   2/22/2020         93.12%              94.48%    88.13%
Eastern     Central Pennsylvania   2/29/2020         93.28%              94.11%    90.13%
Eastern     Central Pennsylvania    3/7/2020         92.79%              93.62%    89.89%
Eastern     Central Pennsylvania   3/14/2020         92.71%              94.40%    88.56%
Eastern     Central Pennsylvania   3/21/2020         93.82%              93.85%    87.07%
Eastern     Central Pennsylvania   3/28/2020         94.33%              93.15%    88.97%
Eastern     Central Pennsylvania    4/1/2020         92.96%              95.00%    89.49%
Eastern     Central Pennsylvania    4/4/2020         92.56%              90.00%    89.04%
Eastern     Central Pennsylvania   4/11/2020         92.08%              86.40%    78.01%
Eastern     Central Pennsylvania   4/18/2020         91.28%              88.29%    79.59%
Eastern     Central Pennsylvania   4/25/2020         90.82%              83.97%    70.93%
Eastern     Central Pennsylvania    5/2/2020         91.50%              90.03%    79.75%
Eastern     Central Pennsylvania    5/9/2020         91.58%              92.56%    77.05%
Eastern     Central Pennsylvania   5/16/2020         92.36%              93.80%    80.68%
Eastern     Central Pennsylvania   5/23/2020         92.87%              88.67%    85.48%
Eastern     Central Pennsylvania   5/30/2020         92.40%              90.75%    83.87%
Eastern     Central Pennsylvania    6/6/2020         93.12%              88.95%    85.56%
Eastern     Central Pennsylvania   6/13/2020         93.14%              89.37%    82.75%
Eastern     Central Pennsylvania   6/20/2020         92.71%              89.82%    80.54%
Eastern     Central Pennsylvania   6/27/2020         91.61%              90.34%    85.52%
Eastern     Central Pennsylvania    7/1/2020         91.69%              93.53%    80.28%
Eastern     Central Pennsylvania    7/4/2020         91.50%              88.56%    83.52%
Eastern     Central Pennsylvania   7/11/2020         83.82%              77.15%    72.53%
Eastern     Central Pennsylvania   7/18/2020         67.52%              61.63%    70.74%
Eastern     Central Pennsylvania   7/25/2020         71.59%              73.81%    70.44%
Eastern     Central Pennsylvania    8/1/2020         76.04%              76.12%    70.51%
Eastern     Central Pennsylvania    8/8/2020         73.60%              74.05%    69.52%
Eastern     Central Pennsylvania   8/15/2020         80.62%              83.16%    72.59%
Eastern     Central Pennsylvania   8/22/2020         85.06%              90.96%    76.14%
Eastern     Kentuckiana             1/4/2020         92.04%              95.43%    90.03%
Eastern     Kentuckiana            1/11/2020         93.00%              93.87%    89.77%
Eastern     Kentuckiana            1/18/2020         93.79%              93.20%    91.07%
Eastern     Kentuckiana            1/25/2020         91.97%              94.86%    87.05%
Eastern     Kentuckiana             2/1/2020         92.42%              94.10%    92.16%
Eastern     Kentuckiana             2/8/2020         93.33%              94.37%    90.67%
Eastern     Kentuckiana            2/15/2020         94.28%              93.89%    89.02%
Eastern     Kentuckiana            2/22/2020         93.32%              95.74%    91.55%
Eastern     Kentuckiana            2/29/2020         93.01%              95.34%    90.04%
Eastern     Kentuckiana             3/7/2020         92.77%              94.85%    91.18%
Eastern     Kentuckiana            3/14/2020         92.94%              94.32%    90.14%
Eastern     Kentuckiana            3/21/2020         93.65%              94.84%    91.72%
Eastern     Kentuckiana            3/28/2020         94.05%              95.42%    88.17%
Eastern     Kentuckiana             4/1/2020         94.41%              95.69%    88.24%
Eastern     Kentuckiana             4/4/2020         93.92%              95.94%    87.16%


                                          26 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2573 Page 27 of 74


Eastern     Kentuckiana        4/11/2020         93.27%              95.91%    77.88%
Eastern     Kentuckiana        4/18/2020         93.19%              95.13%    84.88%
Eastern     Kentuckiana        4/25/2020         91.33%              95.17%    74.85%
Eastern     Kentuckiana         5/2/2020         90.60%              95.25%    79.77%
Eastern     Kentuckiana         5/9/2020         90.48%              93.48%    74.72%
Eastern     Kentuckiana        5/16/2020         90.68%              93.51%    77.45%
Eastern     Kentuckiana        5/23/2020         92.20%              91.68%    84.76%
Eastern     Kentuckiana        5/30/2020         91.41%              94.06%    84.89%
Eastern     Kentuckiana         6/6/2020         91.23%              94.37%    83.79%
Eastern     Kentuckiana        6/13/2020         92.25%              94.52%    85.00%
Eastern     Kentuckiana        6/20/2020         92.05%              94.54%    87.28%
Eastern     Kentuckiana        6/27/2020         92.04%              93.03%    89.48%
Eastern     Kentuckiana         7/1/2020         93.11%              91.81%    79.42%
Eastern     Kentuckiana         7/4/2020         90.74%              89.78%    81.21%
Eastern     Kentuckiana        7/11/2020         87.65%              84.98%    75.91%
Eastern     Kentuckiana        7/18/2020         81.86%              82.89%    77.02%
Eastern     Kentuckiana        7/25/2020         84.19%              84.55%    77.24%
Eastern     Kentuckiana         8/1/2020         84.28%              82.74%    65.06%
Eastern     Kentuckiana         8/8/2020         79.31%              76.60%    63.63%
Eastern     Kentuckiana        8/15/2020         85.96%              81.65%    76.82%
Eastern     Kentuckiana        8/22/2020         90.15%              92.52%    78.39%
Eastern     Northern Ohio       1/4/2020         93.18%              95.79%    93.99%
Eastern     Northern Ohio      1/11/2020         93.53%              94.99%    91.16%
Eastern     Northern Ohio      1/18/2020         94.49%              93.81%    93.10%
Eastern     Northern Ohio      1/25/2020         92.83%              95.39%    90.46%
Eastern     Northern Ohio       2/1/2020         93.02%              95.18%    95.22%
Eastern     Northern Ohio       2/8/2020         94.00%              95.74%    93.11%
Eastern     Northern Ohio      2/15/2020         94.94%              94.81%    91.66%
Eastern     Northern Ohio      2/22/2020         93.64%              95.44%    91.66%
Eastern     Northern Ohio      2/29/2020         93.99%              95.17%    91.81%
Eastern     Northern Ohio       3/7/2020         93.94%              96.16%    92.30%
Eastern     Northern Ohio      3/14/2020         94.00%              96.43%    89.03%
Eastern     Northern Ohio      3/21/2020         94.42%              95.07%    91.24%
Eastern     Northern Ohio      3/28/2020         93.09%              94.55%    89.02%
Eastern     Northern Ohio       4/1/2020         91.85%              91.11%    90.54%
Eastern     Northern Ohio       4/4/2020         90.65%              89.05%    86.37%
Eastern     Northern Ohio      4/11/2020         87.36%              87.68%    83.77%
Eastern     Northern Ohio      4/18/2020         89.41%              89.36%    76.24%
Eastern     Northern Ohio      4/25/2020         87.34%              88.12%    78.89%
Eastern     Northern Ohio       5/2/2020         89.54%              87.65%    84.22%
Eastern     Northern Ohio       5/9/2020         89.91%              87.72%    73.74%
Eastern     Northern Ohio      5/16/2020         92.11%              92.34%    82.36%
Eastern     Northern Ohio      5/23/2020         94.20%              90.86%    81.76%
Eastern     Northern Ohio      5/30/2020         92.75%              94.06%    86.49%
Eastern     Northern Ohio       6/6/2020         92.65%              94.61%    83.77%
Eastern     Northern Ohio      6/13/2020         93.41%              93.58%    86.30%
Eastern     Northern Ohio      6/20/2020         91.46%              91.91%    78.76%


                                      27 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB     ECF No. 80-1     filed 09/16/20   PageID.2574 Page 28 of 74


Eastern     Northern Ohio          6/27/2020         91.54%              93.20%    80.81%
Eastern     Northern Ohio           7/1/2020         92.66%              89.42%    74.07%
Eastern     Northern Ohio           7/4/2020         91.44%              90.12%    74.18%
Eastern     Northern Ohio          7/11/2020         82.86%              72.29%    77.11%
Eastern     Northern Ohio          7/18/2020         75.74%              58.74%    76.11%
Eastern     Northern Ohio          7/25/2020         66.92%              66.28%    69.18%
Eastern     Northern Ohio           8/1/2020         64.69%              72.86%    78.83%
Eastern     Northern Ohio           8/8/2020         63.60%              63.10%    75.70%
Eastern     Northern Ohio          8/15/2020         72.28%              76.85%    79.06%
Eastern     Northern Ohio          8/22/2020         85.29%              90.99%    79.65%
Eastern     Ohio Valley             1/4/2020         91.27%              91.61%    86.04%
Eastern     Ohio Valley            1/11/2020         91.76%              90.02%    86.16%
Eastern     Ohio Valley            1/18/2020         93.90%              91.27%    90.55%
Eastern     Ohio Valley            1/25/2020         91.57%              92.55%    83.11%
Eastern     Ohio Valley             2/1/2020         90.55%              91.25%    87.40%
Eastern     Ohio Valley             2/8/2020         92.06%              89.87%    88.72%
Eastern     Ohio Valley            2/15/2020         93.44%              91.70%    89.86%
Eastern     Ohio Valley            2/22/2020         91.21%              92.96%    88.16%
Eastern     Ohio Valley            2/29/2020         91.82%              93.19%    82.35%
Eastern     Ohio Valley             3/7/2020         91.49%              92.80%    86.32%
Eastern     Ohio Valley            3/14/2020         91.82%              92.80%    87.21%
Eastern     Ohio Valley            3/21/2020         92.79%              92.67%    88.74%
Eastern     Ohio Valley            3/28/2020         91.36%              94.78%    86.81%
Eastern     Ohio Valley             4/1/2020         93.78%              92.36%    86.86%
Eastern     Ohio Valley             4/4/2020         92.48%              94.23%    88.10%
Eastern     Ohio Valley            4/11/2020         90.37%              95.14%    87.88%
Eastern     Ohio Valley            4/18/2020         91.77%              94.88%    86.97%
Eastern     Ohio Valley            4/25/2020         90.78%              94.27%    81.99%
Eastern     Ohio Valley             5/2/2020         91.58%              93.12%    80.78%
Eastern     Ohio Valley             5/9/2020         91.93%              92.82%    80.20%
Eastern     Ohio Valley            5/16/2020         92.01%              94.15%    77.91%
Eastern     Ohio Valley            5/23/2020         92.88%              90.09%    83.54%
Eastern     Ohio Valley            5/30/2020         90.20%              88.75%    79.36%
Eastern     Ohio Valley             6/6/2020         90.59%              91.34%    83.44%
Eastern     Ohio Valley            6/13/2020         91.44%              91.49%    84.21%
Eastern     Ohio Valley            6/20/2020         92.06%              89.51%    79.64%
Eastern     Ohio Valley            6/27/2020         91.77%              93.03%    81.89%
Eastern     Ohio Valley             7/1/2020         93.31%              90.31%    87.56%
Eastern     Ohio Valley             7/4/2020         89.88%              83.39%    65.16%
Eastern     Ohio Valley            7/11/2020         81.55%              76.38%    80.62%
Eastern     Ohio Valley            7/18/2020         75.38%              69.50%    80.51%
Eastern     Ohio Valley            7/25/2020         69.71%              70.10%    73.02%
Eastern     Ohio Valley             8/1/2020         75.76%              75.55%    77.58%
Eastern     Ohio Valley             8/8/2020         80.64%              82.44%    76.33%
Eastern     Ohio Valley            8/15/2020         83.26%              87.70%    87.02%
Eastern     Ohio Valley            8/22/2020         87.92%              90.68%    76.26%
Eastern     Philadelphia Metropo    1/4/2020         87.22%              87.17%    80.73%


                                          28 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB     ECF No. 80-1     filed 09/16/20   PageID.2575 Page 29 of 74


Eastern     Philadelphia Metropo   1/11/2020         92.29%              81.51%    86.47%
Eastern     Philadelphia Metropo   1/18/2020         93.23%              92.18%    91.57%
Eastern     Philadelphia Metropo   1/25/2020         90.54%              93.84%    88.24%
Eastern     Philadelphia Metropo    2/1/2020         92.32%              94.48%    88.08%
Eastern     Philadelphia Metropo    2/8/2020         93.65%              95.31%    88.77%
Eastern     Philadelphia Metropo   2/15/2020         95.40%              95.51%    91.20%
Eastern     Philadelphia Metropo   2/22/2020         94.36%              96.28%    90.11%
Eastern     Philadelphia Metropo   2/29/2020         94.52%              95.16%    91.09%
Eastern     Philadelphia Metropo    3/7/2020         93.17%              94.74%    89.85%
Eastern     Philadelphia Metropo   3/14/2020         93.44%              93.80%    81.98%
Eastern     Philadelphia Metropo   3/21/2020         93.79%              94.66%    87.46%
Eastern     Philadelphia Metropo   3/28/2020         93.46%              90.56%    91.58%
Eastern     Philadelphia Metropo    4/1/2020         94.26%              94.64%    90.47%
Eastern     Philadelphia Metropo    4/4/2020         92.71%              92.47%    81.46%
Eastern     Philadelphia Metropo   4/11/2020         92.35%              88.18%    66.86%
Eastern     Philadelphia Metropo   4/18/2020         92.38%              87.10%    71.69%
Eastern     Philadelphia Metropo   4/25/2020         91.54%              81.81%    74.81%
Eastern     Philadelphia Metropo    5/2/2020         91.30%              89.32%    79.34%
Eastern     Philadelphia Metropo    5/9/2020         92.01%              92.25%    68.98%
Eastern     Philadelphia Metropo   5/16/2020         90.11%              91.89%    75.65%
Eastern     Philadelphia Metropo   5/23/2020         92.07%              87.60%    78.97%
Eastern     Philadelphia Metropo   5/30/2020         90.29%              89.52%    76.47%
Eastern     Philadelphia Metropo    6/6/2020         91.12%              87.09%    76.55%
Eastern     Philadelphia Metropo   6/13/2020         92.54%              88.93%    81.85%
Eastern     Philadelphia Metropo   6/20/2020         92.28%              90.39%    80.52%
Eastern     Philadelphia Metropo   6/27/2020         91.56%              85.49%    83.58%
Eastern     Philadelphia Metropo    7/1/2020         91.69%              93.36%    81.86%
Eastern     Philadelphia Metropo    7/4/2020         87.05%              89.25%    78.64%
Eastern     Philadelphia Metropo   7/11/2020         87.91%              76.13%    60.15%
Eastern     Philadelphia Metropo   7/18/2020         83.30%              78.19%    68.90%
Eastern     Philadelphia Metropo   7/25/2020         84.55%              84.38%    69.56%
Eastern     Philadelphia Metropo    8/1/2020         83.69%              78.84%    62.23%
Eastern     Philadelphia Metropo    8/8/2020         79.10%              78.50%    69.52%
Eastern     Philadelphia Metropo   8/15/2020         85.86%              82.83%    72.37%
Eastern     Philadelphia Metropo   8/22/2020         88.71%              90.08%    73.74%
Eastern     South Jersey            1/4/2020         91.57%              91.69%    91.43%
Eastern     South Jersey           1/11/2020         92.42%              91.24%    90.54%
Eastern     South Jersey           1/18/2020         93.60%              93.65%    90.51%
Eastern     South Jersey           1/25/2020         91.86%              94.54%    92.65%
Eastern     South Jersey            2/1/2020         92.29%              94.27%    91.64%
Eastern     South Jersey            2/8/2020         93.17%              95.63%    93.66%
Eastern     South Jersey           2/15/2020         94.25%              95.87%    92.93%
Eastern     South Jersey           2/22/2020         93.27%              96.15%    92.23%
Eastern     South Jersey           2/29/2020         93.89%              95.78%    91.65%
Eastern     South Jersey            3/7/2020         92.34%              95.74%    87.52%
Eastern     South Jersey           3/14/2020         92.62%              94.09%    90.01%
Eastern     South Jersey           3/21/2020         93.66%              92.47%    85.58%


                                          29 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2576 Page 30 of 74


Eastern     South Jersey       3/28/2020         92.01%              89.19%    85.66%
Eastern     South Jersey        4/1/2020         94.40%              92.15%    73.88%
Eastern     South Jersey        4/4/2020         92.96%              94.15%    90.39%
Eastern     South Jersey       4/11/2020         91.23%              92.32%    86.34%
Eastern     South Jersey       4/18/2020         92.29%              87.61%    89.21%
Eastern     South Jersey       4/25/2020         91.27%              85.78%    86.80%
Eastern     South Jersey        5/2/2020         89.35%              80.26%    80.76%
Eastern     South Jersey        5/9/2020         89.80%              85.90%    72.08%
Eastern     South Jersey       5/16/2020         90.86%              92.11%    79.03%
Eastern     South Jersey       5/23/2020         92.97%              90.72%    86.88%
Eastern     South Jersey       5/30/2020         90.14%              92.84%    78.19%
Eastern     South Jersey        6/6/2020         91.99%              91.11%    81.20%
Eastern     South Jersey       6/13/2020         91.94%              91.54%    80.11%
Eastern     South Jersey       6/20/2020         91.81%              92.74%    84.50%
Eastern     South Jersey       6/27/2020         92.61%              89.68%    89.19%
Eastern     South Jersey        7/1/2020         93.10%              93.57%    74.95%
Eastern     South Jersey        7/4/2020         91.67%              92.63%    86.74%
Eastern     South Jersey       7/11/2020         87.08%              89.80%    75.99%
Eastern     South Jersey       7/18/2020         83.25%              86.25%    68.92%
Eastern     South Jersey       7/25/2020         85.45%              87.03%    75.63%
Eastern     South Jersey        8/1/2020         77.54%              77.12%    71.80%
Eastern     South Jersey        8/8/2020         81.18%              83.11%    73.77%
Eastern     South Jersey       8/15/2020         84.56%              88.50%    77.54%
Eastern     South Jersey       8/22/2020         88.65%              90.64%    84.98%
Eastern     Tennessee           1/4/2020         91.55%              90.33%    85.26%
Eastern     Tennessee          1/11/2020         90.94%              89.55%    85.66%
Eastern     Tennessee          1/18/2020         93.67%              90.52%    91.89%
Eastern     Tennessee          1/25/2020         92.26%              92.03%    85.26%
Eastern     Tennessee           2/1/2020         91.73%              91.39%    81.45%
Eastern     Tennessee           2/8/2020         92.46%              92.89%    87.56%
Eastern     Tennessee          2/15/2020         94.67%              92.64%    85.22%
Eastern     Tennessee          2/22/2020         93.22%              94.72%    92.25%
Eastern     Tennessee          2/29/2020         92.79%              93.34%    90.14%
Eastern     Tennessee           3/7/2020         92.19%              92.15%    91.73%
Eastern     Tennessee          3/14/2020         91.84%              92.51%    90.48%
Eastern     Tennessee          3/21/2020         92.61%              92.74%    87.85%
Eastern     Tennessee          3/28/2020         94.54%              95.32%    87.56%
Eastern     Tennessee           4/1/2020         94.11%              90.96%    83.07%
Eastern     Tennessee           4/4/2020         93.79%              92.08%    83.95%
Eastern     Tennessee          4/11/2020         91.00%              92.52%    76.83%
Eastern     Tennessee          4/18/2020         92.63%              93.17%    78.33%
Eastern     Tennessee          4/25/2020         91.19%              92.12%    75.71%
Eastern     Tennessee           5/2/2020         89.13%              90.83%    73.39%
Eastern     Tennessee           5/9/2020         90.85%              88.39%    58.63%
Eastern     Tennessee          5/16/2020         92.00%              87.74%    63.07%
Eastern     Tennessee          5/23/2020         92.92%              83.75%    65.98%
Eastern     Tennessee          5/30/2020         91.61%              87.01%    74.38%


                                      30 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB      ECF No. 80-1   filed 09/16/20   PageID.2577 Page 31 of 74


Eastern     Tennessee              6/6/2020         92.08%              87.51%    70.52%
Eastern     Tennessee             6/13/2020         92.10%              90.71%    72.66%
Eastern     Tennessee             6/20/2020         91.82%              89.49%    77.30%
Eastern     Tennessee             6/27/2020         92.75%              92.28%    74.48%
Eastern     Tennessee              7/1/2020         92.85%              87.07%    72.46%
Eastern     Tennessee              7/4/2020         91.17%              84.32%    70.51%
Eastern     Tennessee             7/11/2020         85.25%              82.98%    75.01%
Eastern     Tennessee             7/18/2020         80.29%              74.93%    66.23%
Eastern     Tennessee             7/25/2020         81.21%              79.85%    76.85%
Eastern     Tennessee              8/1/2020         86.02%              84.62%    49.79%
Eastern     Tennessee              8/8/2020         86.31%              86.80%    73.94%
Eastern     Tennessee             8/15/2020         88.70%              85.62%    68.94%
Eastern     Tennessee             8/22/2020         88.93%              86.45%    76.18%
Eastern     Western New York       1/4/2020         92.45%              94.53%    89.38%
Eastern     Western New York      1/11/2020         94.03%              94.42%    87.80%
Eastern     Western New York      1/18/2020         94.89%              94.53%    90.58%
Eastern     Western New York      1/25/2020         93.29%              94.64%    83.68%
Eastern     Western New York       2/1/2020         92.99%              94.87%    92.80%
Eastern     Western New York       2/8/2020         93.70%              94.21%    87.02%
Eastern     Western New York      2/15/2020         94.67%              94.93%    87.53%
Eastern     Western New York      2/22/2020         93.69%              94.09%    90.25%
Eastern     Western New York      2/29/2020         93.53%              95.65%    87.42%
Eastern     Western New York       3/7/2020         94.39%              94.14%    86.69%
Eastern     Western New York      3/14/2020         94.24%              94.65%    87.09%
Eastern     Western New York      3/21/2020         94.77%              93.26%    77.15%
Eastern     Western New York      3/28/2020         94.57%              95.57%    90.47%
Eastern     Western New York       4/1/2020         94.68%              93.10%    91.83%
Eastern     Western New York       4/4/2020         93.62%              94.50%    86.75%
Eastern     Western New York      4/11/2020         91.35%              93.56%    76.00%
Eastern     Western New York      4/18/2020         93.99%              93.76%    66.34%
Eastern     Western New York      4/25/2020         92.43%              88.97%    68.52%
Eastern     Western New York       5/2/2020         92.44%              90.42%    55.55%
Eastern     Western New York       5/9/2020         92.21%              92.91%    57.43%
Eastern     Western New York      5/16/2020         92.63%              94.94%    71.71%
Eastern     Western New York      5/23/2020         94.17%              94.15%    83.15%
Eastern     Western New York      5/30/2020         92.67%              94.15%    64.90%
Eastern     Western New York       6/6/2020         92.58%              94.50%    71.29%
Eastern     Western New York      6/13/2020         94.46%              95.99%    78.64%
Eastern     Western New York      6/20/2020         94.04%              94.69%    82.44%
Eastern     Western New York      6/27/2020         94.13%              96.13%    74.19%
Eastern     Western New York       7/1/2020         94.91%              95.00%    90.61%
Eastern     Western New York       7/4/2020         93.73%              89.90%    74.01%
Eastern     Western New York      7/11/2020         86.55%              75.84%    55.92%
Eastern     Western New York      7/18/2020         84.85%              58.06%    49.20%
Eastern     Western New York      7/25/2020         85.45%              81.78%    40.55%
Eastern     Western New York       8/1/2020         86.95%              86.36%    44.43%
Eastern     Western New York       8/8/2020         86.35%              80.33%    50.43%


                                         31 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB       ECF No. 80-1     filed 09/16/20   PageID.2578 Page 32 of 74


Eastern       Western New York       8/15/2020         88.77%              85.45%    49.71%
Eastern       Western New York       8/22/2020         91.81%              91.38%    68.78%
Eastern       Western Pennsylvania    1/4/2020         95.09%              96.45%    91.81%
Eastern       Western Pennsylvania   1/11/2020         94.00%              95.62%    95.19%
Eastern       Western Pennsylvania   1/18/2020         95.00%              95.81%    96.60%
Eastern       Western Pennsylvania   1/25/2020         93.80%              97.40%    93.79%
Eastern       Western Pennsylvania    2/1/2020         93.84%              96.97%    95.23%
Eastern       Western Pennsylvania    2/8/2020         93.46%              97.21%    93.89%
Eastern       Western Pennsylvania   2/15/2020         95.29%              96.58%    96.35%
Eastern       Western Pennsylvania   2/22/2020         94.69%              97.67%    94.58%
Eastern       Western Pennsylvania   2/29/2020         95.23%              97.71%    94.79%
Eastern       Western Pennsylvania    3/7/2020         94.39%              97.51%    95.11%
Eastern       Western Pennsylvania   3/14/2020         94.13%              97.33%    93.33%
Eastern       Western Pennsylvania   3/21/2020         94.21%              97.20%    89.69%
Eastern       Western Pennsylvania   3/28/2020         94.53%              97.54%    94.05%
Eastern       Western Pennsylvania    4/1/2020         95.51%              95.35%    96.17%
Eastern       Western Pennsylvania    4/4/2020         94.59%              97.51%    93.40%
Eastern       Western Pennsylvania   4/11/2020         94.07%              91.78%    92.33%
Eastern       Western Pennsylvania   4/18/2020         93.70%              96.55%    94.80%
Eastern       Western Pennsylvania   4/25/2020         94.26%              96.43%    92.19%
Eastern       Western Pennsylvania    5/2/2020         94.51%              96.68%    94.44%
Eastern       Western Pennsylvania    5/9/2020         92.75%              96.65%    88.97%
Eastern       Western Pennsylvania   5/16/2020         94.59%              96.62%    91.31%
Eastern       Western Pennsylvania   5/23/2020         94.80%              95.13%    89.97%
Eastern       Western Pennsylvania   5/30/2020         93.63%              97.03%    95.06%
Eastern       Western Pennsylvania    6/6/2020         93.97%              96.47%    93.45%
Eastern       Western Pennsylvania   6/13/2020         93.95%              96.28%    93.90%
Eastern       Western Pennsylvania   6/20/2020         93.66%              96.33%    91.69%
Eastern       Western Pennsylvania   6/27/2020         93.59%              97.24%    93.22%
Eastern       Western Pennsylvania    7/1/2020         94.86%              94.56%    86.84%
Eastern       Western Pennsylvania    7/4/2020         93.11%              95.01%    92.38%
Eastern       Western Pennsylvania   7/11/2020         88.87%              94.49%    89.60%
Eastern       Western Pennsylvania   7/18/2020         88.40%              92.90%    90.96%
Eastern       Western Pennsylvania   7/25/2020         89.91%              93.37%    86.99%
Eastern       Western Pennsylvania    8/1/2020         88.71%              93.26%    92.53%
Eastern       Western Pennsylvania    8/8/2020         88.82%              89.76%    88.95%
Eastern       Western Pennsylvania   8/15/2020         90.42%              93.92%    90.35%
Eastern       Western Pennsylvania   8/22/2020         91.85%              94.85%    91.23%
Great Lakes   Central Illinois        1/4/2020         90.16%              90.17%    81.02%
Great Lakes   Central Illinois       1/11/2020         89.13%              85.49%    82.41%
Great Lakes   Central Illinois       1/18/2020         90.85%              87.28%    82.39%
Great Lakes   Central Illinois       1/25/2020         86.75%              89.07%    79.08%
Great Lakes   Central Illinois        2/1/2020         80.22%              83.70%    80.93%
Great Lakes   Central Illinois        2/8/2020         88.80%              86.05%    80.43%
Great Lakes   Central Illinois       2/15/2020         89.71%              89.08%    75.61%
Great Lakes   Central Illinois       2/22/2020         90.12%              89.75%    72.73%
Great Lakes   Central Illinois       2/29/2020         90.31%              88.06%    76.95%


                                            32 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB        ECF No. 80-1   filed 09/16/20   PageID.2579 Page 33 of 74


Great Lakes   Central Illinois       3/7/2020         89.83%              87.83%    80.39%
Great Lakes   Central Illinois      3/14/2020         88.86%              86.50%    81.73%
Great Lakes   Central Illinois      3/21/2020         90.34%              85.98%    73.67%
Great Lakes   Central Illinois      3/28/2020         88.87%              84.49%    78.53%
Great Lakes   Central Illinois       4/1/2020         90.38%              76.56%    64.64%
Great Lakes   Central Illinois       4/4/2020         89.01%              85.69%    66.84%
Great Lakes   Central Illinois      4/11/2020         88.59%              86.11%    73.29%
Great Lakes   Central Illinois      4/18/2020         90.10%              87.74%    67.76%
Great Lakes   Central Illinois      4/25/2020         88.06%              88.01%    70.61%
Great Lakes   Central Illinois       5/2/2020         86.86%              83.74%    70.09%
Great Lakes   Central Illinois       5/9/2020         88.00%              83.73%    61.47%
Great Lakes   Central Illinois      5/16/2020         88.56%              88.21%    55.02%
Great Lakes   Central Illinois      5/23/2020         88.39%              86.93%    70.04%
Great Lakes   Central Illinois      5/30/2020         87.33%              87.88%    74.49%
Great Lakes   Central Illinois       6/6/2020         89.10%              85.30%    69.65%
Great Lakes   Central Illinois      6/13/2020         89.39%              90.09%    79.51%
Great Lakes   Central Illinois      6/20/2020         88.86%              91.44%    69.56%
Great Lakes   Central Illinois      6/27/2020         87.63%              90.95%    77.12%
Great Lakes   Central Illinois       7/1/2020         86.92%              87.85%    77.02%
Great Lakes   Central Illinois       7/4/2020         89.13%              87.70%    75.01%
Great Lakes   Central Illinois      7/11/2020         82.95%              86.57%    65.36%
Great Lakes   Central Illinois      7/18/2020         80.53%              86.63%    65.82%
Great Lakes   Central Illinois      7/25/2020         81.49%              82.14%    60.13%
Great Lakes   Central Illinois       8/1/2020         80.83%              79.78%    46.82%
Great Lakes   Central Illinois       8/8/2020         79.56%              80.97%    58.16%
Great Lakes   Central Illinois      8/15/2020         81.77%              80.78%    55.24%
Great Lakes   Central Illinois      8/22/2020         84.18%              78.87%    49.98%
Great Lakes   Chicago                1/4/2020         90.45%              90.64%    71.34%
Great Lakes   Chicago               1/11/2020         89.04%              87.80%    80.99%
Great Lakes   Chicago               1/18/2020         90.13%              85.46%    77.53%
Great Lakes   Chicago               1/25/2020         88.18%              89.59%    73.44%
Great Lakes   Chicago                2/1/2020         86.86%              88.35%    78.07%
Great Lakes   Chicago                2/8/2020         89.48%              89.53%    79.20%
Great Lakes   Chicago               2/15/2020         89.68%              89.40%    78.34%
Great Lakes   Chicago               2/22/2020         88.14%              93.72%    76.08%
Great Lakes   Chicago               2/29/2020         90.17%              90.98%    75.29%
Great Lakes   Chicago                3/7/2020         89.14%              89.90%    76.80%
Great Lakes   Chicago               3/14/2020         88.07%              85.16%    77.56%
Great Lakes   Chicago               3/21/2020         89.55%              84.63%    70.21%
Great Lakes   Chicago               3/28/2020         89.71%              83.12%    72.80%
Great Lakes   Chicago                4/1/2020         90.60%              84.03%    73.24%
Great Lakes   Chicago                4/4/2020         89.19%              83.66%    64.04%
Great Lakes   Chicago               4/11/2020         84.75%              79.72%    67.58%
Great Lakes   Chicago               4/18/2020         89.36%              81.37%    40.14%
Great Lakes   Chicago               4/25/2020         92.37%              79.40%    42.65%
Great Lakes   Chicago                5/2/2020         86.07%              83.20%    60.77%
Great Lakes   Chicago                5/9/2020         86.83%              82.93%    72.61%


                                           33 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2580 Page 34 of 74


Great Lakes   Chicago          5/16/2020          87.20%             80.22%    56.72%
Great Lakes   Chicago          5/23/2020          84.29%             83.40%    64.85%
Great Lakes   Chicago          5/30/2020          71.25%             73.40%    47.63%
Great Lakes   Chicago           6/6/2020          85.85%             83.43%    59.40%
Great Lakes   Chicago          6/13/2020          88.85%             86.46%    66.77%
Great Lakes   Chicago          6/20/2020          85.94%             83.08%    67.32%
Great Lakes   Chicago          6/27/2020          87.19%             86.33%    71.80%
Great Lakes   Chicago           7/1/2020          87.13%             84.26%    63.37%
Great Lakes   Chicago           7/4/2020          84.73%             81.39%    71.36%
Great Lakes   Chicago          7/11/2020          79.26%             79.11%    61.34%
Great Lakes   Chicago          7/18/2020          79.42%             77.63%    49.82%
Great Lakes   Chicago          7/25/2020          71.19%             58.38%    42.95%
Great Lakes   Chicago           8/1/2020          74.60%             73.63%    47.04%
Great Lakes   Chicago           8/8/2020          75.38%             77.78%    50.42%
Great Lakes   Chicago          8/15/2020          78.39%             73.02%    53.71%
Great Lakes   Chicago          8/22/2020          81.78%             83.33%    61.35%
Great Lakes   Detroit           1/4/2020          92.22%             93.64%    88.38%
Great Lakes   Detroit          1/11/2020          91.63%             90.66%    85.10%
Great Lakes   Detroit          1/18/2020          92.97%             90.04%    88.06%
Great Lakes   Detroit          1/25/2020          91.28%             90.63%    91.26%
Great Lakes   Detroit           2/1/2020          91.43%             91.20%    89.96%
Great Lakes   Detroit           2/8/2020          91.68%             92.12%    91.34%
Great Lakes   Detroit          2/15/2020          93.73%             92.28%    91.97%
Great Lakes   Detroit          2/22/2020          92.33%             92.98%    91.12%
Great Lakes   Detroit          2/29/2020          91.71%             83.99%    87.72%
Great Lakes   Detroit           3/7/2020          92.05%             90.75%    91.02%
Great Lakes   Detroit          3/14/2020          91.65%             89.92%    88.83%
Great Lakes   Detroit          3/21/2020          91.17%             86.86%    89.44%
Great Lakes   Detroit          3/28/2020          83.07%             77.57%    77.39%
Great Lakes   Detroit           4/1/2020          73.04%             37.14%    45.35%
Great Lakes   Detroit           4/4/2020          67.94%             26.09%    38.38%
Great Lakes   Detroit          4/11/2020          58.80%             27.00%    38.36%
Great Lakes   Detroit          4/18/2020          70.98%             23.65%    29.72%
Great Lakes   Detroit          4/25/2020          67.70%             38.99%    24.99%
Great Lakes   Detroit           5/2/2020          69.79%             44.16%    18.56%
Great Lakes   Detroit           5/9/2020          69.61%             49.14%    45.26%
Great Lakes   Detroit          5/16/2020          77.64%             77.32%    28.62%
Great Lakes   Detroit          5/23/2020          87.33%             80.48%    53.20%
Great Lakes   Detroit          5/30/2020          88.20%             88.55%    61.03%
Great Lakes   Detroit           6/6/2020          86.12%             88.19%    73.45%
Great Lakes   Detroit          6/13/2020          86.00%             85.23%    63.60%
Great Lakes   Detroit          6/20/2020          85.49%             85.76%    64.03%
Great Lakes   Detroit          6/27/2020          84.11%             85.98%    66.96%
Great Lakes   Detroit           7/1/2020          86.81%             76.33%    36.04%
Great Lakes   Detroit           7/4/2020          81.17%             75.79%    51.19%
Great Lakes   Detroit          7/11/2020          70.87%             70.80%    55.22%
Great Lakes   Detroit          7/18/2020          67.97%             65.41%    41.09%


                                       34 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB       ECF No. 80-1   filed 09/16/20   PageID.2581 Page 35 of 74


Great Lakes   Detroit              7/25/2020         63.14%              56.96%    33.38%
Great Lakes   Detroit               8/1/2020         61.01%              50.85%    47.43%
Great Lakes   Detroit               8/8/2020         63.16%              52.44%    55.72%
Great Lakes   Detroit              8/15/2020         72.31%              62.94%    65.56%
Great Lakes   Detroit              8/22/2020         76.51%              72.90%    69.58%
Great Lakes   Gateway               1/4/2020         91.97%              82.01%    81.16%
Great Lakes   Gateway              1/11/2020         91.12%              88.55%    85.85%
Great Lakes   Gateway              1/18/2020         92.37%              91.27%    85.33%
Great Lakes   Gateway              1/25/2020         90.78%              90.81%    84.72%
Great Lakes   Gateway               2/1/2020         91.04%              84.02%    80.12%
Great Lakes   Gateway               2/8/2020         92.36%              92.22%    85.16%
Great Lakes   Gateway              2/15/2020         94.15%              93.69%    89.84%
Great Lakes   Gateway              2/22/2020         92.43%              92.78%    81.77%
Great Lakes   Gateway              2/29/2020         93.32%              92.72%    79.17%
Great Lakes   Gateway               3/7/2020         92.03%              90.79%    86.71%
Great Lakes   Gateway              3/14/2020         92.61%              91.88%    84.68%
Great Lakes   Gateway              3/21/2020         91.55%              92.93%    84.33%
Great Lakes   Gateway              3/28/2020         92.53%              86.27%    84.33%
Great Lakes   Gateway               4/1/2020         93.77%              90.85%    74.84%
Great Lakes   Gateway               4/4/2020         92.85%              93.91%    83.34%
Great Lakes   Gateway              4/11/2020         92.65%              94.47%    82.11%
Great Lakes   Gateway              4/18/2020         92.87%              90.44%    81.81%
Great Lakes   Gateway              4/25/2020         92.14%              89.18%    80.23%
Great Lakes   Gateway               5/2/2020         92.45%              90.17%    76.24%
Great Lakes   Gateway               5/9/2020         92.49%              91.72%    83.46%
Great Lakes   Gateway              5/16/2020         93.54%              93.26%    79.99%
Great Lakes   Gateway              5/23/2020         93.25%              90.44%    80.23%
Great Lakes   Gateway              5/30/2020         91.75%              85.16%    77.33%
Great Lakes   Gateway               6/6/2020         92.26%              91.75%    78.93%
Great Lakes   Gateway              6/13/2020         92.99%              91.59%    77.79%
Great Lakes   Gateway              6/20/2020         92.13%              93.44%    81.52%
Great Lakes   Gateway              6/27/2020         92.03%              94.53%    80.75%
Great Lakes   Gateway               7/1/2020         93.03%              85.32%    60.79%
Great Lakes   Gateway               7/4/2020         90.01%              86.45%    78.07%
Great Lakes   Gateway              7/11/2020         83.75%              74.66%    80.78%
Great Lakes   Gateway              7/18/2020         83.30%              65.85%    79.14%
Great Lakes   Gateway              7/25/2020         84.03%              63.90%    64.49%
Great Lakes   Gateway               8/1/2020         84.89%              65.85%    62.47%
Great Lakes   Gateway               8/8/2020         85.83%              80.95%    70.95%
Great Lakes   Gateway              8/15/2020         88.35%              87.20%    71.82%
Great Lakes   Gateway              8/22/2020         91.09%              90.00%    74.25%
Great Lakes   Greater Indiana       1/4/2020         89.78%              91.85%    83.74%
Great Lakes   Greater Indiana      1/11/2020         91.39%              88.85%    82.66%
Great Lakes   Greater Indiana      1/18/2020         93.26%              89.06%    84.02%
Great Lakes   Greater Indiana      1/25/2020         91.35%              89.91%    83.23%
Great Lakes   Greater Indiana       2/1/2020         91.91%              90.16%    86.42%
Great Lakes   Greater Indiana       2/8/2020         93.41%              88.63%    85.20%


                                          35 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB        ECF No. 80-1   filed 09/16/20   PageID.2582 Page 36 of 74


Great Lakes   Greater Indiana       2/15/2020          94.74%             89.06%    87.86%
Great Lakes   Greater Indiana       2/22/2020          92.95%             89.89%    87.44%
Great Lakes   Greater Indiana       2/29/2020          93.29%             87.27%    75.82%
Great Lakes   Greater Indiana        3/7/2020          93.53%             88.65%    81.29%
Great Lakes   Greater Indiana       3/14/2020          93.34%             88.80%    73.04%
Great Lakes   Greater Indiana       3/21/2020          93.86%             88.92%    72.94%
Great Lakes   Greater Indiana       3/28/2020          93.78%             93.16%    80.75%
Great Lakes   Greater Indiana        4/1/2020          94.11%             88.90%    83.33%
Great Lakes   Greater Indiana        4/4/2020          94.03%             88.57%    85.24%
Great Lakes   Greater Indiana       4/11/2020          92.03%             90.00%    80.27%
Great Lakes   Greater Indiana       4/18/2020          93.57%             90.38%    80.08%
Great Lakes   Greater Indiana       4/25/2020          93.64%             90.33%    73.06%
Great Lakes   Greater Indiana        5/2/2020          93.53%             86.15%    73.87%
Great Lakes   Greater Indiana        5/9/2020          92.74%             88.16%    77.32%
Great Lakes   Greater Indiana       5/16/2020          93.02%             89.90%    78.44%
Great Lakes   Greater Indiana       5/23/2020          93.05%             87.94%    73.36%
Great Lakes   Greater Indiana       5/30/2020          93.01%             89.90%    76.26%
Great Lakes   Greater Indiana        6/6/2020          93.03%             84.24%    70.10%
Great Lakes   Greater Indiana       6/13/2020          93.73%             86.36%    43.90%
Great Lakes   Greater Indiana       6/20/2020          92.94%             86.70%    68.64%
Great Lakes   Greater Indiana       6/27/2020          92.64%             91.82%    78.97%
Great Lakes   Greater Indiana        7/1/2020          91.45%             87.97%    79.56%
Great Lakes   Greater Indiana        7/4/2020          90.32%             87.85%    53.63%
Great Lakes   Greater Indiana       7/11/2020          88.04%             83.13%    66.64%
Great Lakes   Greater Indiana       7/18/2020          86.41%             81.00%    51.21%
Great Lakes   Greater Indiana       7/25/2020          86.59%             83.19%    57.47%
Great Lakes   Greater Indiana        8/1/2020          86.31%             81.34%    58.62%
Great Lakes   Greater Indiana        8/8/2020          87.23%             79.09%    63.12%
Great Lakes   Greater Indiana       8/15/2020          88.85%             85.46%    68.77%
Great Lakes   Greater Indiana       8/22/2020          91.41%             88.92%    76.46%
Great Lakes   Greater Michigan       1/4/2020          93.11%             94.88%    90.63%
Great Lakes   Greater Michigan      1/11/2020          93.09%             93.65%    92.67%
Great Lakes   Greater Michigan      1/18/2020          93.19%             92.50%    89.59%
Great Lakes   Greater Michigan      1/25/2020          93.34%             93.34%    89.56%
Great Lakes   Greater Michigan       2/1/2020          93.24%             93.86%    90.01%
Great Lakes   Greater Michigan       2/8/2020          93.18%             94.67%    91.88%
Great Lakes   Greater Michigan      2/15/2020          94.40%             94.85%    92.51%
Great Lakes   Greater Michigan      2/22/2020          93.85%             94.55%    91.91%
Great Lakes   Greater Michigan      2/29/2020          93.65%             93.30%    92.66%
Great Lakes   Greater Michigan       3/7/2020          93.99%             94.42%    90.25%
Great Lakes   Greater Michigan      3/14/2020          93.34%             94.46%    90.65%
Great Lakes   Greater Michigan      3/21/2020          93.74%             94.09%    91.79%
Great Lakes   Greater Michigan      3/28/2020          93.38%             95.77%    91.08%
Great Lakes   Greater Michigan       4/1/2020          92.79%             87.65%    86.55%
Great Lakes   Greater Michigan       4/4/2020          88.95%             86.36%    87.99%
Great Lakes   Greater Michigan      4/11/2020          85.04%             85.89%    87.43%
Great Lakes   Greater Michigan      4/18/2020          90.59%             79.65%    80.95%


                                            36 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB        ECF No. 80-1   filed 09/16/20   PageID.2583 Page 37 of 74


Great Lakes   Greater Michigan      4/25/2020         90.49%              82.09%    74.62%
Great Lakes   Greater Michigan       5/2/2020         89.04%              82.73%    62.29%
Great Lakes   Greater Michigan       5/9/2020         88.89%              84.39%    73.13%
Great Lakes   Greater Michigan      5/16/2020         90.69%              91.35%    71.29%
Great Lakes   Greater Michigan      5/23/2020         92.60%              91.45%    75.56%
Great Lakes   Greater Michigan      5/30/2020         91.77%              95.30%    86.57%
Great Lakes   Greater Michigan       6/6/2020         91.62%              90.20%    84.27%
Great Lakes   Greater Michigan      6/13/2020         92.45%              89.69%    80.98%
Great Lakes   Greater Michigan      6/20/2020         91.81%              92.04%    85.13%
Great Lakes   Greater Michigan      6/27/2020         91.11%              93.11%    85.39%
Great Lakes   Greater Michigan       7/1/2020         91.73%              90.99%    86.98%
Great Lakes   Greater Michigan       7/4/2020         90.96%              90.19%    79.16%
Great Lakes   Greater Michigan      7/11/2020         86.85%              83.32%    86.98%
Great Lakes   Greater Michigan      7/18/2020         83.19%              80.54%    71.59%
Great Lakes   Greater Michigan      7/25/2020         83.58%              82.40%    60.84%
Great Lakes   Greater Michigan       8/1/2020         81.44%              60.27%    71.27%
Great Lakes   Greater Michigan       8/8/2020         80.28%              58.00%    68.48%
Great Lakes   Greater Michigan      8/15/2020         86.94%              77.89%    69.41%
Great Lakes   Greater Michigan      8/22/2020         89.28%              86.46%    79.76%
Great Lakes   Lakeland               1/4/2020         90.65%              92.10%    88.96%
Great Lakes   Lakeland              1/11/2020         91.13%              90.36%    92.20%
Great Lakes   Lakeland              1/18/2020         92.20%              89.84%    89.48%
Great Lakes   Lakeland              1/25/2020         90.11%              90.47%    88.12%
Great Lakes   Lakeland               2/1/2020         89.93%              91.40%    91.02%
Great Lakes   Lakeland               2/8/2020         91.95%              92.52%    88.08%
Great Lakes   Lakeland              2/15/2020         92.84%              90.91%    91.23%
Great Lakes   Lakeland              2/22/2020         92.75%              93.70%    87.96%
Great Lakes   Lakeland              2/29/2020         92.89%              93.34%    89.89%
Great Lakes   Lakeland               3/7/2020         92.39%              93.27%    90.48%
Great Lakes   Lakeland              3/14/2020         91.17%              93.62%    85.81%
Great Lakes   Lakeland              3/21/2020         91.13%              90.37%    89.03%
Great Lakes   Lakeland              3/28/2020         90.40%              88.76%    86.37%
Great Lakes   Lakeland               4/1/2020         89.46%              87.49%    85.51%
Great Lakes   Lakeland               4/4/2020         90.78%              87.71%    82.15%
Great Lakes   Lakeland              4/11/2020         88.66%              81.46%    70.88%
Great Lakes   Lakeland              4/18/2020         90.21%              89.28%    73.94%
Great Lakes   Lakeland              4/25/2020         90.47%              88.40%    77.70%
Great Lakes   Lakeland               5/2/2020         89.82%              85.99%    72.80%
Great Lakes   Lakeland               5/9/2020         90.49%              84.51%    73.22%
Great Lakes   Lakeland              5/16/2020         91.00%              88.48%    70.82%
Great Lakes   Lakeland              5/23/2020         92.59%              88.84%    80.51%
Great Lakes   Lakeland              5/30/2020         90.54%              89.71%    82.66%
Great Lakes   Lakeland               6/6/2020         90.34%              85.79%    75.46%
Great Lakes   Lakeland              6/13/2020         90.97%              90.49%    85.96%
Great Lakes   Lakeland              6/20/2020         88.22%              92.35%    81.67%
Great Lakes   Lakeland              6/27/2020         89.91%              92.48%    75.52%
Great Lakes   Lakeland               7/1/2020         91.20%              89.60%    85.33%


                                           37 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2584 Page 38 of 74


Great Lakes   Lakeland          7/4/2020          88.86%             84.67%    82.78%
Great Lakes   Lakeland         7/11/2020          82.92%             81.59%    75.71%
Great Lakes   Lakeland         7/18/2020          83.70%             85.09%    69.81%
Great Lakes   Lakeland         7/25/2020          83.88%             82.24%    61.69%
Great Lakes   Lakeland          8/1/2020          80.00%             77.42%    67.14%
Great Lakes   Lakeland          8/8/2020          78.90%             77.12%    70.35%
Great Lakes   Lakeland         8/15/2020          84.52%             85.94%    80.00%
Great Lakes   Lakeland         8/22/2020          84.95%             89.06%    78.40%
Northeast     Albany            1/4/2020          93.41%             92.95%    87.74%
Northeast     Albany           1/11/2020          93.71%             91.81%    87.83%
Northeast     Albany           1/18/2020          94.42%             90.85%    89.56%
Northeast     Albany           1/25/2020          93.72%             93.75%    89.48%
Northeast     Albany            2/1/2020          92.07%             86.12%    88.36%
Northeast     Albany            2/8/2020          93.64%             93.18%    89.73%
Northeast     Albany           2/15/2020          95.17%             93.03%    90.71%
Northeast     Albany           2/22/2020          94.37%             92.94%    85.35%
Northeast     Albany           2/29/2020          94.87%             87.95%    87.24%
Northeast     Albany            3/7/2020          93.57%             93.81%    88.25%
Northeast     Albany           3/14/2020          93.36%             93.40%    88.68%
Northeast     Albany           3/21/2020          93.47%             92.42%    84.56%
Northeast     Albany           3/28/2020          93.85%             95.52%    86.54%
Northeast     Albany            4/1/2020          93.59%             94.53%    88.93%
Northeast     Albany            4/4/2020          93.93%             87.78%    87.48%
Northeast     Albany           4/11/2020          92.20%             94.60%    91.59%
Northeast     Albany           4/18/2020          91.80%             94.41%    83.08%
Northeast     Albany           4/25/2020          91.33%             91.27%    75.97%
Northeast     Albany            5/2/2020          90.98%             84.57%    89.02%
Northeast     Albany            5/9/2020          91.09%             91.86%    65.16%
Northeast     Albany           5/16/2020          92.47%             92.64%    75.13%
Northeast     Albany           5/23/2020          93.52%             90.14%    83.08%
Northeast     Albany           5/30/2020          91.19%             93.91%    81.10%
Northeast     Albany            6/6/2020          91.31%             84.67%    80.63%
Northeast     Albany           6/13/2020          93.65%             93.01%    84.23%
Northeast     Albany           6/20/2020          93.14%             93.83%    80.13%
Northeast     Albany           6/27/2020          92.44%             93.38%    84.83%
Northeast     Albany            7/1/2020          94.07%             91.96%    86.97%
Northeast     Albany            7/4/2020          91.97%             89.01%    84.76%
Northeast     Albany           7/11/2020          88.38%             74.46%    77.75%
Northeast     Albany           7/18/2020          87.54%             76.75%    65.78%
Northeast     Albany           7/25/2020          89.71%             86.74%    74.49%
Northeast     Albany            8/1/2020          86.63%             82.27%    82.94%
Northeast     Albany            8/8/2020          86.53%             90.50%    75.74%
Northeast     Albany           8/15/2020          88.22%             92.20%    80.31%
Northeast     Albany           8/22/2020          91.31%             91.94%    81.68%
Northeast     Caribbean         1/4/2020          87.65%             97.63%    82.40%
Northeast     Caribbean        1/11/2020          90.93%             90.31%    62.87%
Northeast     Caribbean        1/18/2020          89.66%             65.36%    79.52%


                                       38 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB        ECF No. 80-1   filed 09/16/20   PageID.2585 Page 39 of 74


Northeast   Caribbean               1/25/2020          71.71%             93.86%    75.50%
Northeast   Caribbean                2/1/2020          93.19%             88.61%    85.71%
Northeast   Caribbean                2/8/2020          93.53%             92.77%    91.81%
Northeast   Caribbean               2/15/2020          94.93%             67.91%    59.00%
Northeast   Caribbean               2/22/2020          94.16%             81.92%    69.95%
Northeast   Caribbean               2/29/2020          94.13%             82.09%    90.11%
Northeast   Caribbean                3/7/2020          91.91%             93.88%    91.43%
Northeast   Caribbean               3/14/2020          93.97%             94.27%    86.23%
Northeast   Caribbean               3/21/2020          91.02%             88.54%    82.54%
Northeast   Caribbean               3/28/2020          91.42%             82.04%    90.49%
Northeast   Caribbean                4/1/2020          92.55%             82.42%    97.58%
Northeast   Caribbean                4/4/2020          93.18%             97.65%    79.81%
Northeast   Caribbean               4/11/2020          87.11%             93.60%    88.17%
Northeast   Caribbean               4/18/2020          92.78%             96.11%    85.08%
Northeast   Caribbean               4/25/2020          91.45%             83.70%    87.55%
Northeast   Caribbean                5/2/2020          91.92%             91.57%    70.52%
Northeast   Caribbean                5/9/2020          91.85%             92.99%    51.76%
Northeast   Caribbean               5/16/2020          93.81%             90.31%    58.41%
Northeast   Caribbean               5/23/2020          92.10%             87.63%    72.33%
Northeast   Caribbean               5/30/2020          86.25%             58.14%    94.63%
Northeast   Caribbean                6/6/2020          89.96%             90.62%    81.93%
Northeast   Caribbean               6/13/2020          90.29%             75.63%    84.19%
Northeast   Caribbean               6/20/2020          91.66%             76.03%    18.83%
Northeast   Caribbean               6/27/2020          88.36%             71.64%    76.96%
Northeast   Caribbean                7/1/2020          91.54%             81.98%    77.16%
Northeast   Caribbean                7/4/2020          90.27%             84.13%    95.61%
Northeast   Caribbean               7/11/2020          88.11%             84.86%    89.12%
Northeast   Caribbean               7/18/2020          81.58%             89.79%    79.22%
Northeast   Caribbean               7/25/2020          75.51%             91.68%    55.01%
Northeast   Caribbean                8/1/2020          79.66%             75.86%    86.39%
Northeast   Caribbean                8/8/2020          85.13%             84.99%    86.73%
Northeast   Caribbean               8/15/2020          86.00%             83.63%    72.81%
Northeast   Caribbean               8/22/2020          89.24%             87.91%    75.85%
Northeast   Connecticut Valley       1/4/2020          92.46%             91.18%    84.36%
Northeast   Connecticut Valley      1/11/2020          92.44%             87.71%    79.78%
Northeast   Connecticut Valley      1/18/2020          93.74%             90.23%    81.22%
Northeast   Connecticut Valley      1/25/2020          92.77%             91.39%    81.60%
Northeast   Connecticut Valley       2/1/2020          92.55%             90.52%    84.07%
Northeast   Connecticut Valley       2/8/2020          93.22%             92.44%    83.54%
Northeast   Connecticut Valley      2/15/2020          94.39%             92.42%    85.21%
Northeast   Connecticut Valley      2/22/2020          93.69%             91.38%    75.28%
Northeast   Connecticut Valley      2/29/2020          93.05%             93.00%    80.46%
Northeast   Connecticut Valley       3/7/2020          92.84%             91.18%    79.39%
Northeast   Connecticut Valley      3/14/2020          91.80%             88.08%    72.54%
Northeast   Connecticut Valley      3/21/2020          93.10%             91.94%    76.63%
Northeast   Connecticut Valley      3/28/2020          91.85%             92.28%    77.38%
Northeast   Connecticut Valley       4/1/2020          91.16%             89.72%    75.20%


                                            39 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB        ECF No. 80-1   filed 09/16/20   PageID.2586 Page 40 of 74


Northeast   Connecticut Valley       4/4/2020          91.53%             87.06%    64.29%
Northeast   Connecticut Valley      4/11/2020          86.67%             76.93%    45.70%
Northeast   Connecticut Valley      4/18/2020          89.55%             84.38%    32.11%
Northeast   Connecticut Valley      4/25/2020          89.32%             82.61%    37.14%
Northeast   Connecticut Valley       5/2/2020          89.61%             77.66%    32.75%
Northeast   Connecticut Valley       5/9/2020          88.49%             81.58%    28.04%
Northeast   Connecticut Valley      5/16/2020          90.49%             86.70%    51.21%
Northeast   Connecticut Valley      5/23/2020          91.55%             87.42%    54.02%
Northeast   Connecticut Valley      5/30/2020          89.85%             89.28%    60.10%
Northeast   Connecticut Valley       6/6/2020          90.48%             85.55%    43.43%
Northeast   Connecticut Valley      6/13/2020          91.74%             88.89%    64.63%
Northeast   Connecticut Valley      6/20/2020          90.72%             88.19%    68.96%
Northeast   Connecticut Valley      6/27/2020          91.18%             84.50%    74.46%
Northeast   Connecticut Valley       7/1/2020          91.01%             91.72%    74.05%
Northeast   Connecticut Valley       7/4/2020          91.77%             90.17%    70.87%
Northeast   Connecticut Valley      7/11/2020          87.46%             87.90%    68.07%
Northeast   Connecticut Valley      7/18/2020          85.52%             85.40%    59.72%
Northeast   Connecticut Valley      7/25/2020          86.73%             88.14%    62.89%
Northeast   Connecticut Valley       8/1/2020          82.33%             74.75%    65.70%
Northeast   Connecticut Valley       8/8/2020          76.70%             55.77%    61.48%
Northeast   Connecticut Valley      8/15/2020          87.69%             85.77%    67.18%
Northeast   Connecticut Valley      8/22/2020          89.78%             89.80%    76.07%
Northeast   Greater Boston           1/4/2020          92.23%             89.30%    89.80%
Northeast   Greater Boston          1/11/2020          92.36%             86.77%    83.92%
Northeast   Greater Boston          1/18/2020          92.69%             88.65%    85.56%
Northeast   Greater Boston          1/25/2020          91.09%             90.82%    88.01%
Northeast   Greater Boston           2/1/2020          91.34%             89.21%    86.52%
Northeast   Greater Boston           2/8/2020          90.65%             87.45%    87.16%
Northeast   Greater Boston          2/15/2020          93.65%             91.25%    89.26%
Northeast   Greater Boston          2/22/2020          92.55%             90.32%    83.45%
Northeast   Greater Boston          2/29/2020          92.54%             91.93%    85.56%
Northeast   Greater Boston           3/7/2020          92.42%             90.56%    88.71%
Northeast   Greater Boston          3/14/2020          92.74%             90.93%    84.17%
Northeast   Greater Boston          3/21/2020          92.86%             91.68%    81.79%
Northeast   Greater Boston          3/28/2020          91.96%             92.16%    80.52%
Northeast   Greater Boston           4/1/2020          92.67%             87.35%    83.77%
Northeast   Greater Boston           4/4/2020          90.33%             72.79%    67.33%
Northeast   Greater Boston          4/11/2020          87.24%             80.63%    49.33%
Northeast   Greater Boston          4/18/2020          90.34%             82.29%    47.42%
Northeast   Greater Boston          4/25/2020          90.34%             82.58%    44.47%
Northeast   Greater Boston           5/2/2020          90.03%             85.45%    52.37%
Northeast   Greater Boston           5/9/2020          89.87%             82.43%    48.47%
Northeast   Greater Boston          5/16/2020          90.46%             81.64%    62.75%
Northeast   Greater Boston          5/23/2020          89.95%             82.73%    47.09%
Northeast   Greater Boston          5/30/2020          89.33%             83.56%    64.93%
Northeast   Greater Boston           6/6/2020          89.52%             78.90%    35.56%
Northeast   Greater Boston          6/13/2020          91.50%             80.47%    46.99%


                                            40 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB    ECF No. 80-1   filed 09/16/20   PageID.2587 Page 41 of 74


Northeast   Greater Boston      6/20/2020         90.56%              84.94%    57.13%
Northeast   Greater Boston      6/27/2020         90.02%              87.88%    65.87%
Northeast   Greater Boston       7/1/2020         90.45%              91.12%    74.48%
Northeast   Greater Boston       7/4/2020         90.64%              85.73%    75.91%
Northeast   Greater Boston      7/11/2020         85.60%              81.61%    53.64%
Northeast   Greater Boston      7/18/2020         84.16%              84.18%    71.67%
Northeast   Greater Boston      7/25/2020         86.45%              86.80%    73.07%
Northeast   Greater Boston       8/1/2020         86.42%              82.65%    69.11%
Northeast   Greater Boston       8/8/2020         84.98%              88.46%    78.16%
Northeast   Greater Boston      8/15/2020         88.70%              91.12%    71.35%
Northeast   Greater Boston      8/22/2020         89.40%              87.15%    69.85%
Northeast   Long Island          1/4/2020         90.16%              91.16%    88.65%
Northeast   Long Island         1/11/2020         88.56%              89.42%    82.62%
Northeast   Long Island         1/18/2020         91.39%              90.35%    86.97%
Northeast   Long Island         1/25/2020         88.25%              91.53%    89.23%
Northeast   Long Island          2/1/2020         90.77%              90.13%    88.64%
Northeast   Long Island          2/8/2020         90.11%              92.20%    86.88%
Northeast   Long Island         2/15/2020         92.40%              93.49%    90.05%
Northeast   Long Island         2/22/2020         91.31%              95.29%    85.67%
Northeast   Long Island         2/29/2020         92.15%              92.72%    88.70%
Northeast   Long Island          3/7/2020         89.86%              91.83%    83.93%
Northeast   Long Island         3/14/2020         90.31%              92.14%    90.71%
Northeast   Long Island         3/21/2020         89.04%              93.26%    90.25%
Northeast   Long Island         3/28/2020         90.14%              93.69%    82.01%
Northeast   Long Island          4/1/2020         90.84%              74.32%    75.61%
Northeast   Long Island          4/4/2020         84.77%              62.40%    39.98%
Northeast   Long Island         4/11/2020         79.18%              58.75%    25.15%
Northeast   Long Island         4/18/2020         82.86%              49.05%    38.40%
Northeast   Long Island         4/25/2020         82.33%              51.29%    28.52%
Northeast   Long Island          5/2/2020         75.80%              65.70%    30.96%
Northeast   Long Island          5/9/2020         79.72%              68.45%    29.11%
Northeast   Long Island         5/16/2020         85.58%              76.42%    33.62%
Northeast   Long Island         5/23/2020         86.62%              84.12%    46.75%
Northeast   Long Island         5/30/2020         83.70%              85.64%    59.77%
Northeast   Long Island          6/6/2020         83.59%              90.23%    57.00%
Northeast   Long Island         6/13/2020         87.49%              90.80%    78.55%
Northeast   Long Island         6/20/2020         87.34%              91.42%    69.94%
Northeast   Long Island         6/27/2020         87.11%              89.77%    81.57%
Northeast   Long Island          7/1/2020         88.84%              88.03%    72.17%
Northeast   Long Island          7/4/2020         85.64%              85.28%    74.22%
Northeast   Long Island         7/11/2020         76.25%              85.21%    76.38%
Northeast   Long Island         7/18/2020         76.83%              86.89%    75.35%
Northeast   Long Island         7/25/2020         82.98%              86.79%    70.15%
Northeast   Long Island          8/1/2020         82.71%              83.38%    57.31%
Northeast   Long Island          8/8/2020         75.89%              88.68%    70.43%
Northeast   Long Island         8/15/2020         80.09%              89.12%    75.62%
Northeast   Long Island         8/22/2020         84.19%              91.73%    81.95%


                                       41 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB    ECF No. 80-1      filed 09/16/20   PageID.2588 Page 42 of 74


Northeast   New York                1/4/2020          83.90%             89.38%    80.38%
Northeast   New York               1/11/2020          87.42%             86.00%    74.97%
Northeast   New York               1/18/2020          89.11%             82.78%    74.34%
Northeast   New York               1/25/2020          88.11%             88.55%    76.33%
Northeast   New York                2/1/2020          87.20%             88.68%    79.91%
Northeast   New York                2/8/2020          87.11%             91.37%    82.68%
Northeast   New York               2/15/2020          89.18%             89.58%    83.14%
Northeast   New York               2/22/2020          88.10%             82.19%    76.82%
Northeast   New York               2/29/2020          89.09%             86.73%    79.71%
Northeast   New York                3/7/2020          87.05%             87.47%    77.56%
Northeast   New York               3/14/2020          84.64%             77.75%    81.21%
Northeast   New York               3/21/2020          77.13%             67.92%    61.23%
Northeast   New York               3/28/2020          79.72%             80.61%    46.85%
Northeast   New York                4/1/2020          75.78%             65.20%    35.10%
Northeast   New York                4/4/2020          56.73%             16.30%    38.08%
Northeast   New York               4/11/2020          42.99%             12.72%    35.44%
Northeast   New York               4/18/2020          38.99%             14.52%    30.25%
Northeast   New York               4/25/2020          38.06%             10.83%    34.82%
Northeast   New York                5/2/2020          36.47%             18.43%    35.56%
Northeast   New York                5/9/2020          55.06%             54.45%    52.78%
Northeast   New York               5/16/2020          82.93%             84.68%    66.38%
Northeast   New York               5/23/2020          83.57%             88.52%    70.60%
Northeast   New York               5/30/2020          81.45%             89.08%    57.08%
Northeast   New York                6/6/2020          81.53%             90.62%    67.97%
Northeast   New York               6/13/2020          83.66%             92.38%    70.30%
Northeast   New York               6/20/2020          82.57%             90.92%    70.34%
Northeast   New York               6/27/2020          83.12%             91.34%    71.67%
Northeast   New York                7/1/2020          85.63%             90.78%    72.04%
Northeast   New York                7/4/2020          85.41%             85.82%    75.34%
Northeast   New York               7/11/2020          80.05%             88.65%    78.34%
Northeast   New York               7/18/2020          79.02%             88.09%    78.15%
Northeast   New York               7/25/2020          82.94%             86.85%    67.57%
Northeast   New York                8/1/2020          81.72%             87.17%    69.98%
Northeast   New York                8/8/2020          78.04%             88.02%    73.55%
Northeast   New York               8/15/2020          82.20%             89.65%    75.33%
Northeast   New York               8/22/2020          83.84%             89.50%    81.68%
Northeast   Northern New England    1/4/2020          91.62%             91.09%    80.42%
Northeast   Northern New England   1/11/2020          91.28%             90.82%    79.80%
Northeast   Northern New England   1/18/2020          92.83%             91.02%    83.79%
Northeast   Northern New England   1/25/2020          91.18%             93.40%    82.35%
Northeast   Northern New England    2/1/2020          91.59%             92.68%    84.06%
Northeast   Northern New England    2/8/2020          91.34%             93.23%    81.94%
Northeast   Northern New England   2/15/2020          93.22%             92.36%    86.73%
Northeast   Northern New England   2/22/2020          92.15%             93.40%    84.46%
Northeast   Northern New England   2/29/2020          93.21%             94.46%    80.84%
Northeast   Northern New England    3/7/2020          90.11%             91.76%    85.38%
Northeast   Northern New England   3/14/2020          92.85%             92.40%    82.29%


                                           42 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB    ECF No. 80-1      filed 09/16/20   PageID.2589 Page 43 of 74


Northeast   Northern New England   3/21/2020          92.38%             94.60%    82.91%
Northeast   Northern New England   3/28/2020          92.04%             87.35%    70.55%
Northeast   Northern New England    4/1/2020          92.78%             93.82%    85.10%
Northeast   Northern New England    4/4/2020          91.09%             93.45%    64.14%
Northeast   Northern New England   4/11/2020          86.61%             89.45%    60.55%
Northeast   Northern New England   4/18/2020          91.44%             88.90%    72.42%
Northeast   Northern New England   4/25/2020          89.92%             84.16%    44.47%
Northeast   Northern New England    5/2/2020          87.37%             87.45%    62.58%
Northeast   Northern New England    5/9/2020          86.96%             89.86%    65.10%
Northeast   Northern New England   5/16/2020          89.10%             87.85%    59.33%
Northeast   Northern New England   5/23/2020          88.30%             88.51%    66.15%
Northeast   Northern New England   5/30/2020          87.50%             91.12%    62.39%
Northeast   Northern New England    6/6/2020          86.63%             88.96%    61.33%
Northeast   Northern New England   6/13/2020          90.16%             90.66%    67.56%
Northeast   Northern New England   6/20/2020          88.53%             90.37%    56.49%
Northeast   Northern New England   6/27/2020          89.21%             83.45%    65.02%
Northeast   Northern New England    7/1/2020          90.96%             94.25%    37.16%
Northeast   Northern New England    7/4/2020          90.85%             89.59%    59.52%
Northeast   Northern New England   7/11/2020          81.99%             87.48%    58.20%
Northeast   Northern New England   7/18/2020          85.04%             89.08%    61.31%
Northeast   Northern New England   7/25/2020          87.56%             90.90%    48.73%
Northeast   Northern New England    8/1/2020          85.34%             88.04%    59.24%
Northeast   Northern New England    8/8/2020          84.28%             91.16%    49.25%
Northeast   Northern New England   8/15/2020          86.38%             93.00%    59.41%
Northeast   Northern New England   8/22/2020          89.09%             94.70%    56.88%
Northeast   Northern New Jersey     1/4/2020          92.49%             87.20%    76.98%
Northeast   Northern New Jersey    1/11/2020          92.44%             87.24%    79.15%
Northeast   Northern New Jersey    1/18/2020          93.33%             91.00%    85.70%
Northeast   Northern New Jersey    1/25/2020          93.34%             92.86%    83.08%
Northeast   Northern New Jersey     2/1/2020          93.11%             92.00%    86.10%
Northeast   Northern New Jersey     2/8/2020          93.50%             92.81%    89.32%
Northeast   Northern New Jersey    2/15/2020          94.50%             94.66%    85.18%
Northeast   Northern New Jersey    2/22/2020          93.56%             94.12%    85.27%
Northeast   Northern New Jersey    2/29/2020          93.99%             93.00%    83.11%
Northeast   Northern New Jersey     3/7/2020          93.62%             92.75%    81.41%
Northeast   Northern New Jersey    3/14/2020          92.93%             91.79%    81.27%
Northeast   Northern New Jersey    3/21/2020          93.44%             91.84%    78.27%
Northeast   Northern New Jersey    3/28/2020          92.97%             86.34%    79.29%
Northeast   Northern New Jersey     4/1/2020          92.16%             87.03%    67.65%
Northeast   Northern New Jersey     4/4/2020          90.27%             82.98%    81.44%
Northeast   Northern New Jersey    4/11/2020          88.47%             78.18%    56.85%
Northeast   Northern New Jersey    4/18/2020          90.05%             72.94%    30.67%
Northeast   Northern New Jersey    4/25/2020          87.66%             68.38%    16.80%
Northeast   Northern New Jersey     5/2/2020          86.36%             59.71%    11.24%
Northeast   Northern New Jersey     5/9/2020          87.25%             76.18%    15.89%
Northeast   Northern New Jersey    5/16/2020          88.68%             77.00%    31.48%
Northeast   Northern New Jersey    5/23/2020          90.86%             82.46%    37.80%


                                           43 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB     ECF No. 80-1    filed 09/16/20   PageID.2590 Page 44 of 74


Northeast   Northern New Jersey   5/30/2020         88.22%              89.52%    56.10%
Northeast   Northern New Jersey    6/6/2020         89.34%              90.66%    62.52%
Northeast   Northern New Jersey   6/13/2020         89.91%              90.39%    67.18%
Northeast   Northern New Jersey   6/20/2020         90.82%              89.32%    71.39%
Northeast   Northern New Jersey   6/27/2020         89.81%              83.17%    75.95%
Northeast   Northern New Jersey    7/1/2020         91.98%              91.31%    76.68%
Northeast   Northern New Jersey    7/4/2020         90.29%              86.65%    67.75%
Northeast   Northern New Jersey   7/11/2020         84.33%              87.64%    70.58%
Northeast   Northern New Jersey   7/18/2020         80.74%              84.01%    64.18%
Northeast   Northern New Jersey   7/25/2020         87.12%              85.07%    70.92%
Northeast   Northern New Jersey    8/1/2020         86.09%              78.79%    66.26%
Northeast   Northern New Jersey    8/8/2020         83.97%              83.10%    61.77%
Northeast   Northern New Jersey   8/15/2020         85.27%              86.61%    69.68%
Northeast   Northern New Jersey   8/22/2020         88.20%              89.16%    72.55%
Northeast   Triboro                1/4/2020         87.43%              88.87%    81.86%
Northeast   Triboro               1/11/2020         86.14%              85.62%    77.24%
Northeast   Triboro               1/18/2020         86.10%              83.78%    70.99%
Northeast   Triboro               1/25/2020         82.22%              87.18%    77.53%
Northeast   Triboro                2/1/2020         86.97%              87.49%    79.92%
Northeast   Triboro                2/8/2020         88.39%              89.18%    82.97%
Northeast   Triboro               2/15/2020         89.52%              89.03%    75.78%
Northeast   Triboro               2/22/2020         88.50%              90.71%    74.27%
Northeast   Triboro               2/29/2020         89.61%              87.98%    78.95%
Northeast   Triboro                3/7/2020         89.49%              88.48%    74.14%
Northeast   Triboro               3/14/2020         82.93%              81.36%    79.07%
Northeast   Triboro               3/21/2020         85.66%              86.12%    75.87%
Northeast   Triboro               3/28/2020         83.19%              82.97%    50.98%
Northeast   Triboro                4/1/2020         84.22%              82.42%    65.77%
Northeast   Triboro                4/4/2020         78.92%              76.28%    58.38%
Northeast   Triboro               4/11/2020         69.95%              77.67%    44.82%
Northeast   Triboro               4/18/2020         69.55%              73.43%    53.99%
Northeast   Triboro               4/25/2020         75.00%              67.48%    45.06%
Northeast   Triboro                5/2/2020         67.97%              67.40%    39.92%
Northeast   Triboro                5/9/2020         74.43%              73.24%    50.28%
Northeast   Triboro               5/16/2020         80.06%              81.51%    52.74%
Northeast   Triboro               5/23/2020         80.13%              79.48%    46.03%
Northeast   Triboro               5/30/2020         84.35%              85.31%    53.33%
Northeast   Triboro                6/6/2020         83.58%              87.56%    50.65%
Northeast   Triboro               6/13/2020         85.60%              85.80%    61.99%
Northeast   Triboro               6/20/2020         84.18%              88.45%    62.41%
Northeast   Triboro               6/27/2020         85.01%              89.20%    69.06%
Northeast   Triboro                7/1/2020         88.64%              87.91%    53.10%
Northeast   Triboro                7/4/2020         86.51%              84.99%    53.23%
Northeast   Triboro               7/11/2020         83.35%              83.20%    61.71%
Northeast   Triboro               7/18/2020         77.09%              79.51%    57.12%
Northeast   Triboro               7/25/2020         80.82%              79.57%    49.31%
Northeast   Triboro                8/1/2020         80.82%              79.92%    52.49%


                                         44 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2591 Page 45 of 74


Northeast   Triboro             8/8/2020          81.16%             80.63%    50.32%
Northeast   Triboro            8/15/2020          82.04%             83.24%    60.43%
Northeast   Triboro            8/22/2020          85.29%             81.84%    64.45%
Northeast   Westchester         1/4/2020          90.05%             89.06%    75.26%
Northeast   Westchester        1/11/2020          90.55%             87.11%    77.75%
Northeast   Westchester        1/18/2020          91.89%             89.96%    80.35%
Northeast   Westchester        1/25/2020          91.48%             92.17%    85.92%
Northeast   Westchester         2/1/2020          91.51%             92.20%    87.24%
Northeast   Westchester         2/8/2020          92.43%             91.60%    86.27%
Northeast   Westchester        2/15/2020          93.37%             92.61%    87.99%
Northeast   Westchester        2/22/2020          93.23%             93.19%    83.39%
Northeast   Westchester        2/29/2020          93.14%             92.61%    77.88%
Northeast   Westchester         3/7/2020          91.88%             88.74%    78.34%
Northeast   Westchester        3/14/2020          77.92%             60.49%    61.81%
Northeast   Westchester        3/21/2020          89.60%             84.65%    68.49%
Northeast   Westchester        3/28/2020          91.49%             78.88%    65.56%
Northeast   Westchester         4/1/2020          90.72%             75.47%    58.96%
Northeast   Westchester         4/4/2020          84.97%             42.80%    44.35%
Northeast   Westchester        4/11/2020          79.26%             42.07%    39.29%
Northeast   Westchester        4/18/2020          84.90%             73.71%    52.28%
Northeast   Westchester        4/25/2020          84.12%             73.76%    45.82%
Northeast   Westchester         5/2/2020          83.59%             72.09%    42.58%
Northeast   Westchester         5/9/2020          86.60%             85.48%    54.53%
Northeast   Westchester        5/16/2020          89.21%             86.99%    61.23%
Northeast   Westchester        5/23/2020          90.54%             87.04%    69.01%
Northeast   Westchester        5/30/2020          88.36%             85.86%    68.91%
Northeast   Westchester         6/6/2020          87.32%             87.87%    69.61%
Northeast   Westchester        6/13/2020          89.31%             89.08%    72.94%
Northeast   Westchester        6/20/2020          90.16%             88.00%    73.90%
Northeast   Westchester        6/27/2020          91.07%             82.32%    80.26%
Northeast   Westchester         7/1/2020          92.68%             89.36%    76.43%
Northeast   Westchester         7/4/2020          89.91%             87.88%    75.07%
Northeast   Westchester        7/11/2020          83.80%             82.18%    69.28%
Northeast   Westchester        7/18/2020          81.79%             83.91%    68.70%
Northeast   Westchester        7/25/2020          84.87%             82.04%    64.74%
Northeast   Westchester         8/1/2020          84.60%             82.17%    59.21%
Northeast   Westchester         8/8/2020          77.94%             81.94%    53.34%
Northeast   Westchester        8/15/2020          84.42%             88.08%    64.05%
Northeast   Westchester        8/22/2020          86.52%             88.31%    59.89%
Pacific     Bay‐Valley          1/4/2020          93.90%             93.37%    77.21%
Pacific     Bay‐Valley         1/11/2020          93.36%             92.87%    90.28%
Pacific     Bay‐Valley         1/18/2020          95.00%             93.79%    87.41%
Pacific     Bay‐Valley         1/25/2020          93.54%             92.15%    89.12%
Pacific     Bay‐Valley          2/1/2020          91.25%             91.03%    86.93%
Pacific     Bay‐Valley          2/8/2020          91.88%             93.21%    88.80%
Pacific     Bay‐Valley         2/15/2020          94.71%             95.04%    90.63%
Pacific     Bay‐Valley         2/22/2020          94.16%             95.81%    84.50%


                                       45 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2592 Page 46 of 74


Pacific     Bay‐Valley         2/29/2020         93.54%              92.26%    83.13%
Pacific     Bay‐Valley          3/7/2020         93.77%              94.16%    92.07%
Pacific     Bay‐Valley         3/14/2020         93.41%              94.09%    90.21%
Pacific     Bay‐Valley         3/21/2020         94.29%              94.52%    88.49%
Pacific     Bay‐Valley         3/28/2020         94.38%              95.62%    88.92%
Pacific     Bay‐Valley          4/1/2020         94.29%              86.97%    89.47%
Pacific     Bay‐Valley          4/4/2020         94.01%              94.26%    89.42%
Pacific     Bay‐Valley         4/11/2020         91.83%              94.21%    86.87%
Pacific     Bay‐Valley         4/18/2020         93.18%              93.03%    89.55%
Pacific     Bay‐Valley         4/25/2020         93.47%              92.97%    88.03%
Pacific     Bay‐Valley          5/2/2020         91.66%              92.91%    85.79%
Pacific     Bay‐Valley          5/9/2020         91.08%              92.84%    87.25%
Pacific     Bay‐Valley         5/16/2020         91.13%              92.84%    83.53%
Pacific     Bay‐Valley         5/23/2020         93.76%              91.93%    85.17%
Pacific     Bay‐Valley         5/30/2020         91.78%              91.52%    84.59%
Pacific     Bay‐Valley          6/6/2020         92.05%              91.95%    77.48%
Pacific     Bay‐Valley         6/13/2020         92.98%              91.50%    86.73%
Pacific     Bay‐Valley         6/20/2020         92.14%              91.57%    85.70%
Pacific     Bay‐Valley         6/27/2020         93.66%              93.29%    87.82%
Pacific     Bay‐Valley          7/1/2020         91.32%              83.51%    87.84%
Pacific     Bay‐Valley          7/4/2020         92.43%              89.12%    75.14%
Pacific     Bay‐Valley         7/11/2020         88.96%              85.41%    84.08%
Pacific     Bay‐Valley         7/18/2020         87.97%              80.11%    83.63%
Pacific     Bay‐Valley         7/25/2020         89.30%              80.13%    82.25%
Pacific     Bay‐Valley          8/1/2020         86.94%              81.56%    71.42%
Pacific     Bay‐Valley          8/8/2020         85.64%              85.76%    69.03%
Pacific     Bay‐Valley         8/15/2020         88.41%              88.00%    81.54%
Pacific     Bay‐Valley         8/22/2020         90.13%              89.05%    83.41%
Pacific     Honolulu            1/4/2020         93.07%              92.72%    86.73%
Pacific     Honolulu           1/11/2020         90.63%              84.49%    82.84%
Pacific     Honolulu           1/18/2020         92.54%              92.30%    77.32%
Pacific     Honolulu           1/25/2020         87.06%              92.21%    86.58%
Pacific     Honolulu            2/1/2020         87.71%              92.38%    89.04%
Pacific     Honolulu            2/8/2020         91.43%              77.79%    94.08%
Pacific     Honolulu           2/15/2020         92.83%              92.11%    91.78%
Pacific     Honolulu           2/22/2020         92.69%              94.76%    91.41%
Pacific     Honolulu           2/29/2020         91.72%              94.27%    79.76%
Pacific     Honolulu            3/7/2020         89.39%              92.61%    80.10%
Pacific     Honolulu           3/14/2020         89.73%              92.10%    83.49%
Pacific     Honolulu           3/21/2020         91.28%              79.98%    89.66%
Pacific     Honolulu           3/28/2020         90.23%              95.11%    86.13%
Pacific     Honolulu            4/1/2020         89.50%              96.79%    69.65%
Pacific     Honolulu            4/4/2020         90.97%              94.84%    81.81%
Pacific     Honolulu           4/11/2020         89.77%              95.95%    68.64%
Pacific     Honolulu           4/18/2020         87.56%              95.54%    89.71%
Pacific     Honolulu           4/25/2020         88.64%              91.92%    76.59%
Pacific     Honolulu            5/2/2020         90.16%              91.63%    92.36%


                                      46 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2593 Page 47 of 74


Pacific     Honolulu            5/9/2020         86.95%              80.68%    74.72%
Pacific     Honolulu           5/16/2020         88.24%              79.46%    88.67%
Pacific     Honolulu           5/23/2020         87.01%              79.68%    61.89%
Pacific     Honolulu           5/30/2020         83.36%              92.13%    58.82%
Pacific     Honolulu            6/6/2020         81.82%              91.58%    82.62%
Pacific     Honolulu           6/13/2020         79.01%              82.27%    79.77%
Pacific     Honolulu           6/20/2020         68.85%              95.12%    68.25%
Pacific     Honolulu           6/27/2020         75.58%              95.76%    88.17%
Pacific     Honolulu            7/1/2020         71.15%              95.73%    88.77%
Pacific     Honolulu            7/4/2020         83.19%              94.80%    83.07%
Pacific     Honolulu           7/11/2020         80.41%              84.11%    54.73%
Pacific     Honolulu           7/18/2020         70.53%              84.36%    44.36%
Pacific     Honolulu           7/25/2020         57.47%              74.16%    39.74%
Pacific     Honolulu            8/1/2020         55.23%              61.85%    60.96%
Pacific     Honolulu            8/8/2020         63.81%              72.37%    76.66%
Pacific     Honolulu           8/15/2020         84.01%              93.28%    84.97%
Pacific     Honolulu           8/22/2020         88.67%              96.10%    78.17%
Pacific     Los Angeles         1/4/2020         94.09%              92.59%    84.55%
Pacific     Los Angeles        1/11/2020         92.59%              90.44%    83.85%
Pacific     Los Angeles        1/18/2020         92.90%              89.13%    88.15%
Pacific     Los Angeles        1/25/2020         93.37%              89.71%    86.56%
Pacific     Los Angeles         2/1/2020         90.05%              76.98%    81.80%
Pacific     Los Angeles         2/8/2020         91.05%              89.55%    87.50%
Pacific     Los Angeles        2/15/2020         93.66%              91.80%    87.51%
Pacific     Los Angeles        2/22/2020         94.15%              93.70%    86.62%
Pacific     Los Angeles        2/29/2020         93.85%              87.37%    78.31%
Pacific     Los Angeles         3/7/2020         92.76%              88.70%    78.53%
Pacific     Los Angeles        3/14/2020         92.62%              89.91%    84.01%
Pacific     Los Angeles        3/21/2020         92.69%              93.88%    77.10%
Pacific     Los Angeles        3/28/2020         93.95%              94.57%    84.09%
Pacific     Los Angeles         4/1/2020         92.91%              90.95%    86.86%
Pacific     Los Angeles         4/4/2020         93.01%              90.99%    89.00%
Pacific     Los Angeles        4/11/2020         91.74%              89.62%    82.14%
Pacific     Los Angeles        4/18/2020         92.26%              90.74%    81.41%
Pacific     Los Angeles        4/25/2020         87.49%              90.88%    72.33%
Pacific     Los Angeles         5/2/2020         92.10%              91.83%    75.56%
Pacific     Los Angeles         5/9/2020         91.29%              91.44%    60.81%
Pacific     Los Angeles        5/16/2020         92.33%              92.08%    72.34%
Pacific     Los Angeles        5/23/2020         91.52%              91.59%    71.93%
Pacific     Los Angeles        5/30/2020         88.98%              85.57%    52.95%
Pacific     Los Angeles         6/6/2020         88.32%              87.32%    65.16%
Pacific     Los Angeles        6/13/2020         90.77%              86.95%    67.54%
Pacific     Los Angeles        6/20/2020         87.71%              86.37%    67.08%
Pacific     Los Angeles        6/27/2020         87.86%              83.60%    69.35%
Pacific     Los Angeles         7/1/2020         89.32%              85.52%    74.05%
Pacific     Los Angeles         7/4/2020         88.88%              82.65%    66.61%
Pacific     Los Angeles        7/11/2020         82.68%              75.74%    56.56%


                                      47 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2594 Page 48 of 74


Pacific     Los Angeles        7/18/2020         77.93%              74.79%    46.45%
Pacific     Los Angeles        7/25/2020         77.29%              74.37%    48.90%
Pacific     Los Angeles         8/1/2020         73.51%              72.38%    36.82%
Pacific     Los Angeles         8/8/2020         78.03%              77.82%    53.56%
Pacific     Los Angeles        8/15/2020         83.39%              84.37%    51.97%
Pacific     Los Angeles        8/22/2020         86.23%              87.04%    55.65%
Pacific     Sacramento          1/4/2020         93.62%              93.13%    87.90%
Pacific     Sacramento         1/11/2020         91.42%              92.65%    85.09%
Pacific     Sacramento         1/18/2020         93.72%              91.91%    91.15%
Pacific     Sacramento         1/25/2020         91.54%              93.23%    88.72%
Pacific     Sacramento          2/1/2020         91.03%              92.40%    91.44%
Pacific     Sacramento          2/8/2020         91.41%              92.67%    91.27%
Pacific     Sacramento         2/15/2020         94.23%              93.65%    90.51%
Pacific     Sacramento         2/22/2020         94.00%              95.82%    88.51%
Pacific     Sacramento         2/29/2020         94.17%              94.92%    88.57%
Pacific     Sacramento          3/7/2020         93.75%              93.48%    88.43%
Pacific     Sacramento         3/14/2020         92.72%              92.49%    88.46%
Pacific     Sacramento         3/21/2020         93.32%              94.65%    88.01%
Pacific     Sacramento         3/28/2020         93.38%              93.99%    85.50%
Pacific     Sacramento          4/1/2020         93.56%              86.14%    91.73%
Pacific     Sacramento          4/4/2020         91.60%              93.05%    87.05%
Pacific     Sacramento         4/11/2020         90.57%              93.45%    74.89%
Pacific     Sacramento         4/18/2020         91.93%              93.12%    81.49%
Pacific     Sacramento         4/25/2020         91.15%              89.23%    80.96%
Pacific     Sacramento          5/2/2020         89.50%              91.71%    75.85%
Pacific     Sacramento          5/9/2020         86.56%              90.06%    62.22%
Pacific     Sacramento         5/16/2020         88.04%              89.43%    72.06%
Pacific     Sacramento         5/23/2020         92.08%              88.97%    73.05%
Pacific     Sacramento         5/30/2020         90.02%              89.61%    77.27%
Pacific     Sacramento          6/6/2020         91.01%              90.88%    73.57%
Pacific     Sacramento         6/13/2020         92.05%              91.04%    82.94%
Pacific     Sacramento         6/20/2020         89.45%              87.93%    73.70%
Pacific     Sacramento         6/27/2020         92.15%              87.23%    65.73%
Pacific     Sacramento          7/1/2020         91.59%              84.81%    78.89%
Pacific     Sacramento          7/4/2020         91.22%              83.92%    67.20%
Pacific     Sacramento         7/11/2020         85.19%              81.01%    49.06%
Pacific     Sacramento         7/18/2020         80.48%              68.41%    63.88%
Pacific     Sacramento         7/25/2020         85.65%              82.26%    58.98%
Pacific     Sacramento          8/1/2020         80.86%              77.50%    50.19%
Pacific     Sacramento          8/8/2020         81.19%              82.76%    48.97%
Pacific     Sacramento         8/15/2020         86.70%              87.08%    66.65%
Pacific     Sacramento         8/22/2020         88.15%              91.78%    75.12%
Pacific     San Diego           1/4/2020         93.25%              94.24%    82.44%
Pacific     San Diego          1/11/2020         92.52%              93.18%    77.70%
Pacific     San Diego          1/18/2020         94.64%              93.96%    91.94%
Pacific     San Diego          1/25/2020         92.02%              93.32%    90.09%
Pacific     San Diego           2/1/2020         90.91%              91.52%    83.93%


                                      48 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2595 Page 49 of 74


Pacific     San Diego           2/8/2020         92.25%              92.27%    82.65%
Pacific     San Diego          2/15/2020         94.76%              92.91%    92.84%
Pacific     San Diego          2/22/2020         93.04%              94.97%    85.55%
Pacific     San Diego          2/29/2020         91.78%              93.41%    82.33%
Pacific     San Diego           3/7/2020         92.55%              94.42%    86.37%
Pacific     San Diego          3/14/2020         90.87%              94.00%    87.29%
Pacific     San Diego          3/21/2020         93.97%              94.23%    89.24%
Pacific     San Diego          3/28/2020         93.42%              95.45%    83.80%
Pacific     San Diego           4/1/2020         94.11%              90.63%    83.49%
Pacific     San Diego           4/4/2020         92.59%              95.11%    86.64%
Pacific     San Diego          4/11/2020         90.91%              93.90%    84.40%
Pacific     San Diego          4/18/2020         92.43%              90.27%    84.76%
Pacific     San Diego          4/25/2020         86.96%              92.76%    83.45%
Pacific     San Diego           5/2/2020         91.07%              92.36%    81.23%
Pacific     San Diego           5/9/2020         89.58%              91.84%    77.56%
Pacific     San Diego          5/16/2020         91.32%              92.81%    80.04%
Pacific     San Diego          5/23/2020         92.39%              92.36%    76.90%
Pacific     San Diego          5/30/2020         89.99%              93.32%    81.87%
Pacific     San Diego           6/6/2020         90.60%              92.39%    79.96%
Pacific     San Diego          6/13/2020         91.57%              91.63%    83.90%
Pacific     San Diego          6/20/2020         90.64%              91.91%    81.98%
Pacific     San Diego          6/27/2020         90.13%              92.65%    82.38%
Pacific     San Diego           7/1/2020         93.13%              88.61%    85.29%
Pacific     San Diego           7/4/2020         93.15%              90.76%    81.03%
Pacific     San Diego          7/11/2020         87.83%              89.55%    69.80%
Pacific     San Diego          7/18/2020         84.24%              90.52%    83.15%
Pacific     San Diego          7/25/2020         86.45%              88.67%    72.57%
Pacific     San Diego           8/1/2020         81.65%              89.06%    73.16%
Pacific     San Diego           8/8/2020         81.49%              86.86%    67.20%
Pacific     San Diego          8/15/2020         85.37%              90.83%    67.40%
Pacific     San Diego          8/22/2020         88.36%              92.19%    79.43%
Pacific     San Francisco       1/4/2020         93.33%              91.61%    87.61%
Pacific     San Francisco      1/11/2020         92.76%              92.17%    90.17%
Pacific     San Francisco      1/18/2020         93.44%              93.20%    90.84%
Pacific     San Francisco      1/25/2020         92.95%              92.33%    92.73%
Pacific     San Francisco       2/1/2020         91.71%              90.46%    89.28%
Pacific     San Francisco       2/8/2020         92.52%              94.10%    90.52%
Pacific     San Francisco      2/15/2020         94.57%              94.41%    90.36%
Pacific     San Francisco      2/22/2020         94.55%              94.72%    89.58%
Pacific     San Francisco      2/29/2020         94.65%              93.54%    86.53%
Pacific     San Francisco       3/7/2020         94.18%              94.49%    90.94%
Pacific     San Francisco      3/14/2020         93.36%              93.71%    91.56%
Pacific     San Francisco      3/21/2020         93.19%              94.15%    91.28%
Pacific     San Francisco      3/28/2020         92.93%              95.44%    87.37%
Pacific     San Francisco       4/1/2020         93.78%              87.92%    90.62%
Pacific     San Francisco       4/4/2020         93.34%              93.84%    92.87%
Pacific     San Francisco      4/11/2020         92.84%              94.52%    89.53%


                                      49 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2596 Page 50 of 74


Pacific     San Francisco      4/18/2020         93.49%              93.27%    90.48%
Pacific     San Francisco      4/25/2020         93.97%              92.89%    87.67%
Pacific     San Francisco       5/2/2020         92.87%              93.47%    91.09%
Pacific     San Francisco       5/9/2020         92.85%              92.17%    83.94%
Pacific     San Francisco      5/16/2020         91.96%              93.44%    88.98%
Pacific     San Francisco      5/23/2020         94.17%              91.32%    84.18%
Pacific     San Francisco      5/30/2020         93.18%              91.13%    88.58%
Pacific     San Francisco       6/6/2020         94.00%              91.99%    89.23%
Pacific     San Francisco      6/13/2020         93.13%              91.80%    88.26%
Pacific     San Francisco      6/20/2020         92.63%              93.49%    89.61%
Pacific     San Francisco      6/27/2020         93.68%              95.18%    88.10%
Pacific     San Francisco       7/1/2020         94.46%              83.27%    88.10%
Pacific     San Francisco       7/4/2020         93.80%              90.09%    88.24%
Pacific     San Francisco      7/11/2020         91.70%              89.14%    89.87%
Pacific     San Francisco      7/18/2020         90.31%              86.48%    82.72%
Pacific     San Francisco      7/25/2020         90.41%              87.37%    72.21%
Pacific     San Francisco       8/1/2020         87.88%              86.84%    69.82%
Pacific     San Francisco       8/8/2020         87.96%              87.64%    73.76%
Pacific     San Francisco      8/15/2020         89.80%              89.96%    83.55%
Pacific     San Francisco      8/22/2020         92.60%              89.69%    86.03%
Pacific     Santa Ana           1/4/2020         93.70%              92.86%    82.94%
Pacific     Santa Ana          1/11/2020         93.69%              90.83%    87.39%
Pacific     Santa Ana          1/18/2020         94.32%              92.47%    92.27%
Pacific     Santa Ana          1/25/2020         91.48%              86.48%    88.47%
Pacific     Santa Ana           2/1/2020         88.98%              84.99%    87.16%
Pacific     Santa Ana           2/8/2020         89.87%              89.76%    84.90%
Pacific     Santa Ana          2/15/2020         94.43%              93.12%    90.63%
Pacific     Santa Ana          2/22/2020         92.70%              94.63%    90.44%
Pacific     Santa Ana          2/29/2020         93.66%              93.81%    83.59%
Pacific     Santa Ana           3/7/2020         94.09%              94.84%    85.11%
Pacific     Santa Ana          3/14/2020         92.61%              94.75%    88.02%
Pacific     Santa Ana          3/21/2020         94.44%              94.86%    86.95%
Pacific     Santa Ana          3/28/2020         93.38%              95.63%    85.71%
Pacific     Santa Ana           4/1/2020         94.86%              91.86%    83.69%
Pacific     Santa Ana           4/4/2020         93.72%              95.28%    85.61%
Pacific     Santa Ana          4/11/2020         93.52%              95.09%    81.44%
Pacific     Santa Ana          4/18/2020         93.31%              90.36%    85.17%
Pacific     Santa Ana          4/25/2020         91.16%              92.87%    81.75%
Pacific     Santa Ana           5/2/2020         93.02%              94.36%    79.22%
Pacific     Santa Ana           5/9/2020         91.51%              94.22%    76.33%
Pacific     Santa Ana          5/16/2020         93.43%              95.72%    77.63%
Pacific     Santa Ana          5/23/2020         91.15%              93.75%    80.88%
Pacific     Santa Ana          5/30/2020         90.83%              93.40%    76.33%
Pacific     Santa Ana           6/6/2020         92.07%              93.42%    82.91%
Pacific     Santa Ana          6/13/2020         93.21%              92.92%    79.90%
Pacific     Santa Ana          6/20/2020         92.66%              92.23%    86.24%
Pacific     Santa Ana          6/27/2020         89.92%              93.19%    81.16%


                                      50 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB    ECF No. 80-1   filed 09/16/20   PageID.2597 Page 51 of 74


Pacific    Santa Ana            7/1/2020         92.23%              90.55%    76.01%
Pacific    Santa Ana            7/4/2020         90.93%              89.39%    73.93%
Pacific    Santa Ana           7/11/2020         86.26%              88.35%    73.54%
Pacific    Santa Ana           7/18/2020         81.35%              85.05%    81.55%
Pacific    Santa Ana           7/25/2020         84.05%              89.71%    71.37%
Pacific    Santa Ana            8/1/2020         81.67%              90.56%    71.21%
Pacific    Santa Ana            8/8/2020         80.95%              90.23%    75.26%
Pacific    Santa Ana           8/15/2020         85.13%              92.03%    74.78%
Pacific    Santa Ana           8/22/2020         88.96%              92.71%    76.28%
Pacific    Sierra Coastal       1/4/2020         93.28%              94.49%    78.92%
Pacific    Sierra Coastal      1/11/2020         93.38%              94.77%    85.21%
Pacific    Sierra Coastal      1/18/2020         94.22%              93.43%    92.18%
Pacific    Sierra Coastal      1/25/2020         92.52%              95.08%    89.65%
Pacific    Sierra Coastal       2/1/2020         92.37%              94.17%    88.18%
Pacific    Sierra Coastal       2/8/2020         92.98%              94.90%    86.90%
Pacific    Sierra Coastal      2/15/2020         94.86%              94.95%    91.62%
Pacific    Sierra Coastal      2/22/2020         94.20%              95.78%    92.61%
Pacific    Sierra Coastal      2/29/2020         94.26%              95.05%    86.10%
Pacific    Sierra Coastal       3/7/2020         94.66%              95.15%    87.02%
Pacific    Sierra Coastal      3/14/2020         94.03%              95.28%    87.58%
Pacific    Sierra Coastal      3/21/2020         94.52%              95.28%    89.11%
Pacific    Sierra Coastal      3/28/2020         94.17%              95.09%    87.61%
Pacific    Sierra Coastal       4/1/2020         94.39%              92.45%    86.12%
Pacific    Sierra Coastal       4/4/2020         93.64%              95.32%    85.40%
Pacific    Sierra Coastal      4/11/2020         93.01%              95.15%    83.11%
Pacific    Sierra Coastal      4/18/2020         93.51%              91.53%    84.66%
Pacific    Sierra Coastal      4/25/2020         90.36%              93.20%    78.17%
Pacific    Sierra Coastal       5/2/2020         93.03%              94.10%    84.85%
Pacific    Sierra Coastal       5/9/2020         91.67%              93.52%    73.90%
Pacific    Sierra Coastal      5/16/2020         92.94%              94.36%    81.19%
Pacific    Sierra Coastal      5/23/2020         92.93%              93.32%    81.54%
Pacific    Sierra Coastal      5/30/2020         91.09%              92.81%    78.72%
Pacific    Sierra Coastal       6/6/2020         90.55%              92.90%    68.95%
Pacific    Sierra Coastal      6/13/2020         92.51%              93.06%    87.61%
Pacific    Sierra Coastal      6/20/2020         90.36%              92.81%    82.49%
Pacific    Sierra Coastal      6/27/2020         92.28%              94.54%    79.93%
Pacific    Sierra Coastal       7/1/2020         93.38%              91.71%    82.33%
Pacific    Sierra Coastal       7/4/2020         91.96%              91.19%    75.45%
Pacific    Sierra Coastal      7/11/2020         87.50%              90.71%    74.67%
Pacific    Sierra Coastal      7/18/2020         86.83%              90.75%    76.05%
Pacific    Sierra Coastal      7/25/2020         85.94%              92.02%    70.45%
Pacific    Sierra Coastal       8/1/2020         84.16%              91.15%    77.31%
Pacific    Sierra Coastal       8/8/2020         83.32%              89.96%    78.27%
Pacific    Sierra Coastal      8/15/2020         89.36%              93.13%    81.32%
Pacific    Sierra Coastal      8/22/2020         90.24%              93.00%    77.07%
Southern   Alabama              1/4/2020         93.75%              93.69%    84.57%
Southern   Alabama             1/11/2020         93.38%              91.55%    86.76%


                                      51 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2598 Page 52 of 74


Southern   Alabama            1/18/2020         94.51%              92.36%    88.71%
Southern   Alabama            1/25/2020         93.62%              93.22%    89.00%
Southern   Alabama             2/1/2020         92.53%              93.33%    86.17%
Southern   Alabama             2/8/2020         93.17%              94.79%    88.67%
Southern   Alabama            2/15/2020         94.89%              94.89%    89.58%
Southern   Alabama            2/22/2020         93.29%              94.70%    87.22%
Southern   Alabama            2/29/2020         93.63%              93.57%    89.60%
Southern   Alabama             3/7/2020         93.60%              94.38%    88.10%
Southern   Alabama            3/14/2020         93.32%              94.19%    88.98%
Southern   Alabama            3/21/2020         94.72%              93.86%    80.66%
Southern   Alabama            3/28/2020         94.16%              94.27%    82.73%
Southern   Alabama             4/1/2020         94.12%              93.69%    87.68%
Southern   Alabama             4/4/2020         93.73%              93.93%    88.96%
Southern   Alabama            4/11/2020         91.43%              92.54%    76.13%
Southern   Alabama            4/18/2020         93.46%              93.44%    84.55%
Southern   Alabama            4/25/2020         93.01%              92.54%    81.66%
Southern   Alabama             5/2/2020         92.22%              91.39%    79.59%
Southern   Alabama             5/9/2020         91.93%              84.63%    65.69%
Southern   Alabama            5/16/2020         92.88%              86.15%    76.73%
Southern   Alabama            5/23/2020         93.38%              89.63%    71.94%
Southern   Alabama            5/30/2020         92.45%              89.43%    73.48%
Southern   Alabama             6/6/2020         91.60%              87.84%    71.85%
Southern   Alabama            6/13/2020         92.00%              84.46%    67.63%
Southern   Alabama            6/20/2020         91.45%              83.79%    72.57%
Southern   Alabama            6/27/2020         90.63%              87.18%    81.73%
Southern   Alabama             7/1/2020         92.38%              92.23%    75.82%
Southern   Alabama             7/4/2020         91.04%              87.89%    82.05%
Southern   Alabama            7/11/2020         88.21%              86.64%    68.64%
Southern   Alabama            7/18/2020         87.64%              89.16%    76.37%
Southern   Alabama            7/25/2020         87.53%              89.43%    76.08%
Southern   Alabama             8/1/2020         86.30%              86.57%    71.17%
Southern   Alabama             8/8/2020         84.59%              87.02%    65.25%
Southern   Alabama            8/15/2020         88.60%              89.90%    74.73%
Southern   Alabama            8/22/2020         89.06%              92.54%    73.39%
Southern   Arkansas            1/4/2020         91.55%              89.90%    87.59%
Southern   Arkansas           1/11/2020         92.74%              89.59%    87.04%
Southern   Arkansas           1/18/2020         94.56%              90.61%    90.27%
Southern   Arkansas           1/25/2020         92.24%              93.07%    92.97%
Southern   Arkansas            2/1/2020         93.01%              92.40%    87.56%
Southern   Arkansas            2/8/2020         93.07%              95.32%    89.30%
Southern   Arkansas           2/15/2020         94.50%              94.07%    89.58%
Southern   Arkansas           2/22/2020         92.22%              92.05%    89.54%
Southern   Arkansas           2/29/2020         93.54%              95.07%    87.01%
Southern   Arkansas            3/7/2020         93.10%              93.96%    89.16%
Southern   Arkansas           3/14/2020         92.96%              93.41%    86.17%
Southern   Arkansas           3/21/2020         94.32%              94.56%    88.80%
Southern   Arkansas           3/28/2020         94.80%              95.20%    78.26%


                                     52 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2599 Page 53 of 74


Southern   Arkansas            4/1/2020         93.72%              94.05%    82.08%
Southern   Arkansas            4/4/2020         94.09%              95.62%    88.79%
Southern   Arkansas           4/11/2020         93.12%              92.59%    65.36%
Southern   Arkansas           4/18/2020         94.59%              95.45%    86.69%
Southern   Arkansas           4/25/2020         93.60%              94.51%    88.32%
Southern   Arkansas            5/2/2020         93.89%              93.68%    84.01%
Southern   Arkansas            5/9/2020         92.97%              91.49%    76.24%
Southern   Arkansas           5/16/2020         93.73%              89.72%    86.17%
Southern   Arkansas           5/23/2020         93.35%              84.60%    85.80%
Southern   Arkansas           5/30/2020         92.83%              86.92%    77.15%
Southern   Arkansas            6/6/2020         92.56%              89.28%    75.57%
Southern   Arkansas           6/13/2020         94.02%              92.12%    80.36%
Southern   Arkansas           6/20/2020         92.43%              91.13%    85.79%
Southern   Arkansas           6/27/2020         92.87%              93.78%    84.29%
Southern   Arkansas            7/1/2020         92.70%              91.67%    81.16%
Southern   Arkansas            7/4/2020         92.70%              86.56%    79.11%
Southern   Arkansas           7/11/2020         88.97%              86.19%    74.91%
Southern   Arkansas           7/18/2020         88.35%              85.90%    75.58%
Southern   Arkansas           7/25/2020         88.27%              85.71%    72.34%
Southern   Arkansas            8/1/2020         88.02%              86.15%    67.47%
Southern   Arkansas            8/8/2020         87.38%              87.37%    67.41%
Southern   Arkansas           8/15/2020         88.08%              87.05%    73.27%
Southern   Arkansas           8/22/2020         91.11%              86.80%    79.33%
Southern   Dallas              1/4/2020         91.80%              89.63%    80.93%
Southern   Dallas             1/11/2020         88.60%              80.52%    75.81%
Southern   Dallas             1/18/2020         92.90%              84.18%    73.88%
Southern   Dallas             1/25/2020         91.13%              87.50%    87.23%
Southern   Dallas              2/1/2020         91.06%              86.77%    82.54%
Southern   Dallas              2/8/2020         92.35%              90.02%    84.40%
Southern   Dallas             2/15/2020         94.38%              91.37%    85.41%
Southern   Dallas             2/22/2020         92.89%              92.08%    86.19%
Southern   Dallas             2/29/2020         92.71%              89.90%    82.76%
Southern   Dallas              3/7/2020         92.34%              91.46%    84.51%
Southern   Dallas             3/14/2020         92.40%              89.80%    82.97%
Southern   Dallas             3/21/2020         93.76%              91.99%    84.92%
Southern   Dallas             3/28/2020         92.77%              93.87%    79.93%
Southern   Dallas              4/1/2020         90.88%              86.37%    87.17%
Southern   Dallas              4/4/2020         90.00%              90.63%    72.75%
Southern   Dallas             4/11/2020         88.97%              92.32%    76.81%
Southern   Dallas             4/18/2020         91.06%              94.36%    89.63%
Southern   Dallas             4/25/2020         91.36%              92.20%    90.89%
Southern   Dallas              5/2/2020         90.29%              91.64%    83.95%
Southern   Dallas              5/9/2020         90.76%              90.57%    56.56%
Southern   Dallas             5/16/2020         92.10%              92.92%    83.32%
Southern   Dallas             5/23/2020         93.24%              90.60%    81.61%
Southern   Dallas             5/30/2020         91.27%              92.85%    81.91%
Southern   Dallas              6/6/2020         90.32%              91.76%    81.31%


                                     53 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2600 Page 54 of 74


Southern   Dallas             6/13/2020         91.86%              92.72%    82.65%
Southern   Dallas             6/20/2020         90.56%              92.41%    78.23%
Southern   Dallas             6/27/2020         91.04%              94.91%    79.53%
Southern   Dallas              7/1/2020         92.35%              88.97%    83.92%
Southern   Dallas              7/4/2020         89.25%              87.40%    73.83%
Southern   Dallas             7/11/2020         84.17%              69.00%    66.23%
Southern   Dallas             7/18/2020         78.86%              64.08%    55.72%
Southern   Dallas             7/25/2020         82.80%              83.44%    57.69%
Southern   Dallas              8/1/2020         84.51%              84.69%    62.74%
Southern   Dallas              8/8/2020         80.59%              85.33%    52.44%
Southern   Dallas             8/15/2020         85.63%              86.65%    58.72%
Southern   Dallas             8/22/2020         89.11%              92.15%    67.86%
Southern   Ft Worth            1/4/2020         91.70%              93.16%    85.46%
Southern   Ft Worth           1/11/2020         92.02%              91.74%    88.31%
Southern   Ft Worth           1/18/2020         93.46%              89.11%    79.39%
Southern   Ft Worth           1/25/2020         90.94%              92.26%    89.70%
Southern   Ft Worth            2/1/2020         88.78%              90.13%    81.37%
Southern   Ft Worth            2/8/2020         91.51%              92.21%    87.42%
Southern   Ft Worth           2/15/2020         94.10%              91.94%    84.52%
Southern   Ft Worth           2/22/2020         92.46%              91.69%    79.75%
Southern   Ft Worth           2/29/2020         92.97%              93.61%    82.20%
Southern   Ft Worth            3/7/2020         92.36%              91.64%    75.62%
Southern   Ft Worth           3/14/2020         90.47%              86.51%    80.77%
Southern   Ft Worth           3/21/2020         93.25%              93.15%    85.54%
Southern   Ft Worth           3/28/2020         92.02%              94.45%    89.48%
Southern   Ft Worth            4/1/2020         93.42%              89.98%    79.26%
Southern   Ft Worth            4/4/2020         92.19%              95.93%    87.42%
Southern   Ft Worth           4/11/2020         91.27%              93.73%    83.87%
Southern   Ft Worth           4/18/2020         92.83%              95.76%    84.42%
Southern   Ft Worth           4/25/2020         92.24%              89.29%    82.38%
Southern   Ft Worth            5/2/2020         90.05%              86.08%    62.41%
Southern   Ft Worth            5/9/2020         89.74%              85.79%    62.08%
Southern   Ft Worth           5/16/2020         90.70%              83.03%    61.40%
Southern   Ft Worth           5/23/2020         92.71%              88.79%    70.03%
Southern   Ft Worth           5/30/2020         91.21%              94.75%    82.97%
Southern   Ft Worth            6/6/2020         89.29%              92.35%    82.61%
Southern   Ft Worth           6/13/2020         90.19%              91.59%    78.94%
Southern   Ft Worth           6/20/2020         89.92%              90.99%    78.85%
Southern   Ft Worth           6/27/2020         88.94%              91.68%    71.56%
Southern   Ft Worth            7/1/2020         91.63%              91.47%    76.97%
Southern   Ft Worth            7/4/2020         89.71%              89.18%    71.24%
Southern   Ft Worth           7/11/2020         84.01%              81.22%    66.65%
Southern   Ft Worth           7/18/2020         80.50%              73.87%    58.57%
Southern   Ft Worth           7/25/2020         82.53%              80.50%    69.62%
Southern   Ft Worth            8/1/2020         81.48%              83.04%    72.51%
Southern   Ft Worth            8/8/2020         84.09%              82.33%    61.84%
Southern   Ft Worth           8/15/2020         86.04%              84.53%    58.56%


                                     54 of 74                   USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2601 Page 55 of 74


Southern    Ft Worth           8/22/2020          88.49%             87.40%    73.43%
Southern    Gulf Atlantic       1/4/2020          92.29%             92.87%    87.45%
Southern    Gulf Atlantic      1/11/2020          91.84%             90.51%    87.60%
Southern    Gulf Atlantic      1/18/2020          94.00%             88.89%    90.35%
Southern    Gulf Atlantic      1/25/2020          91.66%             88.33%    86.35%
Southern    Gulf Atlantic       2/1/2020          92.47%             91.38%    85.68%
Southern    Gulf Atlantic       2/8/2020          93.11%             90.65%    84.77%
Southern    Gulf Atlantic      2/15/2020          93.92%             89.41%    90.74%
Southern    Gulf Atlantic      2/22/2020          92.23%             93.08%    89.50%
Southern    Gulf Atlantic      2/29/2020          93.88%             91.54%    84.11%
Southern    Gulf Atlantic       3/7/2020          92.23%             90.86%    87.92%
Southern    Gulf Atlantic      3/14/2020          91.97%             88.02%    83.22%
Southern    Gulf Atlantic      3/21/2020          93.71%             93.31%    90.18%
Southern    Gulf Atlantic      3/28/2020          93.96%             95.83%    88.01%
Southern    Gulf Atlantic       4/1/2020          94.63%             92.56%    89.21%
Southern    Gulf Atlantic       4/4/2020          92.24%             95.10%    88.67%
Southern    Gulf Atlantic      4/11/2020          92.69%             94.38%    80.85%
Southern    Gulf Atlantic      4/18/2020          93.70%             92.24%    85.27%
Southern    Gulf Atlantic      4/25/2020          92.14%             92.56%    81.49%
Southern    Gulf Atlantic       5/2/2020          92.86%             93.63%    76.68%
Southern    Gulf Atlantic       5/9/2020          92.12%             92.07%    77.30%
Southern    Gulf Atlantic      5/16/2020          93.08%             93.36%    85.07%
Southern    Gulf Atlantic      5/23/2020          93.64%             91.32%    84.21%
Southern    Gulf Atlantic      5/30/2020          91.71%             91.52%    78.98%
Southern    Gulf Atlantic       6/6/2020          91.89%             90.85%    83.14%
Southern    Gulf Atlantic      6/13/2020          92.80%             90.94%    72.93%
Southern    Gulf Atlantic      6/20/2020          91.54%             92.28%    86.49%
Southern    Gulf Atlantic      6/27/2020          91.48%             93.93%    83.10%
Southern    Gulf Atlantic       7/1/2020          93.72%             91.42%    83.06%
Southern    Gulf Atlantic       7/4/2020          92.00%             90.01%    83.03%
Southern    Gulf Atlantic      7/11/2020          86.72%             83.12%    80.75%
Southern    Gulf Atlantic      7/18/2020          83.76%             80.64%    70.55%
Southern    Gulf Atlantic      7/25/2020          88.26%             86.90%    67.29%
Southern    Gulf Atlantic       8/1/2020          86.26%             81.72%    61.06%
Southern    Gulf Atlantic       8/8/2020          85.15%             87.27%    71.49%
Southern    Gulf Atlantic      8/15/2020          88.83%             89.12%    76.32%
Southern    Gulf Atlantic      8/22/2020          88.89%             90.23%    73.64%
Southern    Houston             1/4/2020          91.35%             89.75%    87.43%
Southern    Houston            1/11/2020          88.08%             83.91%    83.10%
Southern    Houston            1/18/2020          91.91%             87.72%    84.32%
Southern    Houston            1/25/2020          89.89%             90.04%    89.37%
Southern    Houston             2/1/2020          87.92%             88.21%    86.36%
Southern    Houston             2/8/2020          89.27%             91.75%    87.50%
Southern    Houston            2/15/2020          91.76%             92.40%    86.10%
Southern    Houston            2/22/2020          90.66%             93.32%    86.15%
Southern    Houston            2/29/2020          92.12%             92.51%    86.23%
Southern    Houston             3/7/2020          90.47%             92.03%    87.02%


                                       55 of 74                  USPS00002260_District
   Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2602 Page 56 of 74


Southern    Houston            3/14/2020          86.45%             88.57%    86.36%
Southern    Houston            3/21/2020          90.93%             93.37%    88.29%
Southern    Houston            3/28/2020          91.73%             95.64%    91.87%
Southern    Houston             4/1/2020          93.78%             94.37%    81.34%
Southern    Houston             4/4/2020          92.27%             95.36%    86.81%
Southern    Houston            4/11/2020          88.96%             95.05%    84.69%
Southern    Houston            4/18/2020          91.17%             95.17%    86.59%
Southern    Houston            4/25/2020          91.09%             93.15%    77.29%
Southern    Houston             5/2/2020          90.37%             90.69%    73.94%
Southern    Houston             5/9/2020          87.69%             88.46%    62.20%
Southern    Houston            5/16/2020          89.91%             93.30%    78.23%
Southern    Houston            5/23/2020          91.81%             91.80%    83.26%
Southern    Houston            5/30/2020          90.26%             94.29%    87.47%
Southern    Houston             6/6/2020          90.71%             92.75%    86.25%
Southern    Houston            6/13/2020          91.07%             90.85%    84.42%
Southern    Houston            6/20/2020          90.53%             92.73%    84.79%
Southern    Houston            6/27/2020          91.04%             92.73%    83.93%
Southern    Houston             7/1/2020          91.95%             91.38%    91.69%
Southern    Houston             7/4/2020          91.44%             86.45%    78.27%
Southern    Houston            7/11/2020          83.98%             86.02%    81.47%
Southern    Houston            7/18/2020          80.81%             86.92%    73.68%
Southern    Houston            7/25/2020          82.02%             82.90%    75.26%
Southern    Houston             8/1/2020          81.80%             83.58%    76.67%
Southern    Houston             8/8/2020          78.45%             85.23%    71.59%
Southern    Houston            8/15/2020          84.55%             87.57%    66.58%
Southern    Houston            8/22/2020          88.39%             91.73%    78.41%
Southern    Louisiana           1/4/2020          91.39%             88.65%    81.19%
Southern    Louisiana          1/11/2020          91.75%             88.40%    83.32%
Southern    Louisiana          1/18/2020          93.51%             84.50%    84.26%
Southern    Louisiana          1/25/2020          92.13%             89.56%    87.38%
Southern    Louisiana           2/1/2020          92.31%             88.31%    85.00%
Southern    Louisiana           2/8/2020          91.66%             88.98%    80.45%
Southern    Louisiana          2/15/2020          92.98%             88.21%    78.41%
Southern    Louisiana          2/22/2020          90.00%             82.86%    77.99%
Southern    Louisiana          2/29/2020          92.59%             88.41%    83.03%
Southern    Louisiana           3/7/2020          91.54%             87.60%    79.81%
Southern    Louisiana          3/14/2020          92.31%             85.86%    76.11%
Southern    Louisiana          3/21/2020          93.29%             91.12%    83.57%
Southern    Louisiana          3/28/2020          91.42%             91.76%    78.81%
Southern    Louisiana           4/1/2020          93.21%             87.94%    63.34%
Southern    Louisiana           4/4/2020          94.15%             90.55%    83.47%
Southern    Louisiana          4/11/2020          91.23%             91.65%    71.48%
Southern    Louisiana          4/18/2020          92.67%             89.90%    85.97%
Southern    Louisiana          4/25/2020          90.71%             86.28%    70.10%
Southern    Louisiana           5/2/2020          91.32%             90.01%    76.58%
Southern    Louisiana           5/9/2020          90.58%             86.92%    58.99%
Southern    Louisiana          5/16/2020          91.70%             86.07%    73.95%


                                       56 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2603 Page 57 of 74


Southern   Louisiana          5/23/2020          91.68%             85.03%    78.81%
Southern   Louisiana          5/30/2020          91.29%             85.30%    70.48%
Southern   Louisiana           6/6/2020          89.03%             82.13%    68.03%
Southern   Louisiana          6/13/2020          91.20%             87.13%    69.01%
Southern   Louisiana          6/20/2020          86.00%             85.97%    66.27%
Southern   Louisiana          6/27/2020          85.38%             85.51%    79.82%
Southern   Louisiana           7/1/2020          89.43%             82.96%    70.07%
Southern   Louisiana           7/4/2020          88.04%             79.19%    65.41%
Southern   Louisiana          7/11/2020          83.75%             75.80%    58.57%
Southern   Louisiana          7/18/2020          81.80%             68.22%    61.33%
Southern   Louisiana          7/25/2020          80.49%             70.34%    49.94%
Southern   Louisiana           8/1/2020          82.08%             69.30%    45.12%
Southern   Louisiana           8/8/2020          73.71%             73.13%    42.82%
Southern   Louisiana          8/15/2020          79.20%             80.59%    53.34%
Southern   Louisiana          8/22/2020          74.01%             82.49%    56.21%
Southern   Mississippi         1/4/2020          90.57%             91.96%    80.94%
Southern   Mississippi        1/11/2020          91.83%             88.43%    82.97%
Southern   Mississippi        1/18/2020          93.09%             84.44%    93.10%
Southern   Mississippi        1/25/2020          91.30%             86.87%    87.49%
Southern   Mississippi         2/1/2020          90.28%             90.11%    79.62%
Southern   Mississippi         2/8/2020          92.62%             91.65%    89.83%
Southern   Mississippi        2/15/2020          94.26%             89.74%    88.95%
Southern   Mississippi        2/22/2020          92.49%             92.61%    84.94%
Southern   Mississippi        2/29/2020          93.33%             93.62%    85.93%
Southern   Mississippi         3/7/2020          92.41%             90.19%    87.92%
Southern   Mississippi        3/14/2020          91.27%             87.37%    89.49%
Southern   Mississippi        3/21/2020          93.97%             93.65%    88.36%
Southern   Mississippi        3/28/2020          94.78%             94.69%    77.39%
Southern   Mississippi         4/1/2020          93.77%             92.05%    87.58%
Southern   Mississippi         4/4/2020          94.09%             94.81%    86.52%
Southern   Mississippi        4/11/2020          91.00%             94.42%    88.22%
Southern   Mississippi        4/18/2020          94.46%             91.05%    85.26%
Southern   Mississippi        4/25/2020          91.93%             92.65%    72.38%
Southern   Mississippi         5/2/2020          91.83%             88.41%    71.15%
Southern   Mississippi         5/9/2020          92.03%             89.01%    84.06%
Southern   Mississippi        5/16/2020          91.85%             87.46%    72.09%
Southern   Mississippi        5/23/2020          92.57%             85.57%    74.66%
Southern   Mississippi        5/30/2020          90.68%             84.77%    52.76%
Southern   Mississippi         6/6/2020          88.96%             81.65%    56.19%
Southern   Mississippi        6/13/2020          90.76%             85.71%    65.85%
Southern   Mississippi        6/20/2020          89.71%             91.11%    78.81%
Southern   Mississippi        6/27/2020          92.15%             90.35%    77.12%
Southern   Mississippi         7/1/2020          91.91%             85.89%    31.48%
Southern   Mississippi         7/4/2020          90.68%             83.44%    54.60%
Southern   Mississippi        7/11/2020          90.19%             83.16%    72.67%
Southern   Mississippi        7/18/2020          86.62%             76.84%    76.22%
Southern   Mississippi        7/25/2020          87.68%             80.16%    74.94%


                                      57 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2604 Page 58 of 74


Southern   Mississippi         8/1/2020          86.74%             80.39%    75.93%
Southern   Mississippi         8/8/2020          86.76%             88.38%    76.60%
Southern   Mississippi        8/15/2020          87.26%             88.83%    79.73%
Southern   Mississippi        8/22/2020          89.44%             86.29%    73.44%
Southern   Oklahoma            1/4/2020          94.49%             93.72%    88.59%
Southern   Oklahoma           1/11/2020          93.33%             90.38%    89.42%
Southern   Oklahoma           1/18/2020          94.86%             92.45%    89.85%
Southern   Oklahoma           1/25/2020          93.54%             92.92%    92.97%
Southern   Oklahoma            2/1/2020          93.10%             92.08%    92.77%
Southern   Oklahoma            2/8/2020          92.77%             93.87%    92.54%
Southern   Oklahoma           2/15/2020          95.39%             92.54%    92.52%
Southern   Oklahoma           2/22/2020          94.19%             93.86%    91.87%
Southern   Oklahoma           2/29/2020          94.71%             94.19%    86.70%
Southern   Oklahoma            3/7/2020          94.62%             93.60%    91.95%
Southern   Oklahoma           3/14/2020          93.89%             93.87%    87.21%
Southern   Oklahoma           3/21/2020          94.97%             94.06%    93.26%
Southern   Oklahoma           3/28/2020          95.28%             95.95%    90.60%
Southern   Oklahoma            4/1/2020          95.83%             92.91%    97.05%
Southern   Oklahoma            4/4/2020          93.99%             94.97%    91.19%
Southern   Oklahoma           4/11/2020          94.48%             94.89%    87.69%
Southern   Oklahoma           4/18/2020          95.02%             95.66%    89.07%
Southern   Oklahoma           4/25/2020          93.90%             93.63%    90.10%
Southern   Oklahoma            5/2/2020          92.67%             91.53%    85.18%
Southern   Oklahoma            5/9/2020          93.42%             92.85%    89.58%
Southern   Oklahoma           5/16/2020          94.14%             94.25%    86.48%
Southern   Oklahoma           5/23/2020          94.25%             91.23%    87.49%
Southern   Oklahoma           5/30/2020          92.91%             93.32%    90.57%
Southern   Oklahoma            6/6/2020          93.22%             92.55%    88.75%
Southern   Oklahoma           6/13/2020          93.72%             94.75%    86.45%
Southern   Oklahoma           6/20/2020          93.37%             94.32%    88.47%
Southern   Oklahoma           6/27/2020          93.44%             95.01%    85.53%
Southern   Oklahoma            7/1/2020          92.98%             92.97%    91.41%
Southern   Oklahoma            7/4/2020          92.61%             92.25%    79.47%
Southern   Oklahoma           7/11/2020          89.79%             87.33%    85.92%
Southern   Oklahoma           7/18/2020          88.83%             84.37%    80.93%
Southern   Oklahoma           7/25/2020          90.28%             87.72%    71.68%
Southern   Oklahoma            8/1/2020          89.18%             84.16%    83.80%
Southern   Oklahoma            8/8/2020          85.15%             87.52%    67.68%
Southern   Oklahoma           8/15/2020          89.64%             91.21%    84.36%
Southern   Oklahoma           8/22/2020          92.89%             94.74%    87.26%
Southern   Rio Grande          1/4/2020          92.24%             92.80%    86.08%
Southern   Rio Grande         1/11/2020          92.95%             90.41%    89.65%
Southern   Rio Grande         1/18/2020          94.55%             90.02%    89.66%
Southern   Rio Grande         1/25/2020          92.61%             93.29%    92.43%
Southern   Rio Grande          2/1/2020          92.82%             92.19%    86.99%
Southern   Rio Grande          2/8/2020          92.82%             94.33%    88.52%
Southern   Rio Grande         2/15/2020          94.77%             92.87%    90.09%


                                      58 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2605 Page 59 of 74


Southern   Rio Grande         2/22/2020          93.30%             94.68%    87.18%
Southern   Rio Grande         2/29/2020          92.61%             93.53%    90.54%
Southern   Rio Grande          3/7/2020          92.50%             93.90%    86.71%
Southern   Rio Grande         3/14/2020          93.18%             93.59%    86.81%
Southern   Rio Grande         3/21/2020          93.17%             94.06%    87.05%
Southern   Rio Grande         3/28/2020          93.08%             96.19%    91.16%
Southern   Rio Grande          4/1/2020          93.15%             93.99%    93.87%
Southern   Rio Grande          4/4/2020          93.58%             95.67%    91.16%
Southern   Rio Grande         4/11/2020          92.13%             94.48%    83.47%
Southern   Rio Grande         4/18/2020          92.58%             94.98%    90.58%
Southern   Rio Grande         4/25/2020          92.25%             94.20%    86.65%
Southern   Rio Grande          5/2/2020          91.45%             92.74%    84.17%
Southern   Rio Grande          5/9/2020          91.21%             93.44%    83.51%
Southern   Rio Grande         5/16/2020          92.63%             94.43%    83.60%
Southern   Rio Grande         5/23/2020          93.03%             91.99%    83.35%
Southern   Rio Grande         5/30/2020          92.14%             93.76%    85.73%
Southern   Rio Grande          6/6/2020          91.71%             92.80%    81.71%
Southern   Rio Grande         6/13/2020          91.51%             91.29%    82.13%
Southern   Rio Grande         6/20/2020          90.80%             91.48%    77.38%
Southern   Rio Grande         6/27/2020          89.60%             90.00%    71.83%
Southern   Rio Grande          7/1/2020          92.30%             91.17%    83.20%
Southern   Rio Grande          7/4/2020          92.24%             85.61%    73.28%
Southern   Rio Grande         7/11/2020          82.66%             69.08%    74.14%
Southern   Rio Grande         7/18/2020          85.69%             75.00%    68.65%
Southern   Rio Grande         7/25/2020          85.26%             74.65%    73.99%
Southern   Rio Grande          8/1/2020          86.58%             79.06%    69.58%
Southern   Rio Grande          8/8/2020          85.21%             86.08%    71.05%
Southern   Rio Grande         8/15/2020          88.28%             89.10%    74.77%
Southern   Rio Grande         8/22/2020          89.16%             93.69%    77.70%
Southern   South Florida       1/4/2020          91.89%             91.07%    84.43%
Southern   South Florida      1/11/2020          91.12%             88.70%    84.90%
Southern   South Florida      1/18/2020          93.19%             87.56%    86.37%
Southern   South Florida      1/25/2020          91.71%             88.87%    86.17%
Southern   South Florida       2/1/2020          90.94%             87.46%    86.83%
Southern   South Florida       2/8/2020          90.57%             89.29%    85.75%
Southern   South Florida      2/15/2020          92.49%             89.49%    86.84%
Southern   South Florida      2/22/2020          92.55%             91.78%    87.89%
Southern   South Florida      2/29/2020          93.24%             90.24%    85.82%
Southern   South Florida       3/7/2020          92.29%             90.49%    83.10%
Southern   South Florida      3/14/2020          92.66%             91.24%    82.91%
Southern   South Florida      3/21/2020          92.65%             92.00%    84.78%
Southern   South Florida      3/28/2020          92.42%             94.00%    78.10%
Southern   South Florida       4/1/2020          92.73%             91.18%    86.47%
Southern   South Florida       4/4/2020          91.43%             93.30%    85.13%
Southern   South Florida      4/11/2020          90.58%             93.30%    81.06%
Southern   South Florida      4/18/2020          91.84%             91.88%    79.50%
Southern   South Florida      4/25/2020          91.80%             89.50%    81.66%


                                      59 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2606 Page 60 of 74


Southern   South Florida       5/2/2020          91.79%             92.27%    79.69%
Southern   South Florida       5/9/2020          88.90%             90.66%    71.32%
Southern   South Florida      5/16/2020          90.98%             90.61%    71.75%
Southern   South Florida      5/23/2020          92.11%             86.73%    74.64%
Southern   South Florida      5/30/2020          89.44%             90.38%    80.08%
Southern   South Florida       6/6/2020          90.64%             89.18%    68.24%
Southern   South Florida      6/13/2020          91.65%             90.46%    86.68%
Southern   South Florida      6/20/2020          89.60%             88.62%    82.72%
Southern   South Florida      6/27/2020          89.11%             92.28%    80.13%
Southern   South Florida       7/1/2020          91.77%             91.19%    77.48%
Southern   South Florida       7/4/2020          90.57%             89.04%    76.72%
Southern   South Florida      7/11/2020          85.21%             82.13%    70.95%
Southern   South Florida      7/18/2020          77.95%             78.42%    67.67%
Southern   South Florida      7/25/2020          84.11%             81.30%    69.12%
Southern   South Florida       8/1/2020          80.16%             78.38%    65.64%
Southern   South Florida       8/8/2020          79.67%             79.57%    71.66%
Southern   South Florida      8/15/2020          80.82%             79.62%    68.76%
Southern   South Florida      8/22/2020          85.47%             82.99%    73.90%
Southern   Suncoast            1/4/2020          90.93%             89.27%    84.10%
Southern   Suncoast           1/11/2020          91.40%             85.89%    84.60%
Southern   Suncoast           1/18/2020          93.29%             88.91%    87.98%
Southern   Suncoast           1/25/2020          90.57%             89.67%    87.50%
Southern   Suncoast            2/1/2020          92.54%             91.50%    89.27%
Southern   Suncoast            2/8/2020          92.78%             91.89%    90.66%
Southern   Suncoast           2/15/2020          94.29%             92.73%    88.97%
Southern   Suncoast           2/22/2020          93.59%             92.27%    87.65%
Southern   Suncoast           2/29/2020          93.67%             92.43%    89.63%
Southern   Suncoast            3/7/2020          92.75%             91.19%    85.61%
Southern   Suncoast           3/14/2020          92.36%             90.79%    88.02%
Southern   Suncoast           3/21/2020          93.47%             92.44%    85.52%
Southern   Suncoast           3/28/2020          92.96%             94.83%    89.79%
Southern   Suncoast            4/1/2020          93.64%             92.50%    83.21%
Southern   Suncoast            4/4/2020          92.58%             95.09%    89.82%
Southern   Suncoast           4/11/2020          92.31%             94.08%    80.63%
Southern   Suncoast           4/18/2020          93.00%             92.42%    87.14%
Southern   Suncoast           4/25/2020          92.65%             91.88%    85.63%
Southern   Suncoast            5/2/2020          91.52%             93.63%    85.11%
Southern   Suncoast            5/9/2020          90.24%             90.84%    70.29%
Southern   Suncoast           5/16/2020          92.46%             93.50%    80.25%
Southern   Suncoast           5/23/2020          93.59%             91.61%    83.75%
Southern   Suncoast           5/30/2020          90.66%             91.17%    85.01%
Southern   Suncoast            6/6/2020          91.21%             90.04%    85.03%
Southern   Suncoast           6/13/2020          92.97%             91.59%    89.06%
Southern   Suncoast           6/20/2020          90.90%             90.30%    82.88%
Southern   Suncoast           6/27/2020          90.56%             91.03%    74.17%
Southern   Suncoast            7/1/2020          93.04%             89.59%    87.07%
Southern   Suncoast            7/4/2020          89.54%             88.91%    83.65%


                                      60 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2607 Page 61 of 74


Southern   Suncoast           7/11/2020         80.09%              76.97%    79.92%
Southern   Suncoast           7/18/2020         75.24%              70.29%    72.52%
Southern   Suncoast           7/25/2020         85.11%              76.04%    80.74%
Southern   Suncoast            8/1/2020         85.30%              83.34%    75.11%
Southern   Suncoast            8/8/2020         85.21%              89.39%    80.11%
Southern   Suncoast           8/15/2020         89.27%              89.23%    79.03%
Southern   Suncoast           8/22/2020         89.40%              89.63%    80.15%
Western    Alaska              1/4/2020         89.12%              89.95%    77.51%
Western    Alaska             1/11/2020         91.09%              91.23%    70.03%
Western    Alaska             1/18/2020         92.57%              92.92%    87.30%
Western    Alaska             1/25/2020         91.22%              95.96%    94.81%
Western    Alaska              2/1/2020         90.77%              95.96%    92.22%
Western    Alaska              2/8/2020         91.89%              81.83%    89.98%
Western    Alaska             2/15/2020         93.62%              82.09%    82.84%
Western    Alaska             2/22/2020         93.30%              98.05%    87.40%
Western    Alaska             2/29/2020         92.97%              96.95%    90.65%
Western    Alaska              3/7/2020         92.41%              82.13%    88.96%
Western    Alaska             3/14/2020         92.02%              90.51%    91.68%
Western    Alaska             3/21/2020         91.98%              82.23%    93.83%
Western    Alaska             3/28/2020         91.79%              98.65%    94.61%
Western    Alaska              4/1/2020         90.26%              97.44%    87.95%
Western    Alaska              4/4/2020         92.88%              63.97%    82.56%
Western    Alaska             4/11/2020         91.36%              85.17%    89.33%
Western    Alaska             4/18/2020         91.79%              85.33%    93.03%
Western    Alaska             4/25/2020         92.74%              93.27%    95.57%
Western    Alaska              5/2/2020         92.00%              96.59%    84.45%
Western    Alaska              5/9/2020         92.51%              86.77%    94.42%
Western    Alaska             5/16/2020         92.31%              84.57%    94.22%
Western    Alaska             5/23/2020         91.24%              83.79%    89.05%
Western    Alaska             5/30/2020         91.29%              97.20%    93.93%
Western    Alaska              6/6/2020         92.12%              84.72%    88.72%
Western    Alaska             6/13/2020         92.14%              98.43%    91.14%
Western    Alaska             6/20/2020         91.63%              93.65%    91.63%
Western    Alaska             6/27/2020         91.79%              97.65%    94.91%
Western    Alaska              7/1/2020         93.87%              95.72%    83.10%
Western    Alaska              7/4/2020         90.82%              93.84%    77.28%
Western    Alaska             7/11/2020         91.14%              84.23%    89.93%
Western    Alaska             7/18/2020         88.31%              98.32%    86.89%
Western    Alaska             7/25/2020         89.01%              96.55%    86.79%
Western    Alaska              8/1/2020         89.67%              85.73%    84.11%
Western    Alaska              8/8/2020         87.07%              85.01%    87.66%
Western    Alaska             8/15/2020         86.51%              83.98%    87.43%
Western    Alaska             8/22/2020         89.43%              97.04%    88.93%
Western    Arizona             1/4/2020         91.44%              90.90%    87.48%
Western    Arizona            1/11/2020         92.39%              90.37%    88.93%
Western    Arizona            1/18/2020         93.78%              91.48%    91.61%
Western    Arizona            1/25/2020         92.11%              92.30%    87.41%


                                     61 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB    ECF No. 80-1   filed 09/16/20   PageID.2608 Page 62 of 74


Western    Arizona              2/1/2020         90.48%              90.42%    88.40%
Western    Arizona              2/8/2020         91.36%              91.31%    91.33%
Western    Arizona             2/15/2020         94.34%              90.26%    89.94%
Western    Arizona             2/22/2020         91.43%              89.61%    86.20%
Western    Arizona             2/29/2020         92.61%              92.07%    87.45%
Western    Arizona              3/7/2020         90.79%              90.45%    83.11%
Western    Arizona             3/14/2020         91.35%              89.55%    84.60%
Western    Arizona             3/21/2020         92.27%              92.62%    84.98%
Western    Arizona             3/28/2020         89.97%              92.09%    87.23%
Western    Arizona              4/1/2020         91.24%              91.02%    84.14%
Western    Arizona              4/4/2020         91.97%              93.55%    87.65%
Western    Arizona             4/11/2020         91.69%              92.97%    85.42%
Western    Arizona             4/18/2020         92.55%              93.66%    87.24%
Western    Arizona             4/25/2020         90.97%              92.85%    79.71%
Western    Arizona              5/2/2020         92.05%              91.56%    83.51%
Western    Arizona              5/9/2020         90.75%              91.29%    78.45%
Western    Arizona             5/16/2020         92.78%              93.19%    82.85%
Western    Arizona             5/23/2020         93.18%              93.25%    80.82%
Western    Arizona             5/30/2020         91.26%              93.55%    90.11%
Western    Arizona              6/6/2020         91.18%              93.47%    83.96%
Western    Arizona             6/13/2020         91.57%              94.29%    87.73%
Western    Arizona             6/20/2020         91.43%              91.39%    75.74%
Western    Arizona             6/27/2020         90.76%              92.22%    89.36%
Western    Arizona              7/1/2020         92.34%              92.52%    89.27%
Western    Arizona              7/4/2020         92.22%              91.81%    78.46%
Western    Arizona             7/11/2020         86.72%              85.59%    81.28%
Western    Arizona             7/18/2020         86.82%              84.44%    75.31%
Western    Arizona             7/25/2020         87.20%              88.29%    83.38%
Western    Arizona              8/1/2020         87.37%              87.46%    82.52%
Western    Arizona              8/8/2020         87.64%              91.10%    74.70%
Western    Arizona             8/15/2020         88.72%              92.75%    81.88%
Western    Arizona             8/22/2020         89.74%              93.86%    79.93%
Western    Central Plains       1/4/2020         93.81%              94.29%    87.66%
Western    Central Plains      1/11/2020         92.81%              94.03%    90.20%
Western    Central Plains      1/18/2020         95.13%              90.56%    89.51%
Western    Central Plains      1/25/2020         90.74%              95.15%    90.90%
Western    Central Plains       2/1/2020         93.46%              95.09%    89.33%
Western    Central Plains       2/8/2020         94.18%              96.10%    93.70%
Western    Central Plains      2/15/2020         96.17%              95.44%    93.72%
Western    Central Plains      2/22/2020         95.57%              96.63%    93.35%
Western    Central Plains      2/29/2020         95.07%              88.53%    92.05%
Western    Central Plains       3/7/2020         93.98%              94.78%    91.40%
Western    Central Plains      3/14/2020         95.16%              95.87%    91.60%
Western    Central Plains      3/21/2020         94.95%              95.58%    90.45%
Western    Central Plains      3/28/2020         95.70%              96.44%    91.76%
Western    Central Plains       4/1/2020         94.32%              95.90%    91.03%
Western    Central Plains       4/4/2020         93.73%              88.73%    91.65%


                                      62 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB      ECF No. 80-1   filed 09/16/20   PageID.2609 Page 63 of 74


Western    Central Plains        4/11/2020          93.37%             96.51%    89.53%
Western    Central Plains        4/18/2020          94.35%             96.01%    91.79%
Western    Central Plains        4/25/2020          90.93%             95.95%    82.74%
Western    Central Plains         5/2/2020          92.00%             87.64%    89.03%
Western    Central Plains         5/9/2020          92.31%             94.15%    86.45%
Western    Central Plains        5/16/2020          94.04%             87.67%    89.56%
Western    Central Plains        5/23/2020          95.32%             93.74%    90.26%
Western    Central Plains        5/30/2020          91.89%             93.88%    85.47%
Western    Central Plains         6/6/2020          93.00%             93.79%    88.11%
Western    Central Plains        6/13/2020          94.40%             94.37%    88.46%
Western    Central Plains        6/20/2020          94.57%             94.76%    88.82%
Western    Central Plains        6/27/2020          94.18%             96.12%    86.37%
Western    Central Plains         7/1/2020          93.28%             92.00%    88.71%
Western    Central Plains         7/4/2020          93.40%             88.52%    83.72%
Western    Central Plains        7/11/2020          88.97%             92.17%    88.75%
Western    Central Plains        7/18/2020          85.62%             89.39%    86.77%
Western    Central Plains        7/25/2020          87.94%             93.09%    85.38%
Western    Central Plains         8/1/2020          88.67%             84.60%    82.95%
Western    Central Plains         8/8/2020          87.95%             92.40%    81.62%
Western    Central Plains        8/15/2020          86.90%             92.99%    87.48%
Western    Central Plains        8/22/2020          87.00%             94.80%    88.08%
Western    Colorado/Wyoming       1/4/2020          88.39%             83.93%    77.62%
Western    Colorado/Wyoming      1/11/2020          87.00%             84.89%    87.05%
Western    Colorado/Wyoming      1/18/2020          91.54%             87.33%    82.45%
Western    Colorado/Wyoming      1/25/2020          85.95%             88.64%    83.23%
Western    Colorado/Wyoming       2/1/2020          80.11%             81.16%    88.65%
Western    Colorado/Wyoming       2/8/2020          84.99%             86.68%    85.33%
Western    Colorado/Wyoming      2/15/2020          89.54%             86.40%    87.92%
Western    Colorado/Wyoming      2/22/2020          90.81%             92.82%    85.16%
Western    Colorado/Wyoming      2/29/2020          91.51%             90.65%    81.02%
Western    Colorado/Wyoming       3/7/2020          90.67%             88.18%    82.52%
Western    Colorado/Wyoming      3/14/2020          88.70%             88.70%    80.24%
Western    Colorado/Wyoming      3/21/2020          88.05%             89.44%    79.99%
Western    Colorado/Wyoming      3/28/2020          88.28%             91.24%    77.79%
Western    Colorado/Wyoming       4/1/2020          91.36%             86.70%    79.28%
Western    Colorado/Wyoming       4/4/2020          86.13%             82.23%    59.28%
Western    Colorado/Wyoming      4/11/2020          83.42%             77.56%    57.01%
Western    Colorado/Wyoming      4/18/2020          86.07%             87.32%    58.10%
Western    Colorado/Wyoming      4/25/2020          83.31%             85.48%    64.39%
Western    Colorado/Wyoming       5/2/2020          87.76%             87.82%    60.23%
Western    Colorado/Wyoming       5/9/2020          86.39%             89.07%    60.95%
Western    Colorado/Wyoming      5/16/2020          88.50%             91.99%    76.63%
Western    Colorado/Wyoming      5/23/2020          89.88%             92.58%    76.72%
Western    Colorado/Wyoming      5/30/2020          89.26%             94.41%    75.58%
Western    Colorado/Wyoming       6/6/2020          88.21%             82.34%    77.75%
Western    Colorado/Wyoming      6/13/2020          87.71%             89.24%    77.63%
Western    Colorado/Wyoming      6/20/2020          87.47%             91.28%    74.21%


                                         63 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB      ECF No. 80-1   filed 09/16/20   PageID.2610 Page 64 of 74


Western    Colorado/Wyoming      6/27/2020          86.75%             90.70%    77.74%
Western    Colorado/Wyoming       7/1/2020          88.49%             89.54%    76.57%
Western    Colorado/Wyoming       7/4/2020          86.01%             87.67%    82.13%
Western    Colorado/Wyoming      7/11/2020          81.98%             76.38%    64.21%
Western    Colorado/Wyoming      7/18/2020          82.90%             83.32%    77.73%
Western    Colorado/Wyoming      7/25/2020          83.92%             86.28%    61.84%
Western    Colorado/Wyoming       8/1/2020          79.31%             84.49%    72.62%
Western    Colorado/Wyoming       8/8/2020          80.54%             86.69%    69.32%
Western    Colorado/Wyoming      8/15/2020          80.52%             86.82%    66.25%
Western    Colorado/Wyoming      8/22/2020          84.51%             92.04%    76.80%
Western    Dakotas                1/4/2020          91.47%             91.30%    86.24%
Western    Dakotas               1/11/2020          91.89%             87.84%    86.15%
Western    Dakotas               1/18/2020          90.67%             90.58%    85.28%
Western    Dakotas               1/25/2020          90.81%             94.24%    88.69%
Western    Dakotas                2/1/2020          92.19%             92.89%    90.51%
Western    Dakotas                2/8/2020          92.82%             94.26%    90.92%
Western    Dakotas               2/15/2020          94.58%             92.97%    88.88%
Western    Dakotas               2/22/2020          93.85%             95.54%    90.63%
Western    Dakotas               2/29/2020          94.45%             94.41%    89.68%
Western    Dakotas                3/7/2020          93.79%             94.71%    88.59%
Western    Dakotas               3/14/2020          93.80%             95.03%    90.12%
Western    Dakotas               3/21/2020          94.36%             95.27%    85.71%
Western    Dakotas               3/28/2020          93.59%             94.58%    87.04%
Western    Dakotas                4/1/2020          94.58%             94.49%    85.42%
Western    Dakotas                4/4/2020          93.57%             96.12%    91.21%
Western    Dakotas               4/11/2020          93.03%             95.55%    87.28%
Western    Dakotas               4/18/2020          94.25%             94.35%    86.95%
Western    Dakotas               4/25/2020          93.87%             96.01%    86.97%
Western    Dakotas                5/2/2020          93.73%             94.01%    87.87%
Western    Dakotas                5/9/2020          92.41%             92.18%    87.11%
Western    Dakotas               5/16/2020          94.03%             95.03%    87.75%
Western    Dakotas               5/23/2020          94.90%             92.86%    85.34%
Western    Dakotas               5/30/2020          92.40%             94.44%    85.75%
Western    Dakotas                6/6/2020          93.69%             94.85%    89.69%
Western    Dakotas               6/13/2020          94.65%             94.40%    89.55%
Western    Dakotas               6/20/2020          93.85%             93.73%    89.15%
Western    Dakotas               6/27/2020          93.42%             93.15%    88.22%
Western    Dakotas                7/1/2020          94.00%             94.50%    87.16%
Western    Dakotas                7/4/2020          92.57%             88.03%    89.44%
Western    Dakotas               7/11/2020          91.21%             87.45%    87.00%
Western    Dakotas               7/18/2020          89.34%             90.99%    84.63%
Western    Dakotas               7/25/2020          90.73%             90.70%    78.47%
Western    Dakotas                8/1/2020          90.94%             90.58%    83.54%
Western    Dakotas                8/8/2020          89.74%             90.36%    79.98%
Western    Dakotas               8/15/2020          91.20%             91.15%    85.07%
Western    Dakotas               8/22/2020          92.97%             92.88%    80.20%
Western    Hawkeye                1/4/2020          93.25%             94.09%    91.42%


                                         64 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2611 Page 65 of 74


Western    Hawkeye            1/11/2020         91.69%              90.45%    91.58%
Western    Hawkeye            1/18/2020         90.65%              91.03%    77.93%
Western    Hawkeye            1/25/2020         92.77%              93.84%    82.88%
Western    Hawkeye             2/1/2020         92.51%              93.48%    94.08%
Western    Hawkeye             2/8/2020         93.65%              94.28%    91.72%
Western    Hawkeye            2/15/2020         93.22%              95.63%    87.96%
Western    Hawkeye            2/22/2020         93.50%              95.99%    91.21%
Western    Hawkeye            2/29/2020         94.35%              95.59%    90.56%
Western    Hawkeye             3/7/2020         92.68%              95.99%    90.46%
Western    Hawkeye            3/14/2020         93.65%              95.93%    91.18%
Western    Hawkeye            3/21/2020         93.57%              95.56%    91.33%
Western    Hawkeye            3/28/2020         94.03%              96.01%    90.60%
Western    Hawkeye             4/1/2020         94.35%              96.65%    92.98%
Western    Hawkeye             4/4/2020         94.04%              96.70%    90.38%
Western    Hawkeye            4/11/2020         92.92%              96.09%    91.56%
Western    Hawkeye            4/18/2020         94.64%              96.41%    92.60%
Western    Hawkeye            4/25/2020         93.95%              96.95%    87.97%
Western    Hawkeye             5/2/2020         93.15%              94.86%    89.57%
Western    Hawkeye             5/9/2020         92.25%              94.13%    87.58%
Western    Hawkeye            5/16/2020         94.00%              94.41%    90.46%
Western    Hawkeye            5/23/2020         92.83%              94.62%    90.84%
Western    Hawkeye            5/30/2020         93.80%              94.57%    90.37%
Western    Hawkeye             6/6/2020         93.00%              94.90%    89.93%
Western    Hawkeye            6/13/2020         93.97%              95.93%    87.89%
Western    Hawkeye            6/20/2020         92.94%              95.28%    92.22%
Western    Hawkeye            6/27/2020         92.60%              95.17%    81.83%
Western    Hawkeye             7/1/2020         92.43%              94.12%    92.86%
Western    Hawkeye             7/4/2020         92.28%              93.22%    83.66%
Western    Hawkeye            7/11/2020         90.05%              91.75%    90.39%
Western    Hawkeye            7/18/2020         88.48%              92.42%    87.66%
Western    Hawkeye            7/25/2020         90.48%              92.28%    86.21%
Western    Hawkeye             8/1/2020         88.41%              92.05%    81.16%
Western    Hawkeye             8/8/2020         84.80%              85.56%    73.21%
Western    Hawkeye            8/15/2020         89.96%              92.18%    84.27%
Western    Hawkeye            8/22/2020         91.46%              94.62%    87.97%
Western    Mid‐America         1/4/2020         92.87%              92.68%    89.27%
Western    Mid‐America        1/11/2020         91.73%              92.39%    89.23%
Western    Mid‐America        1/18/2020         93.52%              86.12%    89.66%
Western    Mid‐America        1/25/2020         92.49%              93.95%    89.69%
Western    Mid‐America         2/1/2020         91.50%              85.23%    89.46%
Western    Mid‐America         2/8/2020         92.63%              93.06%    92.44%
Western    Mid‐America        2/15/2020         94.05%              94.39%    91.10%
Western    Mid‐America        2/22/2020         93.41%              95.28%    93.09%
Western    Mid‐America        2/29/2020         93.35%              94.71%    86.54%
Western    Mid‐America         3/7/2020         92.74%              86.84%    88.37%
Western    Mid‐America        3/14/2020         92.51%              91.16%    89.68%
Western    Mid‐America        3/21/2020         93.16%              86.80%    89.64%


                                     65 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2612 Page 66 of 74


Western    Mid‐America        3/28/2020         93.77%              94.13%    90.19%
Western    Mid‐America         4/1/2020         93.40%              91.43%    85.01%
Western    Mid‐America         4/4/2020         93.59%              87.90%    88.08%
Western    Mid‐America        4/11/2020         91.47%              95.05%    89.77%
Western    Mid‐America        4/18/2020         93.14%              93.93%    88.85%
Western    Mid‐America        4/25/2020         92.15%              91.71%    86.33%
Western    Mid‐America         5/2/2020         92.13%              85.68%    83.58%
Western    Mid‐America         5/9/2020         91.20%              92.55%    81.53%
Western    Mid‐America        5/16/2020         92.48%              94.80%    82.06%
Western    Mid‐America        5/23/2020         93.25%              91.59%    80.92%
Western    Mid‐America        5/30/2020         90.14%              90.21%    79.43%
Western    Mid‐America         6/6/2020         91.12%              83.56%    80.27%
Western    Mid‐America        6/13/2020         90.75%              92.63%    82.25%
Western    Mid‐America        6/20/2020         91.73%              89.13%    83.35%
Western    Mid‐America        6/27/2020         91.34%              93.82%    85.05%
Western    Mid‐America         7/1/2020         91.03%              87.84%    80.23%
Western    Mid‐America         7/4/2020         90.57%              82.67%    76.49%
Western    Mid‐America        7/11/2020         85.22%              85.28%    74.74%
Western    Mid‐America        7/18/2020         87.49%              87.01%    77.86%
Western    Mid‐America        7/25/2020         87.05%              88.47%    79.40%
Western    Mid‐America         8/1/2020         86.23%              74.01%    71.75%
Western    Mid‐America         8/8/2020         83.85%              86.77%    79.93%
Western    Mid‐America        8/15/2020         88.83%              88.73%    77.62%
Western    Mid‐America        8/22/2020         90.06%              92.21%    81.72%
Western    Nevada Sierra       1/4/2020         93.47%              93.77%    86.48%
Western    Nevada Sierra      1/11/2020         93.61%              92.92%    81.50%
Western    Nevada Sierra      1/18/2020         94.70%              93.38%    85.30%
Western    Nevada Sierra      1/25/2020         93.02%              95.19%    86.21%
Western    Nevada Sierra       2/1/2020         90.67%              93.77%    86.95%
Western    Nevada Sierra       2/8/2020         91.93%              95.24%    85.65%
Western    Nevada Sierra      2/15/2020         94.84%              93.73%    89.69%
Western    Nevada Sierra      2/22/2020         94.59%              96.75%    89.68%
Western    Nevada Sierra      2/29/2020         95.14%              95.02%    89.43%
Western    Nevada Sierra       3/7/2020         92.78%              93.56%    81.77%
Western    Nevada Sierra      3/14/2020         93.11%              94.91%    88.91%
Western    Nevada Sierra      3/21/2020         90.78%              95.53%    84.31%
Western    Nevada Sierra      3/28/2020         93.50%              96.23%    89.14%
Western    Nevada Sierra       4/1/2020         94.86%              94.08%    91.21%
Western    Nevada Sierra       4/4/2020         94.29%              95.48%    85.80%
Western    Nevada Sierra      4/11/2020         92.61%              94.63%    77.14%
Western    Nevada Sierra      4/18/2020         94.00%              94.77%    80.78%
Western    Nevada Sierra      4/25/2020         93.96%              94.12%    79.30%
Western    Nevada Sierra       5/2/2020         93.31%              93.23%    78.43%
Western    Nevada Sierra       5/9/2020         91.40%              94.49%    73.97%
Western    Nevada Sierra      5/16/2020         93.80%              95.39%    79.77%
Western    Nevada Sierra      5/23/2020         93.51%              94.16%    78.80%
Western    Nevada Sierra      5/30/2020         93.40%              96.04%    88.87%


                                     66 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2613 Page 67 of 74


Western    Nevada Sierra       6/6/2020          94.16%             95.33%    79.78%
Western    Nevada Sierra      6/13/2020          94.39%             94.54%    81.39%
Western    Nevada Sierra      6/20/2020          93.73%             94.73%    76.47%
Western    Nevada Sierra      6/27/2020          91.03%             94.94%    82.83%
Western    Nevada Sierra       7/1/2020          91.15%             92.29%    88.98%
Western    Nevada Sierra       7/4/2020          93.29%             87.84%    76.95%
Western    Nevada Sierra      7/11/2020          91.50%             93.42%    78.57%
Western    Nevada Sierra      7/18/2020          89.27%             92.14%    78.19%
Western    Nevada Sierra      7/25/2020          88.43%             91.85%    71.41%
Western    Nevada Sierra       8/1/2020          87.59%             90.41%    75.00%
Western    Nevada Sierra       8/8/2020          88.44%             91.67%    67.10%
Western    Nevada Sierra      8/15/2020          89.21%             91.23%    75.80%
Western    Nevada Sierra      8/22/2020          90.43%             92.61%    78.85%
Western    Northland           1/4/2020          89.01%             92.37%    88.59%
Western    Northland          1/11/2020          86.78%             89.56%    89.32%
Western    Northland          1/18/2020          90.09%             84.53%    88.25%
Western    Northland          1/25/2020          88.36%             92.31%    88.21%
Western    Northland           2/1/2020          89.04%             86.63%    87.39%
Western    Northland           2/8/2020          90.77%             93.86%    91.54%
Western    Northland          2/15/2020          92.81%             94.81%    88.37%
Western    Northland          2/22/2020          91.56%             94.30%    88.69%
Western    Northland          2/29/2020          92.33%             87.84%    83.08%
Western    Northland           3/7/2020          90.74%             94.84%    91.94%
Western    Northland          3/14/2020          89.95%             95.49%    89.46%
Western    Northland          3/21/2020          91.48%             95.80%    91.63%
Western    Northland          3/28/2020          90.91%             96.44%    84.27%
Western    Northland           4/1/2020          93.54%             96.00%    87.80%
Western    Northland           4/4/2020          90.68%             89.12%    91.32%
Western    Northland          4/11/2020          90.17%             96.32%    89.40%
Western    Northland          4/18/2020          91.46%             95.08%    88.25%
Western    Northland          4/25/2020          93.28%             94.47%    78.57%
Western    Northland           5/2/2020          90.08%             86.83%    86.39%
Western    Northland           5/9/2020          91.30%             93.54%    87.92%
Western    Northland          5/16/2020          91.74%             95.33%    82.63%
Western    Northland          5/23/2020          92.34%             92.13%    85.64%
Western    Northland          5/30/2020          86.11%             92.60%    74.23%
Western    Northland           6/6/2020          88.64%             85.73%    85.92%
Western    Northland          6/13/2020          92.12%             93.74%    86.74%
Western    Northland          6/20/2020          90.63%             92.16%    87.20%
Western    Northland          6/27/2020          87.53%             86.68%    88.15%
Western    Northland           7/1/2020          89.34%             93.30%    74.95%
Western    Northland           7/4/2020          91.24%             88.99%    84.94%
Western    Northland          7/11/2020          84.31%             87.02%    81.56%
Western    Northland          7/18/2020          75.49%             86.80%    85.87%
Western    Northland          7/25/2020          82.85%             88.31%    80.49%
Western    Northland           8/1/2020          80.13%             81.95%    79.68%
Western    Northland           8/8/2020          79.91%             86.30%    73.93%


                                      67 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB    ECF No. 80-1   filed 09/16/20   PageID.2614 Page 68 of 74


Western    Northland           8/15/2020          84.33%             88.81%    80.69%
Western    Northland           8/22/2020          84.85%             91.22%    73.66%
Western    Portland             1/4/2020          92.92%             93.23%    90.19%
Western    Portland            1/11/2020          89.06%             91.07%    81.94%
Western    Portland            1/18/2020          93.27%             92.87%    89.76%
Western    Portland            1/25/2020          91.19%             93.75%    94.41%
Western    Portland             2/1/2020          90.93%             93.74%    90.35%
Western    Portland             2/8/2020          92.82%             94.51%    94.11%
Western    Portland            2/15/2020          94.69%             94.54%    94.45%
Western    Portland            2/22/2020          93.54%             95.20%    90.15%
Western    Portland            2/29/2020          94.06%             95.15%    91.94%
Western    Portland             3/7/2020          93.08%             94.51%    92.30%
Western    Portland            3/14/2020          92.31%             94.39%    89.05%
Western    Portland            3/21/2020          92.95%             95.45%    88.33%
Western    Portland            3/28/2020          92.16%             95.10%    85.25%
Western    Portland             4/1/2020          93.26%             96.35%    87.44%
Western    Portland             4/4/2020          90.68%             96.56%    93.90%
Western    Portland            4/11/2020          90.47%             95.75%    87.72%
Western    Portland            4/18/2020          92.51%             96.12%    87.87%
Western    Portland            4/25/2020          91.41%             96.28%    88.34%
Western    Portland             5/2/2020          90.94%             93.98%    87.61%
Western    Portland             5/9/2020          89.05%             94.33%    82.97%
Western    Portland            5/16/2020          92.15%             95.23%    85.25%
Western    Portland            5/23/2020          92.32%             93.81%    88.96%
Western    Portland            5/30/2020          91.80%             94.39%    87.26%
Western    Portland             6/6/2020          91.61%             94.70%    89.93%
Western    Portland            6/13/2020          92.16%             94.91%    86.89%
Western    Portland            6/20/2020          91.46%             94.10%    89.11%
Western    Portland            6/27/2020          90.19%             93.83%    78.29%
Western    Portland             7/1/2020          92.78%             92.23%    94.66%
Western    Portland             7/4/2020          90.60%             89.07%    86.43%
Western    Portland            7/11/2020          87.71%             92.49%    82.74%
Western    Portland            7/18/2020          88.11%             92.76%    83.88%
Western    Portland            7/25/2020          86.76%             93.16%    74.42%
Western    Portland             8/1/2020          87.67%             91.62%    82.51%
Western    Portland             8/8/2020          86.40%             92.49%    80.24%
Western    Portland            8/15/2020          88.76%             94.38%    76.32%
Western    Portland            8/22/2020          89.60%             94.12%    82.24%
Western    Salt Lake City       1/4/2020          91.25%             90.95%    84.94%
Western    Salt Lake City      1/11/2020          92.10%             92.81%    88.87%
Western    Salt Lake City      1/18/2020          92.63%             92.44%    86.75%
Western    Salt Lake City      1/25/2020          91.01%             94.68%    90.38%
Western    Salt Lake City       2/1/2020          91.68%             93.85%    85.30%
Western    Salt Lake City       2/8/2020          91.30%             93.71%    89.17%
Western    Salt Lake City      2/15/2020          93.54%             91.77%    90.01%
Western    Salt Lake City      2/22/2020          93.66%             95.84%    88.51%
Western    Salt Lake City      2/29/2020          93.33%             95.48%    89.29%


                                       68 of 74                  USPS00002260_District
  Case 1:20-cv-03127-SAB    ECF No. 80-1   filed 09/16/20   PageID.2615 Page 69 of 74


Western    Salt Lake City       3/7/2020         91.79%              94.37%    91.53%
Western    Salt Lake City      3/14/2020         90.52%              94.09%    88.93%
Western    Salt Lake City      3/21/2020         89.85%              95.27%    83.02%
Western    Salt Lake City      3/28/2020         92.13%              93.99%    83.29%
Western    Salt Lake City       4/1/2020         90.76%              92.50%    75.97%
Western    Salt Lake City       4/4/2020         92.67%              93.25%    72.05%
Western    Salt Lake City      4/11/2020         85.84%              95.39%    81.86%
Western    Salt Lake City      4/18/2020         90.82%              93.56%    83.62%
Western    Salt Lake City      4/25/2020         91.05%              94.79%    74.65%
Western    Salt Lake City       5/2/2020         89.40%              94.09%    72.41%
Western    Salt Lake City       5/9/2020         88.21%              92.30%    70.63%
Western    Salt Lake City      5/16/2020         92.26%              91.69%    78.41%
Western    Salt Lake City      5/23/2020         92.52%              93.61%    78.85%
Western    Salt Lake City      5/30/2020         90.33%              94.59%    80.09%
Western    Salt Lake City       6/6/2020         90.60%              93.32%    76.58%
Western    Salt Lake City      6/13/2020         91.55%              93.65%    84.30%
Western    Salt Lake City      6/20/2020         90.75%              93.44%    84.10%
Western    Salt Lake City      6/27/2020         89.95%              90.65%    88.07%
Western    Salt Lake City       7/1/2020         91.95%              92.29%    84.17%
Western    Salt Lake City       7/4/2020         88.55%              86.78%    77.79%
Western    Salt Lake City      7/11/2020         86.29%              90.70%    85.71%
Western    Salt Lake City      7/18/2020         86.69%              90.73%    85.81%
Western    Salt Lake City      7/25/2020         87.91%              91.10%    74.52%
Western    Salt Lake City       8/1/2020         86.71%              91.41%    82.42%
Western    Salt Lake City       8/8/2020         85.74%              90.29%    70.94%
Western    Salt Lake City      8/15/2020         88.77%              92.11%    79.91%
Western    Salt Lake City      8/22/2020         89.90%              94.31%    79.92%
Western    Seattle              1/4/2020         92.83%              92.34%    88.39%
Western    Seattle             1/11/2020         89.53%              90.61%    89.47%
Western    Seattle             1/18/2020         93.67%              93.62%    89.58%
Western    Seattle             1/25/2020         90.67%              93.92%    91.16%
Western    Seattle              2/1/2020         89.66%              93.80%    87.70%
Western    Seattle              2/8/2020         90.39%              94.89%    94.35%
Western    Seattle             2/15/2020         94.33%              94.47%    93.29%
Western    Seattle             2/22/2020         92.70%              94.67%    94.06%
Western    Seattle             2/29/2020         92.71%              94.87%    90.51%
Western    Seattle              3/7/2020         92.21%              94.31%    90.67%
Western    Seattle             3/14/2020         91.72%              95.09%    88.77%
Western    Seattle             3/21/2020         92.42%              95.23%    89.14%
Western    Seattle             3/28/2020         91.12%              96.30%    85.75%
Western    Seattle              4/1/2020         91.79%              94.28%    89.11%
Western    Seattle              4/4/2020         91.48%              96.26%    85.71%
Western    Seattle             4/11/2020         90.61%              96.31%    89.81%
Western    Seattle             4/18/2020         91.89%              96.21%    88.09%
Western    Seattle             4/25/2020         91.16%              96.08%    89.21%
Western    Seattle              5/2/2020         90.60%              95.07%    88.16%
Western    Seattle              5/9/2020         88.35%              95.27%    83.71%


                                      69 of 74                   USPS00002260_District
  Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2616 Page 70 of 74


Western    Seattle            5/16/2020          92.23%             95.11%    85.26%
Western    Seattle            5/23/2020          91.90%             92.78%    85.66%
Western    Seattle            5/30/2020          90.66%             94.16%    87.13%
Western    Seattle             6/6/2020          91.69%             94.33%    81.82%
Western    Seattle            6/13/2020          91.51%             95.10%    87.97%
Western    Seattle            6/20/2020          91.50%             92.78%    80.46%
Western    Seattle            6/27/2020          91.58%             94.19%    93.81%
Western    Seattle             7/1/2020          91.59%             93.77%    92.84%
Western    Seattle             7/4/2020          91.85%             93.38%    80.78%
Western    Seattle            7/11/2020          85.75%             94.10%    87.05%
Western    Seattle            7/18/2020          81.32%             80.55%    82.38%
Western    Seattle            7/25/2020          86.66%             92.23%    78.34%
Western    Seattle             8/1/2020          84.20%             89.47%    75.81%
Western    Seattle             8/8/2020          75.89%             90.99%    81.31%
Western    Seattle            8/15/2020          75.85%             90.31%    79.88%
Western    Seattle            8/22/2020          77.91%             91.75%    88.24%




                                      70 of 74                  USPS00002260_District
Case 1:20-cv-03127-SAB   ECF No. 80-1   filed 09/16/20   PageID.2617 Page 71 of 74




                    Exhibit HH




                                   71 of 74
Case 1:20-cv-03127-SAB                     ECF No. 80-1             filed 09/16/20            PageID.2618 Page 72 of 74
                                               United States Postal Service®                                                          Quarter III
                         Quarterly Performance for Single-Piece First-Class Mail®                                                      FY2020


 Overview

 Beginning FY2019 Q1, service performance for Single-Piece First-Class Mail® is measured through the USPS® internal
 measurement system. The system combines scanning of mailpieces by postal personnel at randomly selected collection
 and delivery points with in-process machine scans for all eligible mail to estimate total transit time for the mail. The total
 transit is comprised of three legs: collection to initial automated processing, known as First Mile; initial processing to final
 automated processing, known as Processing Duration; and final processing to delivery, known as Last Mile. The estimated
 transit-time is compared against Single-Piece First-Class Mail® service standards to determine the percent of mail delivered
 on time.

 Scores prior to FY2019 Q1 were calculated via the External First-Class Mail® Measurement System (EXFC). EXFC was an
 external sampling system that measured the time it took from deposit of mail into a collection box or lobby chute until its
 delivery to a home or business.

 Single-Piece First-Class Mail® parcels were classified as a competitive product effective for pieces mailed on or after
 September 3, 2017; therefore, Single-Piece First-Class Mail® parcel results are no longer included in Single-Piece First-
 Class Mail® reporting.

 Limitations

 Single piece mail that is first observed in incoming processing operations rather than the expected outgoing processing
 operations is referred to as First Processing Operation Type 2 mail, or FPO2. The volume of FPO2 mail as a proportion of
 total single-piece volume observed in processing duration in Internal SPM is significantly higher than the proportion
 observed for pieces sampled in collection or associated from the retail channel, particularly for flats. This is likely due to the
 inclusion of commercial mail that is sorted to destination and begins processing in incoming sort operations but is not able
 to be identified as commercial mail. Because FPO2 mail generally experiences longer durations in First Mile than mail first
 observed in outgoing operations, the higher proportion of FPO2 mail led to scores which were not accurate. FPO2 volume
 proportions in single-piece processing duration have been weighted for reporting such that they are aligned with the volume
 proportions observed for pieces in the collection sampling process and retail pieces to improve the measurement accuracy.

 Sampling for most high-volume courtesy and business reply mail delivery points was not enabled during the quarter,
 resulting in very limited representation of the reply mail portion of Single-Piece First-Class Mail® letters/postcards in the
 Last Mile sample. Due to the very limited data available to measure the overall transit time for this mail, all of the courtesy
 and business reply mail were excluded from these results. It should be noted that the legacy system did not measure
 delivery to these delivery points either. This is a deviation to the plan, not a degradation in comparison to the legacy system.

 Performance Highlights

 In FY2020 Quarter 3, national Single-Piece First-Class Mail® Two-Day performance was 92.4 percent on time and national
 Three-To-Five Day performance was 81.4 percent on time. The Two-Day performance score was 1.5 points lower than the
 same period last year. The Three-To-Five-Day performance score was 5.1 points lower than the same period last year.

 Nationally, at least 98.1 percent of mail across all service standards was delivered within the service standard plus three
 days in FY2020 Quarter 3.

 In FY2020 Quarter 3 at the district level, there were not any districts that scored at or above the performance target of 96.50
 for Two-Day. Dakotas had the highest Two-Day performance at 96.1 percent on time. Two-Day performance improved for 9
 out of 67 districts compared to the same period last year. Hawkeye had the highest Three-To-Five-Day performance at 87.3
 percent on time. Three-To-Five-Day performance improved for one district compared to the same period last year.




                                                              72 of 74
Case 1:20-cv-03127-SAB             ECF No. 80-1          filed 09/16/20          PageID.2619 Page 73 of 74
                                         United States Postal Service®                                   Quarter III
                     Quarterly Performance for Single-Piece First-Class Mail®                             FY2020
                            Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                             Overnight            Two-Day           Three-To-Five-Day
                     District
                                          Percent On Time      Percent On Time      Percent On Time
          Capital Metro Area                   N/A                  92.0                  82.2
          Atlanta                              N/A                  92.1                  83.5
          Baltimore                            N/A                  88.9                  73.6
          Capital                              N/A                  88.9                  81.4
          Greater South Carolina               N/A                  95.1                  85.3
          Greensboro                           N/A                  93.2                  83.2
          Mid-Carolinas                        N/A                  93.4                  81.7
          Northern Virginia                    N/A                  91.6                  84.8
          Richmond                             N/A                  91.0                  80.3
          Eastern Area                         N/A                  93.6                  83.6
          Appalachian                          N/A                  94.7                  84.8
          Central Pennsylvania                 N/A                  93.5                  82.1
          Kentuckiana                          N/A                  94.6                  83.3
          Northern Ohio                        N/A                  92.3                  82.8
          Ohio Valley                          N/A                  92.5                  83.7
          Philadelphia Metro                   N/A                  91.8                  83.3
          South Jersey                         N/A                  92.8                  82.0
          Tennessee                            N/A                  94.4                  83.6
          Western New York                     N/A                  95.2                  84.0
          Western Pennsylvania                 N/A                  95.7                  86.7
          Great Lakes Area                     N/A                  90.2                  80.7
          Central Illinois                     N/A                  91.8                  82.0
          Chicago                              N/A                  88.7                  80.0
          Detroit                              N/A                  73.5                  64.7
          Gateway                              N/A                  92.6                  83.9
          Greater Indiana                      N/A                  93.6                  84.0
          Greater Michigan                     N/A                  91.8                  81.9
          Lakeland                             N/A                  94.0                  83.7
          Northeast Area                       N/A                  88.3                  73.8
          Albany                               N/A                  93.6                  83.0
          Caribbean                            N/A                  90.0                  67.5
          Connecticut Valley                   N/A                  90.0                  77.8
          Greater Boston                       N/A                  90.9                  77.8
          Long Island                          N/A                  86.6                  72.2
          New York                             N/A                  68.4                  53.6
          Northern New England                 N/A                  94.0                  76.5
          Northern New Jersey                  N/A                  87.1                  72.2
          Triboro                              N/A                  74.5                  60.9
          Westchester                          N/A                  88.2                  74.4
          Pacific Area                         N/A                  92.9                  80.8
          Bay-Valley                           N/A                  93.4                  84.0
          Honolulu                             N/A                  92.1                  61.1
          Los Angeles                          N/A                  89.2                  76.2
          Sacramento                           N/A                  92.1                  80.6
          San Diego                            N/A                  94.0                  79.8
          San Francisco                        N/A                  93.7                  84.6
          Santa Ana                            N/A                  94.3                  83.2
          Sierra Coastal                       N/A                  93.5                  82.1




                                                 73 of 74
                                                                                                             2 of 3
Case 1:20-cv-03127-SAB        ECF No. 80-1             filed 09/16/20          PageID.2620 Page 74 of 74
                                       United States Postal Service®                                   Quarter III
                   Quarterly Performance for Single-Piece First-Class Mail®                             FY2020
                          Mailpieces Delivered Between 04/01/2020 and 06/30/2020


                                           Overnight            Two-Day           Three-To-Five-Day
                   District
                                        Percent On Time      Percent On Time      Percent On Time
          Southern Area                      N/A                  93.6                  82.1
          Alabama                            N/A                  93.1                  82.2
          Arkansas                           N/A                  95.2                  84.7
          Dallas                             N/A                  92.6                  83.6
          Fort Worth                         N/A                  92.0                  81.1
          Gulf Atlantic                      N/A                  94.5                  80.9
          Houston                            N/A                  92.1                  79.6
          Louisiana                          N/A                  93.1                  80.9
          Mississippi                        N/A                  94.1                  82.0
          Oklahoma                           N/A                  96.0                  84.4
          Rio Grande                         N/A                  93.7                  82.9
          South Florida                      N/A                  92.2                  80.9
          Suncoast                           N/A                  94.1                  82.6
          Western Area                       N/A                  94.4                  82.5
          Alaska                             N/A                  92.3                  87.0
          Arizona                            N/A                  94.2                  81.9
          Central Plains                     N/A                  95.6                  83.9
          Colorado/Wyoming                   N/A                  90.4                  75.4
          Dakotas                            N/A                  96.1                  85.4
          Hawkeye                            N/A                  95.9                  87.3
          Mid-America                        N/A                  94.3                  81.3
          Nevada-Sierra                      N/A                  95.0                  84.9
          Northland                          N/A                  94.3                  83.3
          Portland                           N/A                  92.7                  81.8
          Salt Lake City                     N/A                  96.0                  83.7
          Seattle                            N/A                  94.6                  82.1
          Nation FY2020 Q3                   N/A                  92.4                  81.4

          Nation FY2019 Q3 (SPLY)            N/A                  93.9                  86.5

          Nation FY2009 Annual               96.1                 93.5                  90.8
          Nation FY2010 Annual               96.3                 93.6                  91.6
          Nation FY2011 Annual               96.2                 93.4                  91.2
          Nation FY2012 Annual               96.5                 94.8                  92.3
          Nation FY2013 Annual               96.1                 95.3                  91.6
          Nation FY2014 Annual               96.0                 94.9                  87.7
          Nation FY2015 Annual               95.6                 93.2                  76.5
          Nation FY2016 Annual               N/A                  94.7                  83.7
          Nation FY2017 Annual               N/A                  94.7                  85.6
          Nation FY2018 Annual               N/A                  93.8                  82.5
          Nation FY2019 Annual               N/A                  92.0                  80.9
          Nation FY2020 Q1                   N/A                  91.9                  78.2
          Nation FY2020 Q2                   N/A                  93.0                  83.3

          FY2020 Annual Target               N/A                 96.50                 95.25




                                               74 of 74
                                                                                                           3 of 3
